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284 Wilson Drive
Santa Maria [93455]
Republic of California
(805) 937-4195

All Rights Retained
Attornatus Privatus

Jeffery Jackson Lind, de jure,
Plaintiff,

Vv.

THE PEOPLE OF THE STATE OF
CALIFORNIA, MOTOR VEHICLE

CITY OF SANTA MARIA,

CITY OF GUADALUPE,

‘SANTA BARBARA COUNTY
SHERIFF’S DEPARTMENT,

SANTA MARTA POLICE DEPARTMENT,

capacity,

capacity,

capacity

Rogelio Flores in his individual
capacity,

Jed Beebe in his individual

capacity, and does 1-$0,

Defendants.

 

DEPARTMENT, SANTA BARBARA COUNTY,

Jeffery Plaintiff Lind, sui ‘juris

CITY OF QUADALUPE POLICE DEPARTMENT,
Ariel Alehandria in his individual

Brian D. Johnson in his individual

Angelina Borrello in her individual

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DISTRICT OF
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LERK, U.S. DISTRICT COURT .

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Central Division for California

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COMPLAINT

FOR TRESPASS, AND

CASE NO: 1350711

VERIFIED

COMPLAINT FOR TRESSPASS — PETITION FOR ORDER TO STAY

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District Court for the United States

ne 7 CW10-0917
Soin (ICE )

TRESPASS ON THE CASE; AND,
EMERGENCY MOTION TO STAY
STATE COURT PROCEEDINGS RE
CALIFORNIA SUPERIOR CT:

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JURISDICTION AND VENUE

1. This action raises federal questions under the Fourth, Fifth,
Seventh, Eighth, Ninth and Tenth Amendments to the Constitution for

the United States.

2. This court of record has original jurisdiction over these federal

claims pursuant to 28 U.S.C. §§ 1331 and 1343.

3. This court of record has authority to award the requested
declaratory relief under 28 U.S.C. § 2201; the injunctive relief
under 28 U.S.C. § 1343(3); the requested damages under 28 U.S.C. §

1343(3); and attorneys’ fees under 42 U.S.C. § 1988.

4. Venue is proper under 28 U.S.C. § 1391 in the Central District of
California because a substantial part of the actions or omissions
giving rise to this case occurred within this District, and at least

one Defendant resides in this District.
FIRST CAUSE OF ACTION —.TRESPASS
PARTIES

5. Jeffery Jackson, of the family of “Lind” (hereinafter
"Plaintiff"), is one of the people of California, and in this court
of record complains of each of the following: People of the State of
California, Motor Vehicle Department, Santa Barbara County, City of
Santa Maria, City of Guadalupe, Santa Barbara County Sheriff

Department, Santa Maria Police Department, City of Guadalupe Police

COMPLAINT FOR TRESSPASS — PETITION FOR ORDER TO STAY

 
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Department, Rogelio R. Flores, Jed Beebe, Ariel AleXKandria,
Complainer Doe, DMV Doe, SBC Doe, SM Doe, Guadalupe Doe, SBCSD Doe,
SMPD Doe, GPD Doe, Brian D. Johnson, Angelina Borrello, (each
hereinafter “Kidnapper”, and all collectively “Kidnappers”) ; who are
each summoned to answer the said plaintiff in a plea of trespass, |

trespass on the case and violation of due process, to wit:
INTRODUCTION

6. Each Kidnapper exceeded his jurisdiction by either directly,
through an agent, or in concert with another, even after Plaintiff
filed a counterclaim against Kidnappers employees, the peace officers
who unlawfully and forcibly, vi et armis, detained, carried away and
imprisoned’ against Plaintiff’s will, without jurisdiction or good
cause. The Kidnaper’s employees defaulted on counterclaim. An ENTRY
OF DEFAULT; JUDGMENT, Exhibit “A”, was filed into the record on
November 24, 2010. Despite the already decided action in the matter,
the Kidnappers continue to deny Plaintiff’s repeated challenges
regarding each of their jurisdictions and accordingly, continue to
deprive Plaintiff his rights and liberty and continue to deprive

Plaintiff his right to due process.

7. Despite Plaintiff’s challenge of the Kidnapper’s jurisdiction,
the Kidnappers continued to assume the jurisdiction without proof of

jurisdiction or any attempt at proof of jurisdiction. Both

 

I Imprison: To confine a person or restrain his liberty in any way. Black’s Law Dictionary, 5" Edition
Imprisonment: ...it may be in a locality used only for the specific occasion; or it may take place
without the actual application of any physical agencies of restraint (such as locks or bars), as by. verbal
compulsion and the display of available force. Black’s Law Dictionary, 5“ Edition

COMPLAINT FOR TRESSPASS — PETITION FOR ORDER TO STAY

 
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Kidnappers, who refer to themselves as a “judge”, deny Plaintiff's
court of record challenge of their inferior court’s assumed
jurisdiction. Until this day, Plaintiff continues to be subject,
under color of law, to the assumed jurisdiction, will and control of

the Kidnappers.

8. Under color of law Plaintiff has been three (3) times subjected
to judicial abuse of discretion by officers of the court. The first
instance occurred when Plaintiff, against his will, honored his
promise to appear, making a “special appearance”, in court, convened
a court of record and immediately challenged the jurisdiction of the
court. The Kidnapper acting as district attorney remained silent to
the court of record’s challenge of jurisdiction. However, contrary
to the requirements of the court of record, the magistrate,
identifying himself as a “Judge”, assumed the mantel of a tribunal
and proceeded independently and committed a chose in action. A week
later, Plaintiff reconvened his court of record to challenge the
court’s jurisdiction. The Kidnapper acting as district attorney
disregarded the challenge and attempted to move forward in the
procéedings. Again, contrary to the requirements of the court of
record, a second magistrate, identifying himself as a “Judge”,
assumed the mantel of a tribunal and proceeded independently and,
under the color of law and for no good cause, threatened deprivation
of Plaintiff’s liberty. The Kidnappers exemplified utter lack of
respect for the orderly decorum of the court and moved forward in a
defective impromptu process and usurpation of legislative and court
powers taken without leave of court. Exhibit “B” is a WRIT OF ERROR

QUAE CORAM NOBIS RESIDANT Plaintiff filed into the record on both

COMPLAINT FOR TRESSPASS — PETITION FOR ORDER TO STAY

 
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magistrates on November 19, 2010. Plaintiff again, against his will,
made a third special appearance following the filing of the writ.

The Kidnapper magistrate acted with total disregard for the writ
served into the record regarding his unlawful acts against plaintiff
and, under color of law, again disregarded plaintiff’s challenge of
jurisdiction, suggesting his inferior jurisdiction was sufficient,
and again, refused to answer to Plaintiff's challenge, and proceeded
to issued another CRIMINAL MINUTE ORDER, Exhibit “C”, to move
proceedings forward absent jurisdiction and against Plaintiff's will

or consent, has scheduled trial for Plaintiff on Tuesday November

30, 2010.

SPECIFICS

9. Each Defendant acted in such a way, or failed to act in such a
way, that Plaintiff is deprived of his liberty, property and due
process rights. Each Defendant acted to deprive Plaintiff of his
liberty and property; or each Defendant failed to act to prevent the
loss by Plaintiff of liberty, property and due process rights.
Further, each Defendant is a willing participant in concert with each

of the remaining Defendants.

10. At all times mentioned in this action each Defendant is the
agent of the other, and in doing the acts alleged in this action,
each is acting within the course and scope of said agency. The
following paragraphs describe what the Kidnappers, under color of

law, either acted or failed to act as obligated.

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COMPLAINT FOR TRESSPASS — PETITION FOR ORDER TO STAY

 
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11. Each Defendant exceeded his jurisdiction under color of law.
Each Defendant acted in concert with the remaining Defendants to

effect the unlawful loss of liberty and property of Plaintiff.

12. Complainer Doe is the person who signed Exhibit “D”, first page
only, “MISDEMEANOR COMPLAINT”. Under color of law, Complainer Doe
assumed jurisdiction to continue the deprivation of liberty and right
to property of Plaintiff. Plaintiff is informed and believes that
Complainer Doe is either suing as a persona named “People of the
State of California,” or is suing in the name of another whose name

is “People of the State of California.”

13. Plaintiff is informed and believes that each of the Defendants,
(especially Motor Vehicle Department, DMV Doe, Santa Barbara County,
SBC Doe, City of Santa Maria, SM Doe, City of Guadalupe, Guadalupe
Doe, Santa Barbara County Sheriff Department, SBCSD Doe, Santa Maria
Police Department, SMPD Doe, City of Guadalupe Police Department and
GPD Doe) is acting in concert with Complainer Doe. In the
alternative, each of the Defendants is an adverse unwilling co-
Defendant who should have an interest as a result of being
involuntarily included in Exhibit “D”, under color of law, as a named
victim. Said adverse unwilling co-Defendants are Motor Vehicle
Department, DMV Doe, Santa Barbara County, SBC Doe, City of Santa
Maria, SM Doe, City of Guadalupe, Guadalupe Doe, Santa Barbara County
Sheriff Department, SBCSD Doe, Santa Maria Police Department, SMPD

Doe, City of Guadalupe Police Department and GPD Doe.

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COMPLAINT FOR TRESSPASS — PETITION FOR ORDER TO STAY

 
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14. On Exhibit “D” Joyce E. Dudley provided the signature which
authorized Complainer Doe to proceed. Joyce E. Dudley could have
stopped Complainer Doe at that point, but apparently acted in concert
with Complainer Doe, assumed jurisdiction, under color of law, to act
in a manner to perpetuate the deprivation of liberty, right to travel

and false imprisonment of Plaintiff, having not an Oath of Office.

15. The California 1879 Constitution defines all California courts
to be courts of record.” On or about October 20, 2010, at 8:30 am,
in Department 3, Plaintiff was involuntarily brought before a court
not of record and also not a nisi prius court. Rogelio R. Flores
acted as a tribunal and magistrate. Brian David Johnson acted as a
district attorney. Plaintiff convened and court of record and
immediately objected to the jurisdiction of the court and entered
into the record an “Express Lawful Demand for Dismissal with
Prejudice”. The district attorney remained silent to Plaintiff's
challenge of the court’s jurisdiction. Contrary to the requirements
of the court of record, Rogelio Flores assumed the mantel of a
tribunal and proceeded independently. Rogelio R. Flores, without
proof of jurisdiction, ignored Plaintiff's objections, made a chose
in action by entering a “not guilty” plea for JEFFERY JACKSON LIND
(character unknown), defendant-in-error, acknowledging same had
already refused to contract. Plaintiff then served Rogelio R. Flores
a “Notice of Chose in Action”. Rogelio R. Flores, contrary to
requirements of the court of record, then disrupted orderly decorum

by moving forward, without jurisdiction and with a defective

 

* California Constitution, Article 6 Judicial, Sec. 1. The judicial power of this State is vested in the
Supreme Court, courts of appeal, superior courts, and municipal courts, all of which are courts of
record.

COMPLAINT FOR TRESSPASS — PETITION FOR ORDER TO STAY

 
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impromptu process and usurpation of legislative and court powers
taken by the magistrate without leave of the court, and proceeded
under color of law in effort to perpetuate the deprivation of
liberty, right to travel, false imprisonment and violation of
Plaintiff’s due process rights. Exhibit “E” is a true and correct
copy of the official so-called “CRIMINAL MINUTE ORDER” issued by said

Magistrate. At no time has Plaintiff ever entered a voluntary plea.

16. On or about October 27, 2010, Plaintiff was involuntarily
brought before a court not of record and not a nisi prius court.
Exhibit “F” contains a true and correct copy of the official record
of the said court. Jed Beebe acted as a tribunal and magistrate.
Angelina Borrello acted as a district attorney. Plaintiff, again,
objected to and challenged the jurisdiction of the court. Borrello,
Defendant acting in concert with the Kidnappers, provided
documentation form with which to misrepresent the substance before
the court not of record. Defendants Beebe and Borrello, without
proof of jurisdiction, each ignored Plaintiff's objections, and in
violation of Plaintiff’s due process rights, proceeded under color of
law, this time, verbally threatening Plaintiff with long term
deprivation of his liberty. Jed Beebe, contrary to requirements of
the convened court of record, disrupted orderly decorum by moving
forward, without jurisdiction and with a defective impromptu process
and usurpation of legislative and court powers taken by the
magistrate without leave of the court, and proceeded under color of
law in effort to perpetuate the deprivation of liberty, right to
travel and acted in violation of Plaintiff's due process rights.

Exhibit “C” is a true and correct copy of the official so-called

-8-
COMPLAINT FOR TRESSPASS — PETITION FOR ORDER TO STAY

 
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“CRIMINAL MINUTE ORDER” issued by said magistrate, stating the
“motion by defendant challenging jurisdiction denied". The Exhibit
“F” also extended the time period for depriving Plaintiff of his
Liberty by the Kidnappers to December 3, 2010, “last date for trial”.
At no time during these proceedings has Plaintiff ever taken the

place of the defendant in this matter or entered a voluntary plea.

17. On or about November 23, 2010, Plaintiff was again involuntarily
brought before a court not of record and not a nisi prius court.
Exhibit “G” contains a true and correct copy of the official record
of the said court. Jed Beebe again acted as a tribunal and
Magistrate. Angelina Borrello acted as a district attorney.
Plaintiff again convened a court of record, objected to and
challenged the jurisdiction of the court. Borrello, Defendant acting
in concert with the Kidnappers, provided documentation form with
which to misrepresent the substance before the court not of record.
Defendants Beebe and Borrello, without proof of jurisdiction, each
ignored Plaintiff's objections, suggested their inferior jurisdiction
was sufficient, and in violation of Plaintiff's due process rights,
proceeded under color of law, set a date for trial for Plaintiff in
the inferior court not of record for November 30, 2010 at 9:30 in
Department 7. Jed Beebe, contrary to requirements of the convened
court of record, disrupted orderly decorum by moving forward, without
jurisdiction and with a defective impromptu process and usurpation of
legislative and court powers taken by the magistrate without leave of
the court, and proceeded under color of law in effort to perpetuate
the deprivation of liberty, right to travel and acted in violation of

Plaintiff’s due process rights. Exhibit “F” is a true and correct

-9-
COMPLAINT FOR TRESSPASS — PETITION FOR ORDER TO STAY

 
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copy of the official so-called “CRIMINAL MINUTE ORDER” issued by said
magistrate, scheduling a “trial date”, when the magistrate has
admitted lack of jurisdiction. The Exhibit “C” extended the time
period for depriving Plaintiff of his Liberty, as well as his due
process as in the common law, by the Kidnappers to December 3, 2010,
“last date for trial”. At no time during these proceedings has
Plaintiff ever taken the place of the defendant in this matter or
entered a voluntary plea. The proceeding and threats of perpetuated
deprivation of liberty and false imprisonment of Plaintiff is
reminiscent of the cooperation between the KGB and courts of Russia
against anyone who fell into the government’s disfavor, i.e. such as

anyone who challenged their authority.

18. Plaintiff could plainly see the kangaroo court in action, and,
as a lamb in the court of the wolves, saw no point in seriously
matching wits with his apparent enemies posing to be his public
servants. The Minute Orders, though not part of the record, confirms
the lack of “honor” for a Lawfully convened court of record, or for a
Lawful and timely challenge of a court’s jurisdiction, on the part of
Flores, Beebe and Borrello. Johnson’s silence activated estoppel.
However, his office continues to move forward and Johnson continues
to remain silent, fails to act, and continues to allow the violations

of Plaintiff’s due process rights by his fellow Kidnappers to

continue.

19. Plaintiff is now ordered, via a “minute order”, that is no
Lawful “order” at all, by a “judge”, who is no “judge” at all, to

come back to a court, not of record, having no jurisdiction

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COMPLAINT FOR TRESSPASS — PETITION FOR ORDER TO STAY

 

 

 
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whatsoever, for a trial in which Plaintiff would be the tribunal in a
convened court of record, and the Defendant would be Rogelio Flores
as he claimed surety for the defendant JEFFERY JACKSON LIND, ens
legis, character unknown, of which is property belonging to the State
of Idaho, never to be confused however with Plaintiff Jeffery Jackson
Lind, sui juris, the tribunal who convenes a court of record.
However, the court of no record was stripped of it jurisdiction by
the timely challenge of jurisdiction by Plaintiff prior to Rogelio’s
claim of surety for the defendant JEFFERY JACKSON LIND. The Russian
psychological model for bypassing due process was successfully

executed by the Kidnappers.

20. Because of the actions committed with actual and implied force
or the lack of action of the Defendants, Plaintiff was immediately
and directly injured and suffered loss of liberty, and imprisoned

under color of law and now, his due process rights are violated.

21. Defendants have a duty to not cause Plaintiff to be imprisoned
under color of law, to not cause loss of liberty. Further,
Defendants have a duty to prove jurisdiction when objection to
jurisdiction is asserted or recognize they have none when visually
observing a people that lawfully enjoy having superior jurisdiction.
It is obvious that the created, the Kidnappers, are attempting to
control their creator, the very one who they are to serve and protect

against all enemies, including themselves.

22. Defendants have breached that duty.

-11-
COMPLAINT FOR TRESSPASS — PETITION FOR ORDER TO STAY

 

 

 
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23. The damages for the injury caused by Defendants’ actions are

$2,000 for each minute of unlawful imprisonment.

24. The damages for the injury caused by Defendants’ actions are

$5,000 for each day of unlawful deprivation of liberty.

25. The damages for the injury caused by Defendants’ absence of

required action is $5,000 for each failure to act.
SECOND CAUSE OF ACTION — TRESPASS ON THE CASE

26. Paragraphs 5 through 25 of FIRST CAUSE OF ACTION are included by

reference as though fully stated herein.

27. By right, Plaintiff reasonably expects to proceed without
injury, secure in his capacities, and reasonably expects to exercise
his rights guaranteed him by the Constitution for the United States

and for the State of California.

28. Defendants have a legal duty to use due care and not cause an

injury to Plaintiff or interfere with said rights in any way.

29. Defendants breached that duty by proximately or legally,

directly and indirectly, causing the injuries to Plaintiff.

30. The damages claimed are all a result of the injuries.

-12-
COMPLAINT FOR TRESSPASS — PETITION FOR ORDER TO STAY

 

 
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THIRD CAUSE OF ACTION — VIOLATION OF DUE PROCESS

31. Paragraphs 5 through 25 of FIRST CAUSE OF ACTION are included by

reference as though fully stated herein.

32. By right, Plaintiff reasonably expects to proceed without
injury, secure in his capacities, and reasonably expects to exercise
his rights guaranteed him by the Constitution for the United States

and for the State of California.

33. Defendants have a legal duty to use due care and not cause an

injury to Plaintiff or interfere with Plaintiff’s said rights to his

due process.

34. Defendants breached that duty by proximately or legally,

directly and indirectly, causing the injuries to Plaintiff.
35. The damages claimed are all a result of the injuries.
VICARIOUS LIABILITY

36. Paragraphs 5 through 25 of FIRST CAUSE OF ACTION are included by

reference as though fully stated herein.

37. Power is never without responsibility. And when authority
derives in part from Government's thumb on the scales, the exercise
of that power by private persons becomes closely akin, in some

respects, to its exercise by Government itself.

-13-
COMPLAINT FOR TRESSPASS — PETITION FOR ORDER TO STAY

 

 

 
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38. The purpose of imposing vicarious liability is to insure the
costs of injuries resulting from defective actions are placed on the
source of the actions and others who make the actions possible rather
than on injured persons who are powerless to protect themselves. For
a Defendant to be vicariously liable it must play an integral and
vital part in the overall production and promotion activity so that
the actor is in a position to affect others or, at the very least, it
must provide a link in the chain of exposing the ultimate victim to
the actor. The vicariously liable Defendant must be in the business

of controlling, leasing, bailing, or licensing the actors.

39. Each Defendant is an agent of the other, and each has his place
in the chain of exposing Plaintiff to the actors. Each Defendant is

vicariously liable for each instance of injury to Plaintiff.
LAW OF THE CASE

40. Exhibit “H” is incorporated by reference as though fully stated
herein.

REQUEST FOR RELIEF
41. For that cause of action therefore Plaintiff brings his suit.

42. WHEREFORE, Plaintiff wishes for relief and judgment against

Defendants as follows:

-14-
COMPLAINT FOR TRESSPASS — PETITION FOR ORDER TO STAY

 

 
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43. WHEREFORE, Plaintiff prays judgment against Defendants, and each

of them, as follows:
On all causes of action:
44. For general damages in the sum of $50,000 by each Defendant;

45. That the court enter a declaratory judgment that Defendants have
acted arbitrarily and capriciously, have abused their discretion and

have acted not in accordance with law, but under color of law;

46. That the court enter a declaratory judgment that Defendants have
acted contrary to constitutional right, power or privilege, depriving

Plaintiff his right to due process of Law;

47. That the court enter a declaratory judgment that Defendants'
actions were in excess of statutory jurisdiction, authority and short

of statutory right;

48. That the court permanently enjoin Defendants from interfering in

any way with Plaintiff’s lawful right to travel;

49. That the court enter a declaratory judgment that the records of
the court not of record are impeached for want of jurisdiction in the
Court or judicial officers, for collusion between the parties, and/or
for fraud in the parties offering the record, in respect to the

proceedings;

-15-
COMPLAINT FOR TRESSPASS — PETITION FOR ORDER TO STAY

 

 

 
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50. That the court grant Plaintiff his attorneys fees;

51. That the court grant Plaintiff such other and further relief as

the court deems proper;
52. For costs of suit incurred.

53. I declare under penalty of perjury that the foregoing facts are

true and correct to the best of my knowledge.

November 29, 2010, County of Santa Barbara, California

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COMPLAINT FOR TRESSPASS — PETITION FOR ORDER TO STAY

 
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Lind v. People Case No.

SERVICE LIST

MOTOR VEHICLE DEPARTMENT

San Luis Obispo Department of Motor Vehicles (DMV)
State of California

3190 S. Higuera St.

San Luis Obispo, CA 93401

T: (805) 777-0133

SANTA BARBARA COUNTY

Joyce E. Dudley, District Attorney
Main Office

1112 Santa Barbara Street

Santa Barbara, CA 93101

T: (805) 568-2300

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110 E. Cook Street
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CITY OF GUADALUPE
City Hall

918 Obispo Street
Guadalupe CA, 93434
T: (805) 343-1340

SANTA BARBARA COUNTY
SHERIFF’ S DEPARTMENT
c/o Bill Brown

4434 Calle Real

Santa Barbara, CA 93110
T: (805) 681-4100

SANTA MARIA POLICE DEPARTMENT
c/o Danny R. Macagni

222 East Cook Street

Santa Maria, CA 93454

T: (805) 925-0951

CITY OF QUADALUPE POLICE DEPARTMENT
c/o Chief of Police

4490 10™ Street

Guadalupe, CA 93434

T: (805)

Ariel Alejandria

c/o MOTOR VEHICLE DEPARTMENT

San Luis Obispo Department of Motor Vehicles (DMV)
State of California

3190 S. Higuera St.

San Luis Obispo, CA 93401

T;: (805) 777-0133

Brian D. Johnson
c/o SANTA BARBARA COUNTY DEPUTY DISTRICT ATTORNEY OFFICE

-17-
COMPLAINT FOR TRESSPASS — PETITION FOR ORDER TO STAY

 

 
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Main Office

312-D E Cook St.
Santa Maria, CA 93454
T: (805) 346-7540

Angelina Borrello

c/o SANTA BARBARA COUNTY DEPUTY DISTRICT ATTORNEY OFFICE
Main Office

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Rogelio Flores

Magistrate
c/o SUPERIOR COURT OF CALIFORNIA for SANTA BARBARA COUNTY

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Jed Beebe
Magistrate
c/o SUPERIOR COURT OF CALIFORNIA for SANTA BARBARA COUNTY

312-C East Cook Street
Santa Maria, CA 93456-5369
T: (805) 345-9750

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-18-
COMPLAINT FOR TRESSPASS — PETITION FOR ORDER TO STAY

 

 
Case 2:10-cv-09173-AHM- IG) Document 1 Filed 11/29/10 Page(19of 120 Page ID #:19

Exhibit “A”
=. Case

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GARY
DISTRICT ATTORNEY'S By '§ Stale, Executive Officer
OFFICE S—

Erica Corral, Deputy Clerk
BEFORE THE CLERK OF THE:

SUPERIOR COURT OF CALIFORNIA
ON AND FOR THE COUNTY OF SANTA BARBARA

IN THE MATTER OF: Case No: 1350711
Jeffery Jackson Lind, de jure; FILE ON DEMAND
Counterclaimant, ENTRY OF DEFAULT; JUDGMEN' T;

AND, EXHIBIT “A”
Vv.

People of the STATE OF CALIF ORNIA;

Counterdefendant.

 

 

"Filing on Demand" Protocol

The following protocol is adopted by this Court of Record:

In the event a COUNTY OF SANTA BARBARA County clerk determines that

a document should not be filed for any reason, he/she shall advise

proffered document is a pleading prepared by a party, the attorney

of record or person proceeding in propria Persona attempting to

file the document may then request the document be "filed on

demand," in which case the document shall be accepted for filing
and will be stamped "Filed on Demand". This policy does not apply
to documents which a party requests the Clerk to issue (e.g. Writs,
Summons, Abstracts); in euch circumstances, the Clerk will require

compliance with applicable statutes. RECEIVED

NOV 2 4 2010

FILE ON DEMAND

 
 

 

 

 

Case H:10-cv-09173-AHM-JG@ Document 1 Filed 11/29/10 PageTpf120 Page ID #:21
1 || NOTE: In the following circumstances, the foregoing protocol shall not
apply and the clerk shall refuse to accept the tendered document:
2
PASS
3
x 1. The document is not signed;
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x] 2. The caption indicates that the matter relates to a County
5
other than COUNTY OF SANTA BARBARA;
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Xx] 3. The appropriate filing fee does not accompany the document;
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x] 4. There is no case number, or the case number does not
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correlate to the parties identified in the pleading;
9 :
| 5. The document is unintelligible in format or its purpose and
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objective cannot be readily determined;
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xX 6. The condition of the document renders it incapable of being
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filed (e.g. it is ona napkin or ripped piece of paper, thermal fax
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paper, oversized or otherwise cannot be readily attached to and
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maintained in a court file); and
15
Xx] 7. Name usage shall be consistent in answers, judgments,
16
requests for dismissal, requests for entry of default, and in documents
17
related to enforcement of judgment.
18
The following named document(s) have been confirmed to “pass” protocol:
19
1. ENTRY OF DEFAULT; JUDGMENT 7 ORDER TO SHOW CAUSE; NOTICE: FRCP Rule
20 59(e). (CCP §585(b) ,585(c) ,989,etc.)
21 || The following documents are deemed to provide evidence of probable cause
and shall be entered as “EXHIBIT (s)” to this “FILE ON DEMAND”:
22
EXHIBIT “A” - NOTICE AND DEMAND FOR DISMISS WITH PREJUDICE
23
It is determined the above documents will affect the above named case in
24 || the interest of justice and of the people in this court of record.
COURT:
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26 17
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28 Clerk/Signature/Seal
FILE ON DEMAND

 

 

 
Case 2:10-cv-09173-AHM-JCBPocument 1 Filed 11/2940/4eSalte 22 pf 1pB Bae #22
: NOTICE AND DEMAND FOR DISMISS WITH PREJUDICE 3
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ARIEL ALEJANDRIA, Driver Safety Hearing Officer WLI he
iforni icl yi’ of
c/o California Department of Motor Vehicles G vn a D7
3190 South Higuera St. } ) ph lp jA N
San Luis Obispo 93401 f/ L A Ef
CALIFORNIA, USA | ple A |

FROM:
Jeffery Jackson Lind
284 Wilson Dr.

* Santa Maria 93455
CALIFORNIA, USA

 

DATE: November 1, 2010

~ SUBJECT: Deprivation of Constitutional Rights, Conspiracy to Deprive a

_ Freeborn Person of His Unalienable Rights and Liberties Guaranteed Him by
_ His Constitution, and Failure to Protect Him from Conspiracy to Deprive Him

_ Of His Constitutional Rights and Liberties. .

“HelloMr.ALEJANDRIA:

On September 18" of 2010, my California |.D. was taken from me for no just -
cause by employees of local quasi-government private companies in the
name of the Department of Motor Vehicles located in Santa Maria, CA, such
employees having a sworn duty pursuant to their Oaths of Office to “serve and
protect” the Lawful People, the posterity of our forefathers, the framers of the
organic Constitution of the United States of America that these employees
swore to uphold and defend against all enemies.

The CALIFORNIA DEPARTMENT OF MOTOR VEHICLES, SAN LUIS
OBISPO, is a private company having no jurisdiction over Jeffery Jackson
Lind. See: http:/Avww.manta.com/c/mm50qwm/motor-vehicle-dept. As such,
this private company has no jurisdiction over Jeffery Jackson Lind.

EXHIBIT “A”
Case 2:10-cv-09173-AHM-JC® Document 1 Filed 11/29/10 Page esr 120 Page ID #:23

DEMAND TO DISMISS WITH PREJUDICE

| Now comes the Defendant-in-error, My-Real: Name, a living soul, without
assistance in the above-entitled action, who makes this Special Visitation
before this Honorable Court and moves this Honorable Court to Dismiss this

Matter with Prejudice.
| Aah Foren yp Sr

The people of the state have not filed a certified Final Administrative
Determination. The people of the state ofinee #a have failed to make a claim

that this Court can hear as per the Administrative Procedures Act. There is no
“Agency Final Administrative Determination” in the record. This court has

nothing to Review. The State has not exhausted its Administrative remedies.

Therefore, the “court’ lacks Subject Matter Jurisdiction. To move this Court
forward without exhausting Administrative remedies, will deprive the Accused
“Due Process of Law’, a violation of Constitutional Law.

Memorandum of Law

“Where Rights secured by the Constitution are involved there can be no rule-

. making or legislation, which would abrogate them” Miranda v, Arizona (1966)
http:/Awww.lawyerdude.netfirms.com/miranda.html 384 U.S. 436, 86 S: Ct.
1602, 16 L. Ed. 2d 694, 10 ALR 3rd 974 and 59 other ALR treatises .

“The claim and exercise of a constitutional right can not be-converted into a
crime.” Miller v. U.S., 230 F 2d 486, 489. .

“There can be no sanction or penalty imposed upon one because of his
exercise of constitutional Rights.” Sherar v. Cullen, 481 F. 945.

“No state shall convert a liberty into a privilege, license it, and attach a fee to
it.” Murdock v. Pennsylvania http://www. lawyerdude.8k.com/murdock.html

319 U.S. 262. .

‘If the state converts a liberty into a privilege the citizen can engage in the
right with impunity.” Shuttlesworth v. Birmingham re
http://www. lawyerdude.8m.com/5090.htm! 373 U.S. 262. &°

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“If you've relied on prior decisions of the Supreme Court you have a perfect

3

defense for willfulness.” U.S. v. Bishop, 412 U.S. 346. Be
:10-cv- - - ‘Document 1 Filed 11/29/10 Page of 120 Page ID #:24
Case 2:10-cv-09173-AHM Jce™p | eY
Officers of the court have no immunity, when violating a constitutional right!

Accordingly, formal DEMAND is hereby made of you to return my I.D. and
dismiss all unjust charges you have waged against Jeffery Jackson Lind.

Beyond that reasonable deadline, your silence will activate estoppel pursuant
to Carmine v. Bowen, and it will also constitute fraud pursuant to U.S. v.
Tweel. See also 18 U.S.C. 1341 (mail fraud), 1961 ef seq. (RICO).

Thank you for your timely professional cooperation.

Sincerely yours,

‘Jeffery Jackson Lind, Sui Juris |
All Rights Reserved without Prejudice
Copies: . Clerk of the California Superior Court

Attachments:

Ninth Amendment Proclamation of Jeffery Jackson Lind
   

- . SY, 2
Case 2 AO Gv-09173-AFIM JEG —Pocument 1 Filed 11/29/10 Page agi 120 VHGSRIBAY Are pity Claro
‘This document is the solen__ieclaration of domicil of choice of the undusigned, pursuant to the Ninth

Amendment of the Constitution for the United States of America.

4

Know All Men By These Presents:

I, Jeffery Jackson Lind, hereby do swear/affirm (yea be yea, and nay be nay) by solemn declaration
that I am a de jure Citizen of the United States, domiciled within the territorial boundaties of Santa Barbara
county, California state, thereby a member of the Posterity of We, the people, with UNALIENABLE rights,
privileges and immunities that are guaranteed by organic law, secured by the Constitution for the United
States of America (1789) and INALIENABLE civil liberties that are guaranteed by the Constitution for the
state of California (U.S.A.) and are to be executed with specific performance pursuant to the Statutes of Fraud

and Perjuries.

This declaration hereby establishes and distinguishes affiant as a freeholder in the American sense and
as a nonresident of “this state” (STATE OF CALIFORNIA) or any other (de facto) forum state with a “body
politic or corporate” repugnant to the above. Affiant’s free exercise of religious belief and accountability to
the universal laws of nature and of nature’s God, as originally embodied upon the adoption of the

. Constitution, includes the natural sense of an inherent moral duty toward ‘mankind. .

This proclamation, duly of record within Santa Barbara county, California state, establishes the status
of affiant, and is conclusive evidence to any and all conditional presumptions by any and all
quasi/consttuctive/implied consent(s) to any and all foreign jurisdictions inapposite to affiant’s asylum home

'State’of domicile as secured by the supreme law of the land.

TO BE SUBSCRIBED AND SWORN, I declare under penalty of perjury pursuant to the laws of the
_ United States that the foregoing is true, correct and complete to the best of my knowledge.

Yo wa
On OC _/420/6 before me, 224 Ger od , Notary Public,

personally appeared Jeffery Jackson Lind who proved to me on the basis of satisfactory evidence to be the
‘ person whose name is subscribed to the within instrument and acknowledge me that he executed the same in
his sovereign state, and that by his signature on. the instrument is the person who executed the instrument.

State of California )

  

County of Santa Barbara )

 

I certify under PENALTY OF PERJURY under the laws of the State of California that the foregoing

 

 

 

 

' paragraph is true and correct.
WITNESS my hand and official seal: DAN GEBHART
Commission #1851278
Public
SANTA BARBARA
vy) My Commission Exples dune 25, 2013
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~ The Superior Court of Record ~

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Jeffery Lind Jackson, Sui Juris
284 Wilson Drive

Santa Maria [93455]

Republic of California

(805) 937-4195

All Rights Retained

Attornatus Privatus

Page Z6yi 120 Page ID #:26

 

Superior Court of California

on the county of Santa Barbara

Jeffery Jackson Lind, sui juris

Counterclaimant,

Vv.

THE PEOPLE OF THE STATE

OF CALIFORNIA [sic];

SANTA BARBARA COUNTY [sic];
CITY OF SANTA MARIA [sic] ;
CITY OF GUADALUPE [sic] ;
SANTA BARBARA COUNTY

SHERIFF’S DEPARTMENT [sic]; ,
SANTA MARIA POLICE

DEPARTMENT [sic] ;

CITY OF QUADALUPE POLICE
DEPARTMENT [sic];

Vicki Ponce in her individual
capacity;

Jesse Gargia in his individual
capacity ; ,
Robert Ortega in his individual
capacity,

Counterdefendants.

 

 

 

 

CONTENTS

I. Introduction

Case No.: 1350711

ENTRY OF DEFAULT ;
JUDGMENT ;
ORDER TO SHOW CAUSE;

NOTICE: FRCP Rule 59(e)

(CCP §585 (b) ,585(c) ,989,et

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Ir Jurisdiction of This Court

Tit. Facts
IV. Conclusions of Law
Vv. Judgment

VI. FRCP Rule 59(e) Reconsideration of Judgment

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ENTRY OF DEFAULT; JUDGMENT

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~ The Superior Court of Record ~

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I.
INTRODUCTION

1. All of the served counterdefendants (hereinafter “defendant” or
“defendants” collectively) have defaulted and not answered to the
Counterclaim for Trespass filed by counterclaimant? (hereinafter
“plaintiff£”) on October 20, 2010, and duly served via their attorney.
Additionally, the DMV was duly served a copy of the counterclaim with
request to return plaintiff's California I.D. to him.” No facts are
in controversy. All that remains is to refer the law arising thereon
to the court. This case turns on a single question of law: Do the
defendant actors have jurisdiction? The facts presented to the court
show that none of the defendants was injured; there is no corpus
delicti. Further, the, subsequent courts involved were courts of
inferior jurisdiction, * even though they were otherwise courts of
general jurisdiction. Further, defendants acknowledge that when
jurisdiction was challenged, they ignored the challenge and assumed
the jurisdiction without proof.° This court of record® now proceeds’
to judgment on the defaults.

 

l We cannot say with assurance that under the allegations of the pro se complaint, which we hold to less stringent
standards than formal pleadings drafted by lawyers,..”” Haines vs. Kerner 404 U.S. 519 [1971]

2 "The use of the highway for the purpose of travel and transportation is not a mere privilege, but a common fundamental
right of which the public and individuals cannot rightfully be deprived." Chicago Motor Coach v. Chicago, 169 NE 221.

"The right of the citizen to travel upon the public highways and to transport his property thereon, either by carriage or by
automobile, is not a mere privilege which a city may prohibit or permit at will, but a common law right which he has under

the right to life, liberty, and the pursuit of happiness." Thompson v. Smith, 154 SE 579.

"The right to travel is a part of the liberty of which the citizen cannot be deprived without due process of law under the Fifth
Amendment." Kent v. Dulles, 357 US 116, 125.

"The right to travel is a well-established common right that does not owe its existence to the federal government. It is
recognized by the courts as a natural right." Schactman v. Dulles 96 App DC 287, 225 F2d 938, at 941.

3 “Inferior courts” are those whose jurisdiction is limited and special and whose proceedings are not according to the course
of the common law.” Ex Parte Kearny, 55 Cal. 212; Smith v. Andrews, 6 Cal. 652

‘<The only inherent difference ordinarily recognized between superior and inferior courts is that there is a presumption in
favor of the validity of the judgments of the former, none in favor of those of the latter, and that a superior court may be
shown not to have had power to render a particular judgment by reference to its record. Ex parte Kearny, 55 Cal. 212.
Note, however, that in California ‘superior court’ is the name of a particular court. But when a court acts by virtue of a
special statute conferring jurisdiction in a certain class of cases, it is a court of inferior or limited jurisdiction for the time
being, no matter what its ordinary status may be. Heydenfeldt v. Superior Court, 117 Cal. 348, 49 Pac. 210; Cohen v.

Barrett, 5 Cal. 195” 7 Cal. Jur. 579

> "No officer can acquire jurisdiction by deciding he has it. The officer, whether judicial or ministerial, decides at his own
peril." Middleton v. Low (1866), 30 C. 596, citing Prosser v. Secor (1849), 5 Barb.(N.Y) 607, 608.

6 California 1879 Constitution, Article 6, Section 1, “The judicial power of this State is vested in the Supreme Court, courts
of appeal, superior courts, and municipal courts, all of which are courts of record.”

COURT OF RECORD: To be a court of record a court must have four characteristics, and may have a fifth. They
are:...”Proceeding according to the course of common law. [Jones v. Jones, 188 Mo.App. 220, 175 S.W. 227, 229; Ex parte |

ENTRY OF DEFAULT; JUDGMENT

 
~ The Superior Court of Record ~

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Ir.
JURISDICTION OF THIS COURT

2. The first duty of a court is to determine whether or not it has

jurisdiction. The jurisdiction is established by the plaintiff when
he claims an injury ,° selects the forum, serves the defendants, and

the defendants make personal appearances.

3. "[Jurisdiction] is the authority by which courts’. ..take
cognizance of and decide cases.""° This authority’ comes from the
sovereign people of California’? who do not yield’? their sovereignty
to the agencies which serve them.*4

4. In the counterclaim, plaintiff asserted without objection’ that
he is one of the people ® of California, and that. his selected forum

 

Gladhill, 8 Metc. Mass., 171, per Shaw, C.J. See, also, Ledwith v. Rosalsky, 244 N.Y. 406, 155 N_E. 688, 689; Black's Law
Dictionary, 4th Ed., 425, 426]”

7 “But where the question upon which the jurisdiction depends is one of law purely the jurisdiction over the subject matter is
always open to collateral inquiry ...” Grannis v. Superior Court, 146 Cal. 245 [79 P. 891, 106 Am.St.Rep. 23]

8 Plaintiff establihed jurisdiction when he averred that the acts complained of are contrary to law, and tend to the injury of
the plaintiff, and he has not a complete remedy without the assistance of the court. See Mitlord on Equity Pleading

? "Court: The person and suit[e] of the sovereign" Black's Law Dictionary, 4th Ed., 425, 426. .

Court: An agency of the sovereign created by it directly or indirectly under its authority, consisting of one or more officers,
establihed and maintained for the purpose of hearing and determining issues of law and fact regarding legal rights and
alleged violations thereof, and of applying the sanctions of the law, authorized to exercise its powers in the course of law at
times and places previously determined by lawful authority. [Isbill v. Stovall, Tex.Civ.App., 92 S.W.2d 1067, 1070;
Black's Law Dictionary, 4th Edition, page 425]

10 Board of Trustees of Firemen’s Relief and Pension Fund of City of Marietta v. Brooks, 179 Okl. 600, 67 P.2d 4, 6;:
Morrow v. Corbin, 122 Tex. 553, 62 S.W. 2d 641; State v. Barnett, 110 Vt. 221, 3 A.2d 521, 526

1! The very meaning of ‘sovereignty’ is that the decree of the sovereign makes law. [American Banana Co. v. United Fruit
Co., 29 S.Ct. 511, 513, 213 US. 347, 53 L.Ed. 826, 19 Ann.Cas. 1047.]

2 The sovereignty of the state resides in the people thereof." California Government Code, Section 100(a)

3 The Plaintiff has chosen to exercise his powers directly rather than through his representatives.

"REPUBLICAN GOVERNMENT: One in which the powers of sovereignty are vested in the people and are exercised by
the people, either directly, or through representatives chosen by the people, to whom those powers are specially delegated."
[In re Duncan, 139 U.S. 449, 11 S.Ct. 573, 35 L.Ed. 219; Minor v. Happersett, 88 U.S. (21 Wall.) 162, 22 L.Ed. 627;

Black's Law Dictionary, Fifth Edition, p. 626.]
"Whereas, the people of California [1849] have presented a constitution...and which, on due examination, is found to be
republican in its form of government..." [Act [of Congress] for the Admission of California Into the Union, Volume 9,

Statutes at Large, Page 452.]

4 "The people of this state do not yield their sovereignty to the agencies which serve them." California Government Code,
Sections 11120 and 54950

5 The record does not show that any objection to the status or forum was asserted.

-3-
ENTRY OF DEFAULT; JUDGMENT

 

 

 
~ The Superior Court of Record ~

Case

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| republican in its form of government....". [Act [of Congress] for the Admission of California Into the Union, Volume 9,

 

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is a court of record.*’ The defendants were duly” served through
their attorney. Defendants defaulted.

5. This court comes now to enter final judgment on the defaults, and
to order defendants and magistrate to show cause, if any there be,
why these judgments should be rescinded or modified.

6. This court concludes that because of the plaintiffs' status as a

people,’ > his counterclaim 20 regarding injury (for trespass), the
defendants were properly served, and the defendants defaulted; this

 

16 wat the Revolution, the sovereignty devolved on the people; and they are truly the sovereigns of the country, but they are
‘ sovereigns without subjects...with none to govern but themselves....."_ [Chisholm v. Georgia (US) 2 Dall 419, 454, 1 L Ed

440, 455 @ DALL (1793) pp 471-472.]

” California 1879 Constitution, Article 6, Section 1, “The judicial power of this State is vested in the Supreme Court,
courts of appeal, superior courts, and municipal courts, all of which are courts of record.”

COURT OF RECORD: To be a court of record a court must have four characteristics, and may have a fifth. They are:

1. A judicial tribunal having attributes and exercising functions independently of the person of the magistrate
designated generally to hold it. [Jones v. Jones, 188 Mo.App. 220, 175 S.W. 227, 229; Ex parte Gladhill, 8 Metc. Mass.,
171, per Shaw, C.J. See, also, Ledwith v. Rosalsky, 244 N.Y. 406, 155 N.E. 688, 689; Black's Law Dictionary, 4th Ed., 425,
426]

2. Proceeding according to the course of common law. [Jones v. Jones, 188 Mo.App. 220, 175 S.W. 227, 229;
Ex parte Gladhill, 8 Metc. Mass., 171, per Shaw, C.J. See, also, Ledwith v. Rosalsky, 244 N.Y. 406, 155 N.E. 688, 689;
Black's Law Dictionary, 4th Ed., 425, 426]

3. Its acts and judicial proceedings are enrolled, or recorded, for a perpetual memory and testimony. B BL
Comm. 24; 3 Steph. Comm. 383; The Thomas Fletcher, C.C.Ga., 24 F. 481; Ex parte Thistleton, 52 Cal 225; Erwin v. U.S.,

D.C.Ga., 37 F. 488, 2 L.R.A. 229; Heininger v. Davis, 96 Ohio St. 205, 117 N.E. 229, 231]
4. Has power to fine or imprison for contempt. [3 Bl. Comm. 24; 3 Steph. Comm. 383; The Thomas Fletcher,

C.C.Ga., 24 F. 481; Ex parte Thistleton, 52 Cal 225; Erwin v. U.S., D.C.Ga., 37 F. 488, 2 L.R.A. 229; Heininger v. Davis,

96 Ohio St. 205, 117 N.E. 229, 231; Black's Law Dictionary, 4th Ed., 425, 426]
5. Generally possesses a seal. [3 Bl. Comm. 24; 3 Steph. Comm. 383; The Thomas Fletcher, C.C.Ga., 24 F.

481; Ex parte Thistleton, 52 Cal 225; Erwin v. U.S., D.C.Ga., 37 F. 488, 2 L.R.A. 229; Heininger v. Davis, 96 Ohio St. 205,
117 N_E. 229, 231; Black's Law Dictionary, 4th Ed., 425, 426]

'8 "According to law in both form and substance. Welborn v. Whitney, 190 Oki. 630, 126 P.2d 263, 266; Cromwell v.
Slaney, C.C.A.Mass., 65 F.2d 940, 941; Zechiel v. Firemen's Fund Ins. Co., C.C.A.Ind., 61 F.2d 27, 28. .

? "The people of this.state do not yield their sovereignty to the agencies which serve them." California Government Code,
Sections 11120 and 54950

”° The Plaintiff has chosen to exercise his powers directly rather than through his representatives.

"REPUBLICAN GOVERNMENT: One in which the powers of sovereignty are vested in the people and are exercised by
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[In re Duncan, 139 U.S. 449, 11 S.Ct. 573, 35 L.Ed. 219; Minor v. Happersett, 88 U.S. (21 Wall.) 162, 22 L.Ed. 627;

Black's Law Dictionary, Fifth Edition, p. 626.]
"Whereas, the people of California have presented a constitution [1849]...and which, on due examination, is found to be

Statutes at Large, Page 452.]

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ENTRY OF DEFAULT; JUDGMENT

 

 
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p:10-cv-09173-AHM-JC Document 1 Filed 11/29/10 Page B0'yi 120 Page ID #:30
No

court has jurisdiction over the subject matter and in personam, and
may proceed to judgment .*

IIt.
FACTS

7. The following uncontested facts are taken from the plaintiff's
verified counterclaim. No opposing facts were submitted to the court
by any of the defendants. The facts of the case, by reason of
defendants' defaults, are fully admitted by the defendants.

8. Counterplaintiff Jeffery Jackson Lind”? (hereinafter ‘“plaintiff£"”)
was traveling in his right.

9. Robert Ortega (I.D./Badge #0999) of the Guadalupe Police
Department was the arresting officer. He, with no good cause and
without jurisdiction, deprived plaintiff of his liberty. The
officer ignored plaintiff's obvious superior jurisdiction, arrested
him, took his personal property and incarcerated him against his
will. Ortega was approximately eight (8) miles outside his actual

territorial jurisdiction.

10. Jesse Garcia (I.D./Badge #20894) of the Santa Maria Police
Department, with no good cause and without jurisdiction, assisted
‘Robert Ortega to deprived plaintiff of his liberty and personal
property. The officer ignored plaintiff's obvious superior
jurisdiction, assisted in his arrest to take his personal property
and incarcerated him against his will. Garcia was approximately five
(5) miles outside his actual territorial jurisdiction.

11. Vicki Ponce(I.D./Badge #1423) of the Santa Barbara Sheriffs
Department, having no good cause, no prima facia evidence of an
injury having occurred and without jurisdiction, assisted the
arresting officer Robert Ortega, executed a citation against
plaintiff to deprived plaintiff his liberty and personal property.
The officer ignored plaintiff's obvious superior jurisdiction,
assisted in his arrest to take his personal property and incarcerated
him against his will. None of the defendants were injured: they
lost no property and they lost no money. Nor were they at any time
at risk of losing any money or property.

12. From that point onward there was a cadre of persons deaf and
blind to the plaintiff's objections to their jurisdiction, and

 

21 "A court, after overruling a general demurrer to a complaint on the ground that it does not state a cause of action, may in
its discretion enter final judgment on the demurrer; Alley v. Nott, 111 U.S. 472, 4 Sup. Ct. 495, 28 L.Ed. 491." 1 Bouvier's

Law Dictionary unabridged, 840

” “Prior to the adoption of this amendment, strictly speaking, there were no citizens of the United States, but only some one
of them. Congress had the power to establish an uniform rule of naturalization," but not the power to make a naturalized
alien a citizen of any state. But the states generally provided that such persons might, on sufficient residence therein,
become citizens thereof, and then the courts held, ab convenienti, rather than otherwise, that they became ipso facto citizens
of the United States." Sharon v. Hill, (1885) 26 F 337, 343.

ENTRY OF DEFAULT; JUDGMENT

 

 

 
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willing to move, under color of law, against him even though no one
had been injured nor was there any risk of injury.

13. The sum of their entire position appears to be an act of
prejudice against a free white person” that enjoys superior

jurisdiction in his country as opposed to his kidnappers, the
defendants, according to his guaranteed Constitutional rights.

14. At no time did anyone of the defendants give any attention to
plaintiff’s obvious superior jurisdiction or objections to their
jurisdiction, but continued to assume (without proof) the
jurisdiction and each acted in concert to aggravate the incarceration
of the plaintiff despite having no lawful jurisdiction to assist in
the deprivation of the freedom of this plaintiff.

15. With no other options open”* to him, plaintiff, a people of
California, sued in this court of record.

16. All of the defendants defaulted.

Iv.
CONCLUSIONS OF LAW

17. %It now falls upon this court to apply the law to facts germane
to the clain.

18. The principle issue before this court of record is whether or
not the defendants, each of them, and their courts, acquired proper
jurisdiction over the plaintiff. If they acquired proper
jurisdiction, then the plaintiff has no case. On the other hand, if
there is no jurisdiction, the defendants, by their acts, each of them
has acquired an obligation to the plaintiff.

 

23 «in order to become a citizen one must be a free white person” [United States Statutes at Large, Vol. 2, Chap. XXVIII
(28), published on pages 153, 154 and 155 approved on April 14, 1802]

4 In the decision of Poindexter v. Greenhow, 114 U.S. 270 (1885), the Court, after observing that "the distinction between
the government of a State and the State itself is important, and should be observed," id., at 290, wrote: "This distinction is
essential to the idea of constitutional government. To deny it or blot it out obliterates the line of demarcation that separates
constitutional government from absolutism, free self-government based on the sovereignty of the people from that
despotism, when this of the one or the many, which enables the agent of the State to declare and decree that he is the State;
to say “L'Etat c'est moi.' Of what avail are written constitutions whose bills of right for the security of individual liberty
have been written, too often, with the blood of martyrs hed upon the battlefield and the scaffold, if their limitations and
restraints upon power may be overpassed with impunity by the very agencies created and appointed to guard, defend, and
enforce them; and that, too, with the sacred authority of law, not only compelling obedience, but entitled to respect? And
how else can these principles of individual liberty and right be maintained, if, when violated, the judicial tribunals are
forbidden to visit penalties upon individual offenders, who are the instruments of wrong, whenever they interpose the shield
of the State? The doctrine is not to be tolerated. The whole frame and scheme of the political institutions of this country,
State and Federal, protest against it. Their continued existence is not compatible with it. It is the doctrine of absolutism,
pure, simple, and naked... ."Id., at 291. See also Gibbons, The Eleventh Amendment and State Sovereign Immunity: A

Reinterpretation, 83 Colum. L. Rev. 1889 (1983).

-6-
ENTRY OF DEFAULT; JUDGMENT
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19. The sovereign People of the State of California established the
State Constitution (1879) .75 The California Legislature twice
admonishes through the California Government Code that the people of
this State do not yield their sovereignty to the agencies which serve
them; The people insist on retaining control over the instruments
they have created.”® That implies that the instruments (agencies)
they have created may not control the people.

20. The California Constitution (1879) mandates that all California
courts are courts of record.”” One of the five characteristics of a
court of record is that it is proceeding according to the course of
the common law.”® A California superior court is a fully empowered
court with unlimited jurisdiction, proceeding according to the course
of common law. A court proceeding under any other direction is a
“nisi prius”®? or “inferior court”.*° “The only inherent difference
ordinarily recognized between superior and inferior courts is that
there is a presumption in favor of the validity of the judgments of
the former, none in favor of those of the latter, and that a superior
court may be shown not to have had power to render a particular
judgment by reference to its record.”** “But when a court acts by
virtue of a special statute conferring jurisdiction in a certain
class of cases, it is a court of inferior or limited jurisdiction for
the time being, no matter what its ordinary status may be.” “And
if at a later time its acts are shown to have been in excess of the
power conferred upon it or without the limits of this special
jurisdiction, such acts are nugatory and have no binding effect, even

 

5 “We, the People of the State of California, grateful to Almighty God for our freedom, in order to secure and perpetuate its
blessings, do establish this Constitution.” California Constitution, Preamble

2° «The people of this State do not yield their sovereignty to the agencies which serve them... The people insist on remaining
informed so that they may retain control over the instruments they have created.” California Government Code, §54950.

See also §11120

27 California Constitution, Article 6, §1. The judicial power of this State is vested in the Supreme Court, courts of appeal,
superior courts, and municipal courts, all of which are courts of record.

8 California 1879 Constitution, Article 6, Section 1, “The judicial power of this State is vested in the Supreme Court,
courts of appeal, superior courts, and municipal courts, all of which are courts of record.”

Court of Record:: To be a court of record a court must have four characteristics, and may have a fifth. They are:...2.
Proceeding according to the course of common law. [Jones v. Jones, 188 Mo.App. 220, 175 S.W. 227, 229; Ex parte
Gladhbill, 8 Metc. Mass., 171, per Shaw, C.J. See, also, Ledwith v. Rosalsky, 244 N.Y. 406, 155 N.E. 688, 689; Black's Law

Dictionary, 4th Ed., 425, 426]

” A “nisi prius court" is a court which will proceed unless a party objects. The failure to object grants jurisdiction to
proceed,

*° “Inferior courts” are those whose jurisdiction is limited and special and whose proceedings are not according to the
course of the common Jaw. Ex parte Kearny, 56 Cal. 212; Smith v. Andrews, 6 Cal. 652; 7 Cal.Jur. 578
3! Bx parte Kearny, 55 Cal. 212; 7 Cal.Jur 579

32 Heydenfeldt v. Superior Court, 117 Cal. 348, 49 Pac. 210; Cohen v. Barratt, 5 Cal. 195; 7 Cal. Jur. 579

-7-
ENTRY OF DEFAULT; JUDGMENT

 

 
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upon those who have invoked its authority or submitted to its
decision.”

21. All parties (plaintiff and defendants of default) agree on the
facts: In case (Superior Court of California, County of Santa
Barbara, PEOPLE OF THE STATE OF CALIFORNIA vs. JEFFERY JACKSON LIND,
case number 1350711) plaintiff timely objected to court’s
jurisdiction. Inspection of the court docket sheets shows a written
refusal on the part of the defendant in the above named court’s case
to contract with anyone. Further inspection of the court docket
sheets and minute orders show that the court proceeded not in
accordance with the common law; they proceeded in accordance with the
special rules (codes) handed them by legislature, namely the rules of
the Penal Code, ete. By their procedures they recast themselves as
inferior courts instead of constitutional superior courts of record.
Because plaintiff timely objected, inferior-court jurisdiction was
not properly acquired. Without a “contract” (actual or implied)
there is no authorization to proceed, other than in a court of record
proceeding according to the course of the common law.?

22. There is no presumption in favor of the validity of the
judgments of an inferior court.*° Such judgments are subject to
collateral attack.°® “[I]f£ at a later time its acts are shown to
have been in excess of the power conferred upon it or without the
limits of this special jurisdiction, such acts are nugatory and have
no binding effect, even upon those who have invoked its authority or

submitted to its decision.”

23. Plaintiff Jeffery Jackson Lind is one of the People of the State
of California. He holds no grievance against himself. The
legislature has instructed the courts through the Government Code

 

*° Estate of Sutro, 143 Cal. 487, 77 Pac. 402; Heydenfeldt v. Superior Court, 117 Cal. 348, 49 Pac. 210; Long v. Superior
Court, 102 Cal. 449, 36 Pac. 807; Neary v. Godfrey, 102 Cal. 338, 36 Pac. 655; Smith v. Westerfield, 88 Cal. 374, 26 Pac.

206; Umbarger v. Chaboya, 49 Cal. 525; 7 Cal. Jur. 579

4 Rhetorically, the questions could be asked: Is it an act of treason when a public official takes unlawful dominion over the
sovereign People of the United States? Could such state officials be prosecuted under 18 USC 242 which makes it a federal
crime to deprive or conspire to deprive, under color of law, any person of his rights?

35 Rx parte Kearny, 55 Cal. 212; 7 Cal.Jur 579

36 « a superior court may be shown not to have had power to render a particular judgment by reference to its record.” Ex
parte Kearny, 55 Cal. 212; 7 Cal. Jur. 579

“The case of Ritchie v. Sayers (C. C.), 100 Fed. 520, involved a collateral attack on a judgment, and the court after referring
to the rule as generally stated in the books, namely, that the judgment of a court having jurisdiction of the parties and the
subject-matter of the action is conclusive and cannot be collaterally called into question, said: ‘That may be conceded, but
the question is, did it have jurisdiction to enter the particular decree and judgment that it did enter? As we have before seen,
we reach the conclusion that the particular judgment could not be entered; and it is a well-settled principle that, although a
court may have jurisdiction of a case, yet, if it appears from the record that it did not have jurisdiction to enter the particular
decree and judgment, it may be collaterally attacked." Michael v. Williams, 13 Cal-App.2d 198, 200, 201

*” Estate of Sutro, 143 Cal. 487, 77 Pac. 402; Heydenfeldt v. Superior Court, 117 Cal. 348, 49 Pac. 210; Long v. Superior
Court, 102 Cal. 449, 36 Pac. 807; Neary v. Godfrey, 102 Cal. 338, 36 Pac. 655; Smith v. Westerfield, 88 Cal. 374, 26 Pac.
206; Umbarger v. Chaboya, 49 Cal. 525; 7 Cal.Jur. 579

-8-
ENTRY OF DEFAULT; JUDGMENT

 

 
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that the people do not yield their sovereignty. They exceeded their
jurisdiction when they acted as an inferior court, their acts in
excess of the power conferred upon them and knowingly asserted their
inferior jurisdiction over one of the people of California.

24. In this case, there is no authority for the public servants to
take command over the sovereignty of the foreign State. Every person
who heard and ignored the objections, and failed to inquire further,
and failed to change his behavior, must answer for the injury to the
plaintiff. This is especially so when none of the defendants

suffered no injury.

25. The City of Santa Maria and the City of Guadalupe were not
served. They are each dismissed without prejudice. All other
defendants are represented by the deputy district attorney. The
deputy district attorney was duly served on their behalf.

26. On October 20, 2010, Brian D. Johnson appeared on behalf of the
defendants and was in control of the proceedings, as a “deputy
district attorney” and had the discretionary power to not proceed in
the inferior court not of record and chose to exercise that power and
remain silent®® following plaintiff's challenge of the court’s
jurisdiction. The county district attorney took the lawful approach
and did not answer to the challenge and activated estoppel.*® At
that point, the case (Superior Court of California, County of Santa
Barbara, PEOPLE OF THE STATE OF CALIFORNIA vs. JEFFERY JACKSON LIND,
case number 1350711) ceased to exist. Accordingly, the plaintiff has
no further grievance with Santa Barbara County and therefore, Santa
Barbara County is dismissed without prejudice.

27. ##Santa Barbara County Sheriff's Department, Santa Maria Police
Department, Guadalupe Police Department, Vicki Ponce, Jesse Garcia
and Robert Ortega, defendants in this case, each defaulted.

28. In general there is no direct evidence that each defendant is
the agent and bailee of the other. Nor is there any direct evidence
that the defendants conspired together. But the actions of each of
the defendants show a pattern to the court that each defendant worked
toward the common goal of depriving liberty and incarcerating the
plaintiff under color of law.

29. By their default, Santa Barbara County Sheriff’s Department,
Santa Maria Police Department, Guadalupe Police Department, Vicki
Ponce, Jesse Garcia and Robert Ortega admit no personal injury. He
who consents to an act is not wronged by it.*° Because they
consented to depriving plaintiff his liberty, they could not have
been wronged by any act of deprivation of plaintiff£’s liberty. Those
seven defendants lost neither money nor property. Further, they were

 

38 | beyond that reasonable deadline, your silence will activate estoppel... [Carmine v. Bowen]
39 beyond that reasonable deadline, your silence will activate estoppel... [Carmine v. Bowen]

40 California Civil Code, §3515, Maxim

-9-
ENTRY OF DEFAULT; JUDGMENT

 
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not at risk of losing either money or property or anything else.“
It is a well established principle of law that where there is no

injury there can be no liability.

30. Defendants, Santa Barbara County Sheriff’s Department, Santa
Maria Police Department, Guadalupe Police Department, Vicki Ponce,
Jesse Garcia and Robert Ortega, each, at any time, could have stopped
the deprivation of Liberty of the plaintiff, hhowever, they all
breached their duty** and chose to not act pursuant to that duty to
protect the plaintiff. Each defendant played an integral and vital
part so that the remaining actors were in a position to affect the
plaintiff, and each provided a critical link in the chain exposing
the plaintiff to the actors who deprived him of his liberty. Thus,
each is vicariously liable for each instance of injury to the

plaintifé.‘

31. The corporate State of California is not a defendant in this
case and did not step forward in behalf of any of the defendants. In
their failure to answer“ the counterclaim, defendants admitted the
facts and are to be charged with the responsibility for their acts.
If defendants would have had lawful jurisdiction over the plaintiff,
the case would be different. However, their acts were ultra vires.
None presented any evidence that their acts were authorized by
policy, law, or contract. All of their acts were in spite of obvious
jurisdiction and the timely objections of the plaintiff. As inferior
courts they did not obtain proper jurisdiction.

32. Further, the “court” by which they invoke claim of their
immunity is not a true court of record. At best, arguendo, it could
be an inferior court. “Inferior courts are those whose jurisdiction
is limited and special and whose proceedings are not according to the
course of the common law.”*° Defendants ignored the objection to
their jurisdiction by plaintiff. To ignore the objection is to act
in excess of the limits*® of the special jurisdiction. To proceed is

 

4! “private transactions are fair and regular.” California Civil Code, §3545,

“ Duty of Care: n. a requirement that a person act toward others and the public with the watchfulness, attention, caution and
prudence that a reasonable person in the circumstances would use. If a person's actions do not meet this standard of care,
then the acts are considered negligent, and any damages resulting may be claimed in a lawsuit for negligence.

3 The purpose of imposing vicarious liability is to insure the costs of injuries resulting from defective actions are placed on
the source of the actions and others who make the actions possible rather than on injured persons who are powerless to
protect themselves. For a defendant to be vicariously liable it must play an integral and vital part in the overall production
and promotion activity so that the actor is in a position to affect others or, at the very least, it must provide a link in the
chain of exposing the ultimate victim to the actor. The vicariously liable counterdefendant must be in the business of

controlling, leasing, bailing, or licensing the actors.
“4 | beyond that reasonable deadline, your silence will activate estoppel... [Carmine v. Bowen]
* Ex parte Kearny, 55 Cal. 212; Smith v. Andrews, 6 Cal. 652

46 "The people of this state do not yield their sovereignty to the agencies which serve them." California Government Code,
§11120 and §54950

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ENTRY OF DEFAULT; JUDGMENT

 

 
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to violate the prohibition against slavery*’. “Whenever a want of
jurisdiction is suggested...it is the duty of the court to consider
it, for if the court is without jurisdiction, it is powerless to act

in the case.”*®

33. Immunity for unlawful acts does not exist in a true court of
record. Nor does immunity exist in a special court when it acts
outside of its jurisdiction.*® There is “inherent in every court of
record the power to afford a remedy for any injury done by its
officers or by reason of its process or judgments.”°° But, that does
not apply here because the special court is not a court of record.
Instead, as admitted by the defendants, the defendants simply
proceeded without lawful jurisdiction. In other words, the
defendants, on their own authority, under color of law, asserted
unlawful jurisdiction over the plaintiff who would not voluntarily
yield his sovereignty” to them.”

34. On October 20, 2010, Brian D. Johnson appeared in the above
named court not of record on behalf of the defendants and was in
control of the proceedings as a “deputy district attorney” and, upon
challenge of the court’s jurisdiction by plaintiff, had the
discretion not to proceed in the inferior court not of record and
chose to exercise that discretion and remained silent® to avoid act
of treason.** He submitted to the challenge and did not answer though

 

‘7 California Constitution, Article 1, §6. Slavery is prohibited.

48 Cochrane v. W. F. Potts Son & Co. (C.C.A. 5) 47 F. (2d) 1026, citing R. C. L.; People v. Shaw, 81 Cal. App. 312, 253 P.
7A7, citing R. C. L.; 14 Am Jur. 385

“*° In a special court immunity does not exist when constitutionally protected rights are violated, when jurisdiction is
exceeded, or when the scope of employment is exceeded.

°° Heydenfeldt v. Superior Court, 117 Cal. 348, 49 Pac. 210.

5! "The people of this state do not yield their sovereignty to the agencies which serve them." California Government Code,
§11120 and §54950

* Rhetorically, the question could be asked, "Is it an act of treason for a public official to take unlawful dominion over the
sovereign People of California? Could such state officials be prosecuted under 18 USC 242 which makes it a federal crime

to deprive or conspire to deprive, under color of law, any person of his rights.”
%3 beyond that reasonable deadline, your silence will activate estoppel... [Carmine v. Bowen]

*4 «tt is most true that this Court will not take jurisdiction if it should not: but it is equally true, that it must take jurisdiction
if it should. The judiciary cannot, as the legislature may, avoid a measure because it approaches the confines of the
constitution. We cannot pass it by because it is doubtful. With whatever doubts, with whatever difficulties, a case may be
attended, we must decide it, if it be brought before us. We have no more right to decline the exercise of jurisdiction which is
given, than to usurp that which is not given. The one or the other would be treason to the constitution. Questions may occur |
which we would gladly avoid; but we cannot avoid them. All we can do is, to exercise our best judgment, and
conscientiously to perform our duty. In doing this, on the present occasion, we find this tribunal invested with appellate
jurisdiction im all cases arising under the constitution and laws of the United States. We find no exception to this grant, and
we cannot insert one.” Cohens v. Virginia, 19 U.S. 264, 404, 5 L.Ed. 257, 6 Wheat. 264 (1821)

“Whenever a judge acts where he/she does not have jurisdiction to act, the judge is engaged in an act or acts of treason.” U.S. v. Will, 449
U.S. 200, 216, 101 S.Ct. 471, 66 L-Ed.2d 392, 406 (1980); Cohens v. Virginia, 19 U.S. (6 Wheat) 264, 404, 5 L.Ed 257 (1821)

 

ENTRY OF DEFAULT; JUDGMENT

 
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the magistrate” committed a “chose in action” disregarding the
challenge of the inferior court’s jurisdiction. Accordingly, the
deputy district attorney acknowledged the plaintiff’s superior
jurisdiction. His_continued silence since 30 plus days ago has
activated estoppel®®. There was no other lawful representative for
the defendants in the court room. The matter of superior
jurisdiction was lawfully concluded to be in the favor of the
plaintiff at that point by the deputy district attorney.

35. Robert Ortega (I.D./Badge #0999) was the “arresting officer’:
More than anyone, he had the opportunity to protect one of the people
of California. Rather than be a public peace keeper he metamorphosed
into the role of enforcer of private interests. He, with no good
cause, assumed jurisdiction, deprived plaintiff of his liberty,
arrested him, took his personal property and incarcerated him against
his will, acting eight (8) miles outside his lawful territorial

jurisdiction.

36. GUADALUPE POLICE DEPARTMENT is #0999 Ortega’s employer: As much
as anyone, the employer of #0999 Ortega had the duty, obligation and
the opportunity to protect one of the people of California and
_reprimand #0999 Ortega for his unlawful acts. Rather than excersing
their non-discretionary duty to reprimand #0999 Ortega for his
unlawful acts, they instead acted in concert with their employee,
#0999 Ortega, and for no good cause, assumed jurisdiction, deprived
plaintiff of his liberty, arrested him, took his personal property
and incarcerated him against his will.

37. Jesse Garcia (I.D./Badge #20894) was the ‘assisting arresting
officer”: As much as anyone, he had the opportunity to protect one of
the people of California. Rather than be a public peace keeper he
metamorphosed into the role of enforcer of private interests and
acted in concert with Ortega and for no good cause, assumed
jurisdiction, deprived plaintiff of his liberty, arrested him, took
his personal property and incarcerated him against his will, acting
approximately five (5) miles outside his lawful territorial

jurisdiction.

38. SANTA MARIA POLICE DEPARTMENT is #20894 Garcia’s employer: As
much as anyone, the employer of #20894 Garcia had the duty,
obligation and the opportunity to protect one of the people of
California and reprimand #20894 Garcia for his unlawful acts. Rather
than excercise their non-discretionary duty to reprimand #20894
Garcia for his unlawful acts, they instead acted in concert with
their employee, #20894 Garcia, and for no good cause, assumed
jurisdiction, deprived plaintiff of his liberty, arrested him, took
his personal property and incarcerated him against his will.

 

°° "Ministerial officers are incompetent to receive grants of judicial power from the legislature; their acts in attempting to
exercise such powers are necessarily nullities." Burns v. Sup. Ct., SF, 140 Cal. 1.*

°° Estoppel in its broadest sense is a legal term referring to a series of legal and equitable doctrines that preclude "a person
from denying or asserting anything to the contrary of that which has, in contemplation of law, been established as the truth,
either by the acts of judicial or legislative officers, or by his own deed, acts, or representations, either express or implied."

-12-
ENTRY OF DEFAULT; JUDGMENT

 

 
~ The Superior Court of Record ~

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39. Vicki Ponce (I.D./Badge #1423) was the “citing and booking
officer”: As much as anyone, she had the opportunity to protect one
of the people of California. Rather than be a public peace keeper
she metamorphosed into the role of enforcer of private interests and
acted in concert with #0999 Ortega and #20894 Garcia, and for no good
cause, assumed jurisdiction, deprived plaintiff of his liberty,
booked him, took his personal property and incarcerated him against

his will.

40. SANTA BARBARA SHERIFFS DEPARTMENT is #1423 Ponce’s employer: As
much as anyone, the employer of #1423 Ponce had the duty, obligation
and the opportunity to protect one of the people of California and
reprimand #1423 Ponce for her unlawful acts. Rather than exercise
their non-discretionary duty to reprimand #1423 Ponce for her
unlawful acts, they instead acted in concert with their employee,
#1423 Ponce, and for no good cause, assumed jurisdiction, deprived
plaintiff of his liberty, arrested him, took his personal property
and incarcerated him against his will.

Vv.
JUDGMENT
THE COURT ADJUDGES AS FOLLOWS:
41. Superior Court of California, on and for the County of Santa

Barbara, in regards to PEOPLE OF THE STATE OF CALIFORNIA vs. JEFFERY
JACKSON LIND, case number 1350711, as noted above, is an inferior
court without jurisdiction over Jeffery Jackson Lind. 7 Its acts are
nugatory and have no binding effect. °° The records of said inferior
court not of record are impeached for want of jurisdiction in the

Court or judicial officers.

42. The City of Santa Maria and the City of Guadalupe were not
served, therefore they are dismissed from this case without

prejudice.

43. The deputy district attorney responded to the challange of
jurisdiction with silence, activating estoppel on the case, and
plaintiff retains no further grevience for Santa Barbara County,
therefore Santa Barbara County is dismissed from this case without

prejudice.

 

57 «The people of this State do not yield their sovereignty to the agencies which serve them... The people insist on remaining
informed so that they may retain control over the instruments they have created.” California Government Code, §54950.

See also §11120

58 Fetate of Sutro, 143 Cal. 487, 77 Pac. 402; Heydenfeldt v. Superior Court, 117 Cal. 348, 49 Pac. 210; Long v. Superior
Court, 102 Cal. 449, 36 Pac. 807; Neary v. Godfrey, 102 Cal. 338, 36 Pac. 655; Smith v. Westerfield, 88 Cal. 374, 26 Pac.

206; Umbarger v. Chaboya, 49 Cal. 525; 7 Cal.Jur. 579

59 "A judgment which is void upon its face, and which requires only an inspection of the judgment roll to demonstrate its
want of vitality is a dead limb upon the judicial tree, which should be lopped off, if the power so to do exists." (People v.
Greene, 74 Cal. 400 [16 P. 197, 5 Am.St.Rep. 448].) Michael v. Williams, 13 Cal. App.2d 198, 199 (1936)

-13-
ENTRY OF DEFAULT; JUDGMENT

 
~ The Superior Court of Record ~

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44. Defendants Santa Barbara County Sheriff’s Department, Santa
Maria Police Department, Guadalupe Police Department, Vicki Ponce,
Jesse Garcia and Robert Ortega, have acted arbitrarily and
capriciously, have abused their discretion, and have acted not in
accordance with law, but under color of law.

45. Each of defendants’ employers, Santa Barbara County Sheriff's
Department, Santa Maria Police Department and Guadalupe Police
Department, are independently liable for the unlawful acts of their
own employee, and likewise are each liable to Plaintiff Jeffery
Jackson Lind for damages caused by such employees to him for the
actual time he was unlawfully incarcerated in the amount of Nine
Hundred Thousand Dollars ($900,000)

46. Defendants Vicki Ponce, Jesse Garcia and Robert Ortega, for
knowingly depriving Jeffery Jackson Lind of his liberty, property and
failing to recognize their inferior jurisdiction and act pursuant to
their sworn duty to protect him, each shall be liable to Jeffery
Jackson Lind for Five Thousand Dollars and no cents ($5,000) for each
day® until the actual “date” the records of said inferior court not
of record are impeached for want of jurisdiction in the Court or

judicial officers. ©

47. The STATE OF CALIFORNIA DEPARTMENT OF MOTOR VEHICLES shall grant
the wish of Jeffery Jackson Lind, to “travel” in his cars, vans,
trucks, motorcycles without a DMV issued License, as long as he is
not getting paid to transport people or cargo while traveling, i.e.
engaged in commerce, and shall immediately return his California I.D.

to him.

48. Defendants are enjoined from interfering in any way with
counterclaimant’s lawful right to negotiate and enter into contracts;

VI.
FRCP RULE 59 (e)
RECONSIDERATION OF JUDGMENT

49. PLEASE TAKE NOTICE: In accordance with Rule 59(e)™ of the
Federal Rules of Civil Procedure any party may move for

 

°° TREZEVANT v. CITY OF TAMPA, 741 F.2d 336 (11th Cir. 1984)
(total number minutes @ 7.5 hours = 450 minutes x $2,010.87 [$1,0870.00/min. x 1.85 “CPI” correction factor since 1984]

= $904,891.50)
5! Date beginning September 18" of 2010, the date defendants deprived plaintiff his liberty.

° "A judgment which is void upon its face, and which requires only an inspection of the judgment roll to demonstrate its
want of vitality is a dead limb upon the judicial tree, which should be lopped off, if the power so to do exists." (People v.
Greene, 74 Cal. 400 [16 P. 197, 5 Am.St.Rep. 448].) Michael v. Williams, 13 Cal App.2d 198, 199 (1936)

% Federal Rules of Civil Procedure, Rule 59(e) Motion to Alter or Amend Judgment. Any motion to alter or amend a
judgment shall be filed no later than 10 days after entry of the judgment.

-14-
ENTRY OF DEFAULT; JUDGMENT

 
~ The Superior Court of Record ~

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coe —

reconsideration of judgment within 10 days of entry of judgment. ™
The court, mindful of the rights of the parties and the importance of
fair play, will liberally construe the arguments presented.

THE COURT
WITNESS: The SEAL of the COURT this 23th day of November, 2010

 

 

Clerk
Copy of ORDER sent to:

“deputy district attorney”

 

“ The organic law is the Constitution of Government, and is altogether written. Other written laws are denominated
statutes. The written law of this State is therefore contained in its Constitution and statutes, and in the Constitution and
statutes of the United States. California Code of Civil Procedure, § 1897

 

ENTRY OF DEFAULT; JUDGMENT

 

 
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Exhibit “B”
The Superior Court of Record

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Santa Maria [93455] NOV {4 2010
Republic of California :
(805) 937-4195 GARY M, BLAI, Executive Officer
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All Rights Retained V. GARI £4 Sputy Clor’-

Attornatus Privatus

Superior Court of California

on the county of Santa Barbara

Jeffery Jackson Lind, CASE NO. 1350711
Counterclaimant,
WRIT OF ERROR QUAE CORAM
NOBIS RESIDANT RE

ROGELIO FLORES, JED BEEBE;

Vv.

THE PEOPLE OF THE STATE OF

CALIFORNIA, et al. ORDER TO SHOW .CAUSE

Counterdefendants.

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1. THE COURT COMES NOW, ON ITS OWN MOTION, TO review the facts,
record, and process resulting in the order entitled CRIMINAL MINUTE
ORDER - ARRAIGNMENT ON CONTRACT and filed October 20, 2010! by
ROGELIO FLORES; AND in the order entitled CRIMINAL MINUTE ORDER -—

S&B/SETTLEMENT CONFERENCE and filed October 27, 2010 by JED BEEBE.

 

' Not to be confused with the Proposed order filed in the court of record for the Magistrate to sign, an ORDER
DISMISSING Case no. 1350711 for lack of jurisdiction and for lawful cause, such Cause, acts of treason.

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WRIT OF ERROR — FLORES — BEEBE

 

 
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SUMMARY

2. On October 20, 2010, at 8:30am, in Department 3, the above-
entitled court of record convened to challenge jurisdiction.
Contrary to the requirements of the court of record, the magistrate
assumed the mantel of a tribunal and proceeded independently. The
purpose of this writ is to restore the orderly decorum of the court
and to correct defective impromptu process and usurpation of
legislative and court powers taken by the magistrate without leave
of court. Again, on October 27, 2010, at 8:30am, in Department 7,
the above-entitled court of record convened. Contrary to the
requirements of the court of record, the magistrate assumed the
mantel of a tribunal and proceeded independently. The purpose of
this writ is to restore the orderly decorum of the court and to
correct defective impromptu process and usurpation of legislative

and court powers taken by the magistrate without leave of court.

3. As we have stated before, this court has great admiration for
the magistrates. Their training, experience, and wisdom are of
great value in guiding this court toward a just resolution of

issues.

4. But, we are mindful of the wisdom of Thomas Jefferson when he
commented, "We all know that permanent judges acquire an esprit de
corps; that, being known, they are liable to be tempted by bribery;
that they are misled by favor, by relationship, by a spirit of

party, by a devotion to the executive or legislative; that it is

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WRIT OF ERROR -— FLORES — BEEBE

 
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better to leave a cause to the decision of cross and pile’? than to

that of a judge biased to one side.”

5. It is, in part, with that inspiration that this court is

established as a court of record.
DETAIL
6. The following is organized into three sections:

I. Judicial cognizance
II. Findings of fact, Discussion and Conclusions of Law

III. Impeachment and Writ

I.

Judicial Cognizance

7. <As in prior hearings, this court takes judicial cognizance of

and decrees the following:

8. JUDICIAL COGNIZANCE. Judicial notice, or knowledge upon which
a judge is bound to act without having it proved in evidence.
[Black's Law Dictionary, 5th Edition, page 760.]

9. The sovereignty of the state resides in the people thereof...

[California Government Code, Section 100(a)]

 

* Cross and pile: a coin flip

> Thomas Jefferson to Abbe Aroux, 1789, Papers, 15:283

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WRIT OF ERROR - FLORES — BEEBE

 

 
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10. The people of this state do not yield their sovereignty to the
agencies which serve them. [California Government Code, Sections

11120 and 54950.]

11. Laws, whether organic or ordinary, are either written or

unwritten. [California Code of Civil Procedure, Section 1895.]

12. A written law is that which is promulgated in writing, and of
which a record is in existence. [California Code of Civil

Procedure, Section 1896]

13. The organic law is the Constitution of Government, and is
altogether written. Other written laws are denominated statutes.
The written law of this State is therefore contained in its
Constitution and statutes, and in the Constitution and statutes of

the United States. [California Code of Civil Procedure, Section

1897]

14. Any judicial record may be impeached by evidence of a want of
jurisdiction in the Court or judicial officer, of collusion between
the parties, or of fraud in the party offering the record, in
respect to the proceedings. [California Code of Civil Procedure,

Section 1916]

15. ...at the Revolution, the sovereignty devolved on the people;
and they are truly the sovereigns of the country, but they are

sovereigns without subjects...with none to govern but

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WRIT OF ERROR — FLORES — BEEBE

 

 
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themselves..... [CHISHOLM v. GEORGIA (US) 2 Dall 419, 454, 1 L Ed

440, 455 @DALL (1793) pp471-472.]

16. The very meaning of 'sovereignty' is that the decree of the
sovereign makes law. [American Banana Co. v. United Fruit Co., 29

S.Ct. 511, 513, 213 U.S. 347, 53 L.Ed. 826, 19 Ann.Cas. 1047.]

17. The people of this State, as the successors of its former
sovereign, are entitled to all the rights which formerly belonged
to the King by his prerogative. [Lansing v. Smith, 4 Wend. 9
(N.Y.) (1829), 21 Am.Dec. 89 10C Const. Law Sec. 298; 18 C Em.Dom.

Sec. 3, 228; 37 C Nav.Wat. Sec. 219; Nuls Sec. 167; 48 C Wharves

Sec. 3, 7.]

18. A consequence of this prerogative is the legal ubiquity of the
king. His majesty in the eye of the law is always present in all
his courts, though he cannot personally distribute justice.
(Fortesc.c.8. 2Inst.186) His judges are the mirror by which the

king's image is reflected. 1 Blackstone's Commentaries, 270,

Chapter 7, Section 379.

19. ...-This declaration of rights may not be construed to impair
or deny others retained by the people. [California Constitution,

Article 1, Declaration Of Rights Sec. 24.]

20. The state cannot diminish rights of the people. [Hertado v.

California, 100 US 516.]

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WRIT OF ERROR — FLORES — BEEBE

 
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21. The assertion of federal rights, when plainly and reasonably
made, is not to be defeated under the name of local practice.

[Davis v. Wechsler, 263 US 22, 24.]

22. Where rights secured by the Constitution are involved, there
can be no rule making or legislation which would abrogate them.

[Miranda v. Arizona, 384 US 436, 491.]

23. There can be no sanction or penalty imposed upon one because

of this exercise of constitutional rights. [Sherer v. Cullen, 481

F 946.]

24. Whereas, the people of California have presented a
constitution....and which, on due examination, is found to be
republican in its form of government.... [Act [of Congress] for
the Admission of California Into the Union, Volume 9, Statutes at

Large, Page 452.]

25. Republican government. One in which the powers of sovereignty
are vested in the people and are exercised by the people, either

directly, or through representatives chosen by the people, to whom
those powers are specially delegated. [In re Duncan, 139 U.S. 449,
11 S.Ct. 573, 35 L.Ed. 219; Minor v. Happersett, 88 U.S. (21 Wall.)

162, 22 L.Ed» 627." Black's Law Dictionary, Fifth Edition, Pp. 626.]

26. The State of California is an inseparable part of the United

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WRIT OF ERROR - FLORES ~- BEEBE

 

 
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States of America, and the United States Constitution is the

supreme law of the land. [California Constitution, Article 3, Sec.

1.j

27. This Constitution, and the Laws of the United States which
shall be made in Pursuance thereof; and all Treaties made, or which
shall be made, under the Authority of the United States, shall be
the supreme Law of the Land; and the Judges in every State shall be
bound thereby; any Thing in the Constitution or Laws of any State
to the Contrary notwithstanding. [Constitution for the United

States of America, Article VI, Clause 2.]

28. COURT. The person and suit of the sovereign; the place where
the sovereign sojourns with his regal retinue, wherever that may

be. [Black's Law Dictionary, 5th Edition, page 318.]

29. COURT. An agency of the sovereign created by it directly or
indirectly under its authority, consisting of one or more officers,
established and maintained for the purpose of hearing and
determining issues of law and fact regarding legal rights and
alleged violations thereof, and of applying the sanctions of the
law, authorized to exercise its powers in the course of law at
times and places previously determined by lawful authority.

[Isbill v. Stovall, Tex.Civ.App., 92 S.W.2d 1067, 1070; Black's Law

Dictionary, 4th Edition, page 425]

-7-
WRIT OF ERROR — FLORES - BEEBE

 

 
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30. COURT OF RECORD. To be a court of record a court must have

four characteristics, and may have a fifth. They are:

A judicial tribunal having attributes and exercising
functions independently of the person of the
magistrate designated generally to hold it [Jones v.
Jones, 188 Mo.App. 220, 175 S.W. 227, 229; Ex parte
Gladhill, 8 Metc. Mass., 171, per Shaw, C.J. - See,
also, Ledwith v. Rosalsky, 244 N.Y. 406, 155 N.E. 688,

689] [Black's Law Dictionary, 4th Ed., 425, 426]

Proceeding according to the course of common law
[Jones v. Jones, 188 Mo.App. 220, 175 S.W. 227, 229;
Ex parte Gladhill, 8 Metc. Mass., 171, per Shaw, C.J.
See, also, Ledwith v. Rosalsky, 244 N.Y. 406, 155 N.E.

688, 689] [Black's Law Dictionary, 4th Ed., 425, 426]

Its acts and judicial proceedings are enrolled, or
recorded, for a perpetual memory and testimony. [3
Bl. Comm. 24; 3 Steph. Comm. 383; The Thomas Fletcher,
C.C.Ga., 24 F. 481; Ex parte Thistleton, 52 Cal 225;
Erwin v. U.S., D.C.Ga., 37 F. 488, 2 L.R.A. 229;
Heininger v. Davis, 96 Ohio St. 205, 117 N.E. 229,

231]

Has power to fine or imprison for contempt. [3 Bl.

Comm. 24; 3 Steph. Comm. 383; The Thomas Fletcher,

-8-

WRIT OF ERROR - FLORES — BEEBE

 
The Superior Court of Record

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C.C.Ga., 24 F. 481; Ex parte Thistleton, 52 Cal 225;
Erwin v. U.S., D.C.Ga., 37 F. 488, 2 L.R.A. 229;
Heininger v. Davis, 96 Ohio St. 205, 117 N.E. 229,

231.] [Black's Law Dictionary, 4th Ed., 425, 426]

E. Generally possesses a seal. [3 Bl. Comm. 24; 3
Steph. Comm. 383; The Thomas Fletcher, C.C.Ga., 24 F..
481; Ex parte Thistleton, 52 Cal 225; Erwin v. U.S.,
D.C.Ga., 37 F. 488, 2 L.R.A. 229; Heininger v. Davis,
96 Ohio St. 205, 117 N.E. 229, 231.] [Black's Law

Dictionary, 4th Ed., 425, 426]

31. The following persons are magistrates: ...The judges of the
superior courts.... [California Penal Code, Sec. 808.]
32. -..our justices, sheriffs, mayors, and other ministers, which

under us have the laws of our land to guide, shall allow the said
charters pleaded before them in judgement in all their points, that
is to wit, the Great Charter as the common law.... [Confixrmatio
Cartarum, November 5, 1297" "Sources of Our Liberties" Edited by

Richard L. Perry, American Bar Foundation. ]

33. Henceforth the writ which is called Praecipe shall not be
served on any one for any holding so as to cause a free man to lose

his court. Magna Carta, Article 34.

-9-
WRIT OF ERROR — FLORES — BEEBE

 

 

 
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34. CCP 1209. (a) The following acts or omissions in respect to a
court of justice, or proceedings therein, are contempts of the

authority of the court:

3. Misbehavior in office, or other willful neglect or
violation of duty by an attorney, counsel, clerk, sheriff, coroner,
or other person [e.g. a judge or magistrate], appointed or elected
to perform a judicial or ministerial service; |

4. Abuse of the process or proceedings of the court, or
falsely pretending to act under authority of an order or process of
the court;

5. Disobedience of any lawful judgment, order, or process

of the court;

8. Any other unlawful interference with the process or

proceedings of a court;

11. Disobedience by an inferior tribunal, magistrate, or
officer, of the lawful judgment, order, or process of a superior
court, or proceeding in an action or special proceeding contrary to
law, after such action or special proceeding is removed from the

jurisdiction of such inferior tribunal, magistrate, or officer.

35. CCP 1211. (a) When a contempt is committed in the immediate
view and presence of the court, or of the judge at chambers, it may
be punished summarily; for which an order must be made, reciting

the facts as occurring in such immediate view and presence,

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WRIT OF ERROR -— FLORES — BEEBE

 

 
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adjudging that the person proceeded against is thereby guilty of a
contempt, and that he be punished as therein prescribed.

When the contempt is not committed in the immediate view and
presence of the court, or of the judge at chambers, an affidavit
shall be presented to the court or judge of the facts constituting
the contempt, or a statement of the facts by the referees or

arbitrators, or other judicial officers.

Il.
Findings of Fact, Discussion, and

Conclusions of Law

36. The record shows, in the first instance, that at the above-
entitled court of record, located at 312-C East Cook Street, Santa
Maria, California, the Honorable Rogelio R. Flores presided over a
hearing on October 20, 2010, in Department 3, for the purported

purpose of arraignment on complaint.

37. Counterplaintiff Jeffery Jackson Lind was present to challenge
jurisdiction of the court. Deputy District Attorney Brian David
Johnson appeared on behalf of counterdefendants and remained silent

to Jeffery Jackson Lind’s challenge.

38. The record shows, in the second instance, that at the above-
entitled court of record, located at 312-C East Cook Street, Santa
Maria, California, the Honorable Jed Beebe further presided over a

continued hearing on October 27, 2010, in Department 7, £or the

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WRIT OF ERROR — FLORES -— BEEBE

 

 

 
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purported purpose for an R&S/Settlement Conference.

39. Counterplaintiff Jeffery Jackson Lind was present to reaffirm
the challenge of the court’s jurisdiction. Deputy District Attorney
Angelina Borrello appeared on behalf of counterdefendants and
refused to consider, in concert with Jed Beebe, to acknowledge and
act accordingly in a lawful manner to Jeffery Jackson Lind’s

challenge of the court’s jurisdiction.

40. The record shows that both magistrates did not conduct the
hearings in accordance with the foundation rules of a court of
record. Instead, in both instances, each magistrate conducted
themselves as a tribunal in his own court on his own authority,
without concurrence of all parties and without any supporting
authorization from the court. He became a loose cannon acting as a
tribunal and imposing his own rules. Without proper authority, the
magistrate stepped out of his function as a magistrate and assumed

a de facto cloak of a tribunal while sitting as a magistrate.

41. The genius of a court of record is not to be undermined. It
is the birthright of every American to settle issues in a court of
record, if he so chooses. That choice has been made in this
matter, and has been so stated in the first paragraph of the
action. Further, Article 6, Section 1 of the Constitution for the
State of California mandates that all courts of California are

courts of record.

-12-
WRIT OF ERROR — FLORES - BEEBE

 

 

 
The Superior Court of Record

Case ?:10-0v-08173-AHM-JCG-ocument 1 Filed 11/29/10 Page py! 120 Page ID #:54
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1 || 42. The magistrate is a person appointed or elected to perform
2 || ministerial service in a court of record’ because all judicial
3 || functions in a court of record are reserved to the tribunal, which

4 |} must be independent of the magistrate.

6 |} 42. Both magistrates of this court usurped the independent powers
7 |) of the tribunal of this court of record by making, under color of
8 jj law, discretionary judgments which are reserved to and should have
9 |} been made by the tribunal independently of the person of the

10 || magistrate designated generally to hold it.°

11
12 || 44. On October 20, 2010, Jeffery Jackson Lind filed a counterclaim
13 ||] consisting of an action for trespass for damages. The opening

14 |} sentence decreed, "I, Jeffery Jackson Lind, (“Jackson”) Sui Juris,

15 |] one of the People (de jure) of California, in this court of

16 |) record,..." There has been no objection to counterplaintiff as one
17 || of the people of California. Nor is there any objection to the

18 || court being a court of record. Nowhere in the record is there any
19 || objection from magistrate or counterdefendants regarding this court
20 || being a court of record. Further, all parties were properly

21 || apprised of counterplaintiff’s status and the nature of the court

22 || in the counterclaim.

 

23

24 |! 4 Official’s duty is "ministerial" when it is absolute, certain and imperative, involving merely execution of a specific duty
arising from fixed

25 and designated facts. [Long v. Seabrook, 260 S.C. 562, 197 S.E.2d 659, 662; Black's Law Dictionary, Fifth Edition, p
899

26 |} * One characteristic of a court of record: A judicial tribunal having attributes and exercising functions independently of

the person of the magistrate designated generally to hold it [Jones v. Jones, 188 Mo.App. 220, 175 S.W. 227, 229; Ex

27 |} parte Gladhill, 8 Metc. Mass., 171, per Shaw, C.J. See, also, Ledwith v. Rosalsky, 244 N.Y. 406, 155 N.E. 688,
689][Black's Law Dictionary, 4th Ed., 425, 426]

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WRIT OF ERROR — FLORES — BEEBE

 

 

 
Court of Record

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45. It is the design of our systems of jurisprudence that courts
have no jurisdiction until a party comes forth and declares a cause
needing resolution. The particular jurisdiction depends upon how
the cause is declared by the plaintiff. Jurisdiction may be
administrative, at law, in equity, or in any of many other formats.
In this case the jurisdiction is at law in a court of record under

the sovereign authority of one of the people.

46. It is essential to understand what are a sovereign, a

magistrate, a court, and a court of record.
47. A court is "The person and suit of the sovereign."®

48. Who is the sovereign? It is the people either in plural’ or
in singular capacity.® In singular capacity, in this case, it is
Jeffery Jackson Lind, one of the people as contemplated in the
preambles of the 1849 Constitution for California, the 1879
Constitution for the State of California, and the 1789 Constitution

for the United States of America.

49. California, the State of California, and the United States of
America have no general sovereignty. Theirs is a clipped

sovereignty. Whatever sovereignty they have is limited to their

 

6 Black's Law Dictionary, 4th Ed., 425, 426

7 PEOPLE, n. [L. populus.] The body of persons who compose a community, town, city or nation. We say, the people of
a town; the people of London or Paris; the English people. In this sense, the word is not used in the plural, but it
comprehends all classes of inhabitants, considered as a collective body,... Webster's 1828 Dictionary

® PEOPLE. ..considered as. ...any portion of the inhabitants of a city or country. Ibid.

-14-
WRIT OF ERROR -— FLORES — BEEBE

 

 
The Superior Court of Record

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respective constitutionally defined spheres of control. The
general sovereignty is reserved to the people without
diminishment.® Lest that be forgotten, the California Government
Code twice admonishes the public servants that, "The people of this
state do not yield their sovereignty to the agencies which serve
them."*° Further, when the State of California did attempt to
diminish one's rights, it was determined that the state cannot

diminish rights of the people.”

50. It is by the prerogative of the sovereign’” whether and how a
court is authorized to proceed. In this case, the chosen form of

the court is that of a court of record.

51. A qualifying feature of a court of record is that the tribunal

is independent of the magistrate appointed to conduct the

proceedings .**

 

9" at the Revolution, the sovereignty devolved on the people; and they are truly the sovereigns of the country, but they
are sovereigns without subjects...with none to govern but themselves" CHISHOLM v. GEORGIA (US) 2 Dall 419, 454,
1 L Ed 440, 455 @DALL 1793 pp471-472

“The people of this State, as the successors of its former sovereign, are entitled to all the rights which formerly belonged
to the King by his prerogative. Through the medium of their Legislature they may exercise all the powers which previous
to the Revolution could have been exercised either by the King alone, or by him in conjunction with his Parliament;..."
Lansing v. Smith, 4 Wendell 9 (N.Y.) (1829), 21 American Decision 89; 10C Const. Law Sec. 298; 18 C Em.Dom. Sec.
3, 228; 37 C Nav. Wat. Sec. 219; Nuls Sec..1°67; 48 C Wharves Sec. 3, 7.

© California Government Code, Sections 11120 and 54950
‘| Hertado v. California, 100 US 516

12 w at the Revolution, the sovereignty devolved on the people; and they are truly the sovereigns of the country, but they
are sovereigns without subjects...with none to govern but themselves..... [CHISHOLM v. GEORGIA (US)

2 Dall 419, 454, 1 L Ed 440, 455 @DALL (1793) pp471-472.] The people of this State, as the successors of its former
sovereign, are entitled to all the rights which formerly belonged to the King by his prerogative. [Lansing v. Smith, 4
Wend. 9 (N.Y.) (1829), 21 Am.Dec. 89 10C Const. Law Sec. 298; 18 C Em.Dom. Sec. 3, 228; 37 C Nav. Wat. Sec. 219;
Nuls Sec. 167; 48 C Wharves Sec. 3, 7.]

Court of Record: A judicial tribunal having attributes and exercising functions independently of the person of the
magistrate designated generally to hold it [Jones v. Jones, 188 Mo.App. 220, 175 S.W. 227, 229; Ex parte Gladhill, 8

-15-
WRIT OF ERROR - FLORES — BEEBE

 
The Superior Court of Record

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LK ; to

52. The magistrate is a person appointed or elected to perform
ministerial service in a court of record™’. His service is
ministerial because all judicial functions in a court of record are
reserved to the tribunal and, by definition of a court of record,
that tribunal must be independent of the magistrate. The non-
judicial functions are "ministerial" because they are absolute,
certain and imperative, involving merely execution of specific

duties arising from fixed and designated facts.

53. California Code of Civil Procedure, Section 1209 provides that
acts in respect to a court's proceedings are contempts of the
authority of the court if a person who is appointed or elected to
perform a ministerial service misbehaves, neglects, or violates a
duty; or if a person falsely pretends to act under authority of an
order or process of the court; or if a person disobeys any lawful
judgment, order or process of the court, engages in any other
unlawful interference with the process or proceedings of a court;
or if an inferior magistrate interferes with the lawful ‘jjudgment,
order, or process of a superior court, or proceeding in an action
or special proceeding contrary to law, after such action or special
proceeding is removed from the jurisdiction of such inferior

magistrate.

 

Metc. Mass., 171, per Shaw, C.J. See, also, Ledwith v. Rosalsky, 244 N.Y. 406, 155 N.E. 688, 689][Black's Law
Dictionary, 4th Ed., 425, 426]
“ Long v. Seabrook, 260 S.C. 562, 197 S.E.2d 659, 662; Black's Law Dictionary, Fifth Edition, p 899

-16-
WRIT OF ERROR - FLORES — BEEBE

 

 
The Superior Court of Record

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54. The magistrate holds only ministerial authority. He holds no
tribunal authority and cannot in any way substitute himself as the
total equivalent of the court to thus exempt himself from
jurisdiction. CCP 1209 provides that contempt may be applied to
"Misbehavior in office, or other willful neglect or violation of
duty by an attorney, counsel, clerk, sheriff, coroner, or other
person, appointed or elected to perform a judicial or ministerial
service;" The magistrate, is an "other person, appointed or elected
to perform a ... ministerial service" as described in CCP Section

1209.%°

55. Depriving anyone of the right to have his day in court is very
serious. The magistrate has a duty to the plaintiff to minister
the opportunity to argue the petition put forth to the court. "He
who decides a case with the other side unheard, though he decide
justly, is himself unjust, "6 To summarily ignore an objection that
has been presented to the court constitutes a direct challenge to
the court's authority, especially when the magistrate's judicial
jurisdiction is estopped and he tacitly declines a fair opportunity

to show cause why he should not be subject to estoppel.

56. Throughout the transcript, there shows that the rules of the

court of record were not followed, that the magistrate attempted to

 

'S CCP Section 1209 excerpt: 3. Misbehavior in office, or other willful neglect or violation of duty by an attorney,
counsel, clerk, sheriff, coroner, or other person, appointed or elected to perform a judicial or ministerial service;

11. Disobedience by an inferior tribunal, magistrate, or officer, of the lawful judgment, order, or process of a superior
court, or proceeding in an action or special proceeding contrary to law, after such action or special proceeding is
removed from the jurisdiction of such inferior tribunal, magistrate, or officer.

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WRIT OF ERROR —- FLORES - BEEBE

 

 
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function as a tribunal, and that the court was ineffective in
furthering the goal of justice for all. These failures to follow
the prescribed procedures are sufficiently disruptive to the goal
of providing fair justice that the court finds it necessary to

issue a writ of error quae coram nobis residant as follows:

Tit

Impeachment and Writ

57. THE COURT, HAVING REVIEWED THE FACTS, THE RECORD, AND THE
PROCESS BY WHICH THE RULING WAS ISSUED, and finding that the
magistrate rendered and wrote rulings without leave of court; and
finding that the orderly decorum of the court was replaced by
defective impromptu process and usurpation of legislative and court

powers without leave of court,

58. And, finding that the clerk of the court improperly accepted

for filing two separate orders from the magistrates without leave

of court,

59. And desiring that fair justice be served for all parties,

counterdefendants as well as counterplaintiff,

60. NOW THEREFORE, THE COURT issues this WRIT OF ERROR QUAE CORAM

NOBIS RESIDANT, to wit:

61. The court impeaches and rescinds the orders entitled:

-18-
WRIT OF ERROR — FLORES — BEEBE

 

 

 
The Superior Court of Record

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Soo SS

CRIMINAL MINUTE ORDER — ARRAIGNMENT ON CONTRACT and filed October
20, 20107’ by ROGELIO FLORES; AND, the order entitled: CRIMINAL
MINUTE ORDER -— SETTLEMENT CONFERENCE and filed October 20, 2010 by
JED BEEBE, and copies of the first page of which are attached to

this writ.

62. Further, the magistrate, counterplaintiff£, and counter-
defendants are each invited to file and serve on all other
interested parties and magistrate a brief no later than twenty

(20) days from the date of the below SEAL of the COURT to show cause
to this court why this order should not take effect or should be
modified. Unless requested, there will be no oral argument. The
court, mindful of the rights of the parties and the importance of

fair play, will liberally construe the written arguments presented.

THE COURT

WITNESS: the SEAL of the COURT this 18° of November, 2010.

 

 

 

\7 Not to be confused with the pre osed order filed in the court of record for the Magistrate to sign, an ORDER
DISMISSING Case no. 1350711 for lack of jurisdiction and for lawful cause, such cause, acts of treason,

-19-
WRIT OF ERROR — FLORES —- BEEBE

 
  
    
 
 
  
  
  
  
 
  
 
  
  

 

People. of oon st gayrona vs. Te RR
(J Deft Tr 0-cv-00173-AHM- “ICe- Document: 1. * Fit

Lind, det Rift Jackson

 

HEARINGAcradicame ment ot cS :
JUDGE: Honorable RB . Rope oo Flores —
DISTRICT ATTY: fate -
DEFENSE ATTY:

iriterpréter__ __Swom: language _

 

CHARGES: 1

tibet p present C] Deft not Present tom In’ Custod
ae With Atty an With PD [] By Atty C1 By PD. C1 Needs Atty 29
{C1 PD appointed (J PD declares conflict [J PD relieved [1] CDA appointed ~
[-977:PC waiver filed: EJ. Defense/PD: declares: lost: contact =: va
[1170.6 CCP Judge: by Defense C1 People a
(1 Case assigned for all purposes to oe _ s
sArraignment/Pleas:
Filed: [Amended Complaint [_] Amended
{J Deft advised of rights (see reverse) [4:
advisement of tights ‘((] Defense hanc
[] On DA/Court’s Motion, Ge mptalntiinformation 2 ‘amended: :
[J Te add count’____- viol:of a :

[I To reduce/replace' 60 nt(s) _
[J Ct(s) _ :

(-] Deft is duly airdigned. ari : Liilty:
EQ:No Contest to'Ci(s)_- “CI Guilty to: Cts)
[] Denies Prior. “E. ‘Admits: Prior 9 Prior,
] Refusal £1] Stricken [1] Admitted
py Special. Allegation(s) (J Denied C1] Stricken oO Admitted.

‘ fe ‘E] Dismissed on Motion of DAs ni

 

 

 

   
    
 
  
 
 
 
 
  
 
  
  
 
 
 

[Execute Sentence.
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_[1.Motion by. _for mie fie
“(J Deft waives time SH Aridigniniont tT ‘Prelim a Trial GI Sentencing.
(]-Time waived for ____ days [] Time'waived.to_.. "= ie

pal Def/Péa ple waive Jury Trial [] Under submission.
: [7] Defense handed copy of Violation of Probation’

 

 

    

Hovis est

Report. tl Deft advised of alleged: Violation of Probation anda’ VP: Tights. EF
[ Deft admits viol & waives: all VP rights [[]: Deft denies alléged Viol of Prob oleh
CJ Deft-found in Violation of Probation [] Deft riot found in'Viol of Probation 9 = CT

Eee . ; ere
.C] Diversion granted on Ci(s) for “o:< months/yéars; order”) E:T:
incorp. herein *E-] Terminated and crimina! proceedings reinstated

Cl Successfully completed [1] Denied [7] Reinstated Ov lation admitted
(CJ Report/Refer to Probation within hrsidays for:

C7 Pre-Plea Report [] SATC Report. [1] OR/BR Report [) 1203c Report
{] Pre-Séntence Rpt [] AngéF Mgint ] Restitution (1 SARA assessment
(J Orat/Written Supptementat (1: Work Service [] Prop 36 assessment 4
(LL Divérsion:Report (PC 1000) (J F i obation Officer i in'court
Greener (CT Remarideéd to the custody'of-the’ Sheriff

LI Bail'setat $: “Cite-Release continued
Deftordered [Treleased [J fo return’ FJ ‘discharged on this case only
(J Releaséd'on'OR- [1-OR continued EJ. ;
(1 No further proceedings* “EE Dett-allawed: . completed phone calls
(| Deft to be dressed out [1] with property for release [7] Jury Trial

[_] Deft'to.be seen by Med. Tecti/County.Mental Health

(C1 Cash Bail-E].Bait Bond [] Centinued.:[4: Forfeited: E] Exonérated
(J Reinstated and Exonerated [J Apply'‘to Fine: [1] Reassumed

EE] Upon payment of $ fee: by
corer Ordered per a oy 978.5 PC [_]. 40508a VC

EJ 1203.2 PC..$ | ) Bai [.] Held. until ..

{] May be forfeited om] May: be served. at nig ‘Quashed [1] Reéleased
fd RECALLED (1) Warrant remains out {C] Affidavit/Declaration requested

B (_] Criminal proceedings. moe (1 Criminalproceedings a -
reinstated [1 Fine/Jail Stayed pending appeal (| Statement of appeal settled — (I Vacate dale of ; A eft must: be sersonally present
and cértified. [[] Deft Sentenced to State. . Tyee E17 Trial Ee] Prelim [J Hearing. Length P ve
(] Referred 1203.03 PCL] 4017.6 Commenced [Concluded [J In Progress Lh ntinued [_] Off calendar
[] Order to Produce Deft I] 730 EC (] Rescheduled by C] Court {] Party.] Last Date for Trial _-

 

   

 

   

 

 

 

 

 

 

 

  
  

  
 

 

 

 

(J 1368 PC Declared [1 Dr(s)*: - . appointed * See LI reverse side, O page tot minute order
Comm: Let LES EBS. 2. Lae afore &.. LPR ened Se peeF gt fee Fs £2

 

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Luc tt Le ge Se aed bal. Benge oe : 2? Z
$C-3400 fRev. Feb. 1, 2010] fo " By. _— FEZ 2. |. Deputy Clerk

 
 

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HEARINGE £3 Sebel:
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DISTRICT ATTY: 2ni-ma-?
DEFENSE ATTY:

  
   

 

interpreter,

paances:

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LJ With Atty” iwi PD [] By Atty [].By PD. [1] Needs Atty

CIPD appointed (J PD declares conftict ] PD relieved [1 CDA appointed. oh °
: vu: Santa Barbara Gounty dail; suspe ‘suspended for...

 

(] 977:PC waiver filed..[] Defense/PD. declares: lost.contact -:
[] 170.6 CCP Judge 2

[] Case assigned for alt purposes to
sArraignment/Pleas:

 
   

 

 

[7] Deft advised of rights (see reverse) [[] Defi/Atty waives formal réading
advisemerit of rights [-] Defense handed copy of [7] Comp [J info...
CT On DA/Court’s Motion, Complaintinformation amended:

 

 

(] To.add count___ viol-of. 2. cand. EJ-count.:._.. viol.of
[1] To reduce/replace lace count(s). ~ __ to
[C}Ct{s) raduced to Misdemeanor ‘per 17b PC

(1 Deft-is duly arraigned: ‘and: ‘pleads: : 3] Not.Guilty fo: Cts).

C] No Contest -to:Ct(s): ‘Cl Gitity to Ct(s):

[] Denies Prior oi Admits Prior -O Prior

CJ Refusal: [1 Stricken Stricken LI Admitted

a Special Allegation(s) L-]} Denied (] Stricken (J Admitted |
Gt(s)_

(1385.PC) [1 Dism on Motion of DA/Crt on other grounds _-

(1 With-Harve waiver 1 Faretta: aiver filed [_] Arbuckle waiver givenitioa
‘Motion by{ i de. ' ai Gf Nias. Granted E4D

(C] Deft waives time for oi Arraignment (J Prelim [J Triat-£ Sentencing

C] Time waived for days .[[} Time waived to _

Cl Deft/People waive Jury Trial C1] Under submission

Pate] i fee {] Defense handed copy of Violation of Probation —

Report [_] Deft advised of alleged Violation:of Probation and alt VP rights

(1 Deft admits viol & waives all VP’rights [] Deft denies alleged Viol of Prob

(J Deft found in Violation of Probation [ Deft not found i in Viol of Probation

Diversion:

‘LJ Diversion granted on Ct(s) for

incorp. herein [7] Terminated and criminal proceedings reinstated

| Successfully completed [] Denied.(] Reinstated [1] Violation admitted .

("| Report/Refer to Probation within hrs/days for:

LI Pre-Plea Report [--SATC Report [] OR/BR Report] 1203c Report

(J Pre-Senitence Rpt (] Anger Mgmit 1] Restitition [1] SARA assessment

(2 Oral/Written Supplemental [7] Work Service (1 Prop 36 assessment,

L] Divérsion Report. (Pct

 

 

 

    

  
  

  
   

(] Bail'set at $_— FJ Cite: Release continued .
Deft grdered (El released Cf 6 retum’-[}discharged on this case only
(1 Released'on'‘OR (‘OR céntinued [-OR revoked

(1 No ftirther proceedings’ [1] Deft allowed: ---" gompleted phone calls
(C1 Deftto be dressed out (1 with property for release (| Jury Trial

_E| Deft to be sean by Med. Tech/Gounty:Méntal Health

(] Cash Bail: [] Bail Bond: [] Continued: F1-Forfeited. EJ. FL. Exonerated
[J Reinstated and Exonerated-[2] Apply to Fine: [] Reassumed
{j Upon payment of $ fee by

 

 

Ordered. per 4 978.5 PC. L] 40508a VC
(J 1203.2 PC. $.. “ET No Bail-E.Held until -

[1] May be forfeited Fi May: ‘be served at. night. EJ Quashed [] Released

zz} RECALLED (2 Warrant remains out’ (J Affidavit/Declaration requested

f 1 Criminal proceedings suspended _{[]:Criminal proceedings
reinstated [j Fine/Jail Stayed pending. appeal] Statement of appeal settled
and certified [] Deft Sentenced to ‘State Prison, Packet to follow

CI Referred 1203.03 PCL] 4011. PC report Ch 136.2 PC Protective Order
{] Order to’ Produce Deft [] 730 EC ao Faxed to_

(1 1368 PC Declared CI ors) =

Comm:

appointed

 

 

$C-3400 [Rev. Feb. 1, 2010]

war Deft present at Deft not Present To In Custody

 

by EJ Defense | o People .

 

 

 
  

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(_] Dismissed on Motion.of DA/Court-in Interest of: Justice’ Be Oy dail: ‘previously: stayed,

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L] As to: allt. Counts, Fine ordered of $
EAs to’Ci(s)

Probation Officer if court

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See [1] reverse side L] page

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EL Unsupervised Tl Supervised: PES
mos/yrs, imposition of sentence alispended
<_nios/yrs, Deft sentenced to" -days/mos
.: daysimasiyrs:

(0 See Probation Order incorporated herein for ail Terms and.Gonditions
(-] Probation R voked O fy aero Sentence

    

  
 

(21 Probation Granted't

    
 
  
 
  
 

Filed: [LJ Amended Complaint. {-] Amended Information [] Information —_ A

 
 
  
   

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sfmanently stayed ® ct Other - e

   

   
  
 

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:: []} Booking fees'waived =.
nun See Probation Order
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ranted ati Denied ([]i1D required
Deft to attend [7] 1* Offend-3 mo [] 1* Offend-9 mo [7] 12hr prog [] Multi-Off
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oH £1] See Probation Order

 
  
 

 

 
   
   

 

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a Pay FDICDA/Atty costs of $: :

  
  
 
 
 
  
 

 

 
 
  

    

 

  
    

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C1] Estimated [7] Trial (7 Prelim ol Hearing Length,
Lecco (1 Concluded Cin [1 Continued [J gal ndar ..
Rescheduled by [_] Court Peat -Last Date-for Triat | ,_.

supple mental minute order

 
 

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(CLARK _ Deputy Clerk
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Exhibit “C”
    
 
  
   

: People: so GASB: Haft ¥-093

: [J Déft True Name:

‘Lind, dekh: Oy

 

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- HEARINGRAS/SethLeme
_JUDGE:’ Henerable d
DISTRICT ATTY: B22 ie
DEFENSE ATTY: fin Pro Pac

Interpreter___- _— sworn: language __

 
 
   
  
 
  
 
 
  
  
 

AGENCY:

CHARGES:

 

EL With Atty. Cl With PD. £1 By Atty 1 By PD. Ol Needs Atty
- [4 PD appointed [] PD deciares conflict [] PD relieved [] CDA appointed
‘1-977:PC waiver filed:.E]-Defense/PD: declares: lost:contact -. be x
LJ 70.6 CCP Judge 2 -by O Defense oO People
[2] Case. assigned for all purposes tO.
meters daners
Filed: [] Amended Compiaint: Eq Amended Information [1] Information.
CD Deft. advised of rights (see. reverse) [7] Deft/Atty waives formal readir
. advisement of.rights. [1] Defense handed.copy of [1] Comp [] Info:
= On DA/Court’s: Motion, Compl intinformation amended

 

   
  
 

sex of () Jail se Fine
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' [1 No Contest fo'Ct(s
O Denies Prior -

 
 

. cp Deft: to: report to jail 2 SON
SB Ol sv. | Lom im] May be served in any penal institution. .

 

 

 
   
  
 
 
  
  
 
   

¥ Allegation(s) EJ Denied tal Stricken Oa Admitted
Cl Gt(s) C): Dismissed on Motion of DA/Coiitt'in Intérest of: Justic
. (1385 PC) >) EY Dis Dism on Motion ‘of Diver ol on other grounds
ith. He Arbuckle waiver givenii ied
i1< C) Granted [= sett Dénied.
Trial E] Sentencing
days: -E1-Time Waived to
le waive dury Trial. [] Under: ‘submission
‘{)Defense handed copy of Violation of Probation
“Rep Bi lleged Violation:of Probation arid-all:VP rights" > *
» Ede wa ‘all-VP rights. 1] Deft denies alleged Viol of Prob
: . C1 Deft: found in Violation ‘of Probation ([] Deft not found i in Viol of: ‘Probation
Rae Diversion: §

 

 
 
   
 
 
 
 
  

 

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[£] License- Revoked...

        

   
  
  
 
  

* EPDive n granted on Ct(s) for - Sspionths/yée [ey janted an Denié ET TID: required...
“: incorp: herein (2] Terminated.and criminal proceedings reinstated’. : Deft to attend F] 1% Offend: 3mo O 4" Offend-9 mo [7] 12hr prog: Oo Multi-OfF
“ Fi Successfully. completed. [1:Denied. {1 Reinstated ([] Violation: admitted. . ob MADD. A Complete. by: O Re-referred, enroll: by

: i a See Probation Order

 
   
  
 
  
  

“ a _[] Report/Refer to Probation within. hrs/days for:

SE Pre-Plea: Report: [/SATC Report C].GR/BR Report] 1203c Report _

Pre “E} Anger Mgmt’ CT Restitution (] SARA assessment *

Efor Ivritten S plemental.1 Work S ice (J Prop 36 assessment. .
‘ED Diversion Report: robation Office icer in ‘court

CiRemanded tot custody’ of the Sheriff

: ‘Cite Release continued: —

 

     

 
  

’ [Modify fine terms to. $ #2: +

: , | . . ° Ey Pay’ CCA oO FTP: EV FTA offs “py .
[9 No further proceedings: [1] Delt allowed: veomipleted phone calls: “OG Ct cay $ _ per month; starting ‘] See Financial Officer
. |] Deft'to be dressed out [1] with property for relea: release (1) Jury Trial : 4 aH Pe
._ E) Deft to be seen by Med. Tech/Gounty: Mental Health. :

« (2 Cash Baik: E]:Bail Bond: {2} Continue Forfeited: Ey: Exonérated
: _E] Réinstated and Exonerated: o Apply:to Fine*E] Reassumed

©. EL Upor payment of $ : fee by By
ieee ‘Ordered per Cy (1 978.5: BC t14 40508 ve.

[:1'1203.2 PC -$.- .
ET May be. forfeited Hi May: ‘be serve i Qui

EA. RECALLED (2) Warrant remairis out EJ Affidavit/Declaration ‘requested
7 $C] Criminal. proceedings suspended. hl Criminal proceedings

 

 

 

 

 

 

    

 
  
    

 

    
 
  
 

 

_. LE] Deft: Tmust be personally present
ED Hearing Length.

in Progréss [“] Continued [] O1 sel ndar ..
Past Date-for Trial |
pp mental minute order :

 
 
 
 

6 Wacale date of _
’ (7 Estimated [J Triat (1) Pri
© [1 Gommenced CJ Concluded FJ
eerraae by C1 Court |
EI): réverse side. Cl page

 
 

o ‘OD {
o Referred 1203:03 Poly 4011:
‘C1 Order to Produce Deft D. 73

  
    

     

 

 
 

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"Deputy Clerk

 

" $C-3400 [Rev. Feb. 1, 2010]
Case 2:10-cv-09173-AHM- JSS Document 1 Filed 11/29/10 Pager65 of 120 Page ID #:65

Exhibit “D”
Case 2:10-cv-09173-AHM- IGEN Document

   

Ol 11/29/10 - Page 66, 120 Page ID #:66

OFFICE OF THE - L. BRAMSEN
. oo Cnet Assistant District Attomey.

DISTRICT ATTORN EY J.GORDONAUCHINCLOSS __HILARY.M: DOZER
y ‘OU IT ry ANT. ARBA R A ’ Chief Deputy DistrictAttomey Chief Deputy-District Attorney.

COUNTY OF SANTA BARBARA STEPHEN P: FOLEY RONALD J, ZONEN
wr Chief Deputy District Attorney Chief Deputy District Attorney

JOYC E E. D ; LEY JENNIFER MARTTINEN DAVID M. SAUNDERS
District Attorney Administrative Director Chief Investigator

 

 

Receipt for Initial Misdemeanor Discovery

People v. JEFFREY JACKSON LIND DA Case #: 10-10-256095

D.A. Assigned: Richard Henry Court Date: 10/20/2010

The District Attorney makes every effort to provide or make available all discoverable items. Only you can
verify the completeness of your file. Please do so by arranging with the Deputy District Attorney to meet as
often as necessary for the purpose of inspecting our file to make sure that you have every discoverable item you
want. ,

NOTICE TO DEFENSE COUNSEL AND PERSONS ACTING AS THEIR OWN ATTORNEY: Penal
Code Section 1054.2 provides: “No attorney.may disclose or permit to be disclosed to a defendant the address or
telephone number of a victim or witness.whose name is disclosed to the attorney pursuant to subdivision (a) of
Section 1054. 1 (Discovery) unless specifically permitted to do so by the court after a hearing and a showing of
good cause.”

ACKNOWLEDGEMENT: I hereby acknowledge that I have read all of the above, received the following for
the case described above and understand that other discoverable item(s) are available upon request for
inspection or copying. I also acknowledge that dissemination of these materials is limited by the provisions of
P.C, 1054. et seq. The total amount now due is $5.00, Cash payment for discovery is required at the time it is
received unless other arrangements have been made in advance.

ITEM(S) PRODUCED

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GUAD PD 10-4769 GUAD PD 10-4769.PDF 1 16
DATED:
Attorney or Representative - Signature -Attorney or Representative - Printed Name
FOR OFFICE USE ONLY
Notified: on 10/13/2010
Initials Attorney Name or Representative
. $ or (_] Bill to Account
Signature of Discovery Clerk or DA Representative Date Amount Paid
[_] SANTA BARBARA OFFICE . [7] sANTA MARIA OFFICE ([] Lompoc office
1112 Santa Barbara Street 312-D East Cook Street 115 Civic. Center Plaza
Santa Barbara, CA 93101 . Santa Maria,-CA 93454 ‘ Lompoc, CA 93436
(805) 568-2300 . (805): 346-7540 . (805) 737-7760

Fax (805) 568-2453 Fax (805) 346-7588 Fax (805) 737-7732
Case 2:10-cv-09173-AHM-J Document 1_ Filed 11/29/10 - “Page Oral 120 “Page ID #:67
THE St__#RIOR COURT, STATE OF CALIFORI

For the County of Santa Barbara .

Santa Maria Division
THE PEOPLE OF THE STATE OF CALIFORNIA : DA No. 10-10-256095
Plaintiff, Court No.
| NS. MISDEMEANOR COMPLAINT
JEFFREY JACKSON LIND DOB: 10/06/1982 | Breath: 0.13
Defendant. Breath: 0.14

 

The undersigned is informed and believes that:
COUNT 1

On or about September 18, 2010, in the County of Santa Barbara, the crime of DRIVING UNDER THE
INFLUENCE OF ALCOHOL, in violation of VEHICLE CODE SECTION 23152(a), a Misdemeanor, was
committed by JEFFREY JACKSON LIND, who did willfully and unlawfully drive a motor vehicle while under

the influence of an alcoholic beverage.

“NOTICE: If convicted of this offense the court must suspend your driving privileges if you are under the age of 21 years.
Vehicle Code Section 13202.5,.”

COUNT 2

_ Onor about September 18, 2010, in the County of Santa Barbara, the crime of DRIVING WHILE
HAVING A 0.08% OR HIGHER BLOOD ALCOHOL, in violation of VEHICLE CODE SECTION
23152(b), a Misdemeanor, was committed by JEFFREY JACKSON LIND, who did unlawfully, while having
0.08% and more, by weight, of alcohol in his/her blood, drive a vehicle.

“NOTICE: If convicted of this offense the court must suspend your driving privileges if you are under the age of 21 years.

Vehicle Code Section 13202.5.”
RK Kk ek

Pursuant to Penal Code Section 1054.5(b), the People are hereby informally requesting that defense counsel
provide discovery to the People as required by Penal Code Section 1054.3.

I] DECLARE UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE AND CORRECT AND
THAT THIS COMPLAINT CONSISTS OF 2 COUNT(S).

i

Executed at Santa Maria, California, on October 13, 2010.

Chee E OM

MAG NICOLA
SENIOR DEPUTY DISTRICT ATTORNEY

x

 

' Agency: GUAD

; DRIVER’S COURT
DEFENDANT NAME SEX RACE HGT WGT EYES HAIR LICENSE STS DATE
Jeffrey Jackson Lind M W . 508 180 BLU BRO Di153786 CR — 10/20/2010
dt

sade
Case 2: 10-cv-09173-AHM- IGE yPocument 1 Filed 11/29/10 Page opi 120 Page ID #:68

Exhibit YE
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People RSGaie of Caheirad, /S-AHM- ICG G \Doctiiehi EF

(J Deft True. Name:

Lind, Jeffrey Jackson
HEARINGAcraignment an Com
JUDGE: Honorable Rogelio’
DISTRICT ATTY: cf GF Jolson
DEFENSE ATTY:

 
  

plaint

interpreter. sworn: language _.

CHARGES: i

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taben present [] Deft not Present (On In Custody
ery With’ iy o With PD [] By Atty CIByPD []NeedsAtty ... ~~
(I PD appoirited (1 PD declares conflict [] PD relieved [7] CDA appointed
(]:977.:PG waiver. filed::-E].Defense/PD.declares.lost contact -- :
( 170.6 CGP Judge:

(I Case assigned for all purposes to -
| Ai Veta ehal idler
Filed: [] Amended Complaint [1] Amended 4p formation [] Information
E] Deft advised of rights (see reverse)
advisement of rights [] Defense handéa 6 oy of [1] Comp [1] Info:
J On DA/Court's Motion, Complaint/information. amended: ON

 

    
 

   

 

(1 To add count’. viol-of.s8: and. [} count -: see MlOlof, “
[1] To reduce/replace count(s) to . 2
E] Ct(s) reduced to Misdemeanor er 17 PC

pads: ot .Guilty:to-Ct(s)_:
‘ Guilty to-Ct(s)
Cc Prior

C] Deft is duly arraigned. and
E-:No Contest to Ct(s).
[1 Denies Prior _ Tl Admits Prior
(1 Refusal [] Stricken [7] Admitted
LI Special Allegation(s) (1 Denied Stricken o Admitted
‘LJ Cts): ‘EJ Dismissed on Motion of DA/Couirt in’ Interest f:Justice
(1385: PG). Td ism, on. Motion of DA/Crt on other grounds :
(1 With Harvey waiver CJ Faretta waiver filed [-] Arbuckle waiver givenfiled
(J Motion. by _. : for -
““C] Deft waives {ime 3 for a Arraignment CI Prelim LI Trial CJ] Sentencing
(_] Time waived for days [] Time waived to. Le
[-] Deft/People waive Jury Trial, [[] Under submission /
i B.(] Defense handed copy of Violation of Probation’
Deft advised of alleged Violation'of Probation and:all:VP tights ‘~-
J Deft'admits viol & waives all VP rights [] Deft denies alleged Viol of Prob
(] Deft:found in Violation of Probation O Deft not found in Viol of Probation.
BIN ETI te 5
- LJ Diversion granted on Ct(s) for
- incorp. herein ‘LJ Terminated and criminal proceedings reinstated
Cc] Successfully completed [] Denied {_] Reinstated (1: Violation admitted
(J Report/Refer to Probation within hrs/days for:
[] Pre- Plea Report [] SATC Report [] OR/BR Report [] 1203c Report
(| Pré-Sentence Rpt [1] Anger Mgmt [_] Restitution [] SARA assessment,
J OralMritten Supplemental [1] Work Service (J Prop 36 assessment
(J Diversion-Report (PC1000) or Réferral given to Probation Offi icer in court ©
Custody Status: CT Remanded to thé custody of the’ Sheriff
(1 Bail set at $: Cite Release continued
Deft:ordered (| released L] to return [7 discharged on this case only
(1 Releaséd’dn-OR-[] OR continued FE) OR revoked = °°
(No further proceedings” [] Deft-allowed:::__ completed phone calls
J Deft to be dressed out [_] with property for release (). Jury Trial
LC Deftto be seen by Med. Fech/County Mental Health
[-] Cash Bail -[] Bail Bond [] Continued: :E]-Forfeited:.E] Exonerated
(21 Reinstated and Exonerated 0 ‘Apply:to Fine. [] Reassumed
_{2):Upon payment of $ fee‘ by
Warrant] Ordered per ‘£1 978.5 PC [1 -40508a vc
(J 1203.2 PC...$. Tl No Bail [7] Held until .
[] May be. forfeited. oO May. be served.at night .[.] Quashed’ ["] Released
{_] RECALLED [7] Warrant remains out’ [ Affidavit/Declaration requested

 

 

 

  
 

_ REUSE! (1 Criminal proceedings suspended. [].Criminal proceedings ©.
: i Vacate date’ of

~ reinstated [| Fine/Jail stayed pending appeal (7 Statement of appeal settled
afd certified. [] Deft Sentenced to State Prison, Packet to follow

(] Referred 1203.03 PCI] 4014: 6 PC réport [] 136.2 PC Protective Order
(J Order to Produce Deft'[] 730 EC EF] Faxed to
(J 1368 PC Declared . O Dr(s) *- a

Comm: » Lak? wate»

_ appointed

Lr ts Loe

oat Seas Aff ba.
OU f- Llib" @ a

SG-3400 [Rev. Feb. 1, 2010) ra

  
 

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by £4 Defense oO People 4
OQ Probation. Revoked O To Retain Juris. 0] To. Pe ton at CT. Sentence

{1 Granted [} Denied

 

A Ebi for:Restrict rT Granted ato Denied FT rguired
- Deft to.attend (] 1* Offend-3 mo C1. 4° Offend-9 mo. [1:12hr prog [] Multi-Off

: LI MADD: J Complete by. ;

months/years; order ©

““E'] Victim: Rest. Fund fine C Diversion Rest. |
» €] May be paid by Comin ‘Service: a

= [} Pay CCA Oo FTP E] FTA of $
- L]Pay$_
“‘(] Pay $ .
- DL Pay POICDNAtY costs of 1S

aloe

Zi DurLonsts _>

a.

By. See

 
  

   

tJ Probation Granted for “FOS: yrs, Deft ft entanced to -__*days/mos

Santa ‘Barbara Gounty-Jailsuspended.fo 3 IC
[-] See Probation Order incorporated Herein’ for ail Terms and:Conditions

 

   
 
 
 
  
 
  
 
  
 
 
 
 
  
 
  
 
  
 

 

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Jail. o Credit for time. seved Cider ‘arertiad credit

al days time: served: plus ne ~-goodiwork
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‘days:

 

5 booking and release’ within...
(1 Booking feés:waived ..

a Oo See Probation Order
days/mos/yrs -

 
 
   

(1) Re-referred, enroll, by.

 

: LJ See Probation Order

> LI As to all Counts, Fine ordered of $ __ by

* EFAS to-Ci(sy~ _ Fine ordered of $ : —_ by’

_ + [J As to Ci(s) _ Fine ordered of § by

  
 
 
  
 
   
 
 

C$
CL] Modify fine terms.to $

 

 

_ per month: ‘starting -

  
   

 

 

 

 

 

timated [J Trial] Prelim EJ aE Pais Dive Length —
Commenced [Concluded C] In Progress (-] Continued CT Off calendar

- (1) Rescheduled by (1 Court [.] Party [] Last Date for Trial
See 1 reverse side, C1 page’

 
   

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ole Mig Bt Pa en Ae pote L732
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biel

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“Deputy Clerk
Case 2:10-cv-09173-AHM-JGG yDocument 1 Filed 11/29/10 Page (Opt 120 Page ID #:70
t.

Exhibit “F”
(1 Deft True Name:
Lind, Jeffrey Jackson

JUDGE! Honorable ged Beebe
DISTRICTATTY: Angelina Rose Borrallo

HEARING? cial Confirmation /LDET 12-03-10 a

Peopie oGlxste@ st OationBG4 7 3-AHM-IQG \Doctient tee

Ragte7 lier Bagg lg A

 

 

   

"DATE: The DEPT:
a m oo seep. Fut. Date: ¥

 

 

GLERK: = Allain; Kelley “
_ REPORTER: pevigan, Susan

_ CUSTODY STATUS: ¢3. te Release - .
DOB:

 

DEFENSEATTY: tn Pro Per AGENCY. te Release
Interpreter Sworn: language “SOSH peyisyio © - lovosya2 -
CHARGES: 1} 23152(a}) ve os
@}29152ib) ve m

IPRs. fi Deft present [7] Deft not Present [J In Custody (EERE [1 Unsupervised: -E] Supervised

Ll] With Atty [] With PD [[] By Atty [J By PD C1 Needs Atty

[1 PD appointed [J] PD declares conflict [7] PD relieved [] CDA appointed

(1977 PC waiver filed [] Defense/PD declares-lost.contact --. =: -:

- (1470.6 CCP Judge

’ [-] Case assigned for all purposes to
IMEI

Filed: [] Amended Complaint [] Amended Information [1] Information

 

(] Deft advised of rights (see reverse) [[] Deft/Atty waives formal reading and

' advisement of rights [[] Defense handed copy of [] Comp C] info
(] On DA/Court’s Motion, Complaint/Information amended: -

 

[EJ To add ‘count violof .: .. and} count’... viol of 2.2):
[] To.reduce/replace count(s) tO
CI Ct(s) Lo ____ reduced to Misdemeanor per 17b PC

[J Deft is duly arraigned and pleads: [] Not;Gullty to Ct(s) oe

C1 No.Goniest to Ct(s) (J Guilty to Ct(s) -”:
(-] Denies Prior= (1) Admits Prior CPrior_- Stricken .
[1] Refusal [7] Stricken EJ Admitted © eee
[J Special'Atlegation(s) [] Denied [] Stricken [1] Admitted

‘O cts)
(1385 PC)-[j Dismon Motion of DA/Crt on other grounds

C1 With Harvey waiver [7] Faretta waiver filed [1] Arbuckle waiver given/filed: —
C1 Granted [1] Denied: -:

(] Motion by . for
H Deft waives time for [_] Arraignment C] Pretim [] Trial 1] Sentencing
Time waived for -__- days [[] Time waived to
"| Deft/People waive Jury Trial [1] Under submission
‘MEENERRaeTieag [| Defense handed copy of Violation of Probation
Report [] Deft advised of alleged Violation of Probation and'all VPrights:
[1] Deft admits viol & waives all VP rights ([] Deft denies alleged Viol of Prob
[] Deft.found in Violation of Probation [J Deft not found in Viol of-Probation
PIC CEe .
(1 Diversion granted on Ct(s) «for
incorp, herein [] Terminated and criminal proceedings reinstated
[J Successfully completed [1] Denied [1] Reinstated [1] Violation admitted _
CI Report/Refer to Probation within __hrs/days for:
L] Pre-Plea Report (] SATC Report [] OR/BR Report [] 1203c Report
[] Pré-Sehtence Rpt [] Anger Mgmt [] Restitution [] SARA assessment
(J Oral/Written Supplemental [] Work Service [1] Prop 36 assessment
_ (1) Diversion ma (PC1000) (J Referral-given.to Probation Officer ih court

 
  

(7) Remanded to theéustody of the Sheriff
LJ Bail set at $_ Cite Release continued
Deft ordered [| released (J to'return-[] discharged on this case only
(] Réeleaséd on OR [1] OR continued [JOR revoked? > -
(J No further proceedings. [7] Deft allowed -_."-_ completed phone calls
[1] Deft to be dressed out [7] with property for release [J Jury Trial
{"] Deft to be seen by Med. Tech/County.Mental Health .
[J Cash Bail: [] Bail Bond’ [] Continued: [] Forfeited] Exonerated
(1 Reinstated and Exonerated [J] Apply:to Fine. [] Reassumed
(1 Upon payment of $ fee by - ;
(amen Ordered per . C1 978.5 PC [] 40508a vc
[11203.2PC.$.. ~ EINo Bail [J Held unti
C1] May be'forfeited [_] May be served at night [] Quashed [] Released
["] RECALLED [] Warrant remains out [] Affidavit/Dectaration requested
[].Criminal.proceedings suspended [] Criminal proceedings
reinstated LJ Fine/Jail stayed pending appeal [2] Statement 'of appeal settled

 

and certified [] Deft Sentenced to State Prison, Packet to follow .

(C] Referred 1203.03 PCL] 4011.6 PC report [] 136.2 PC Protective Order
(I Order to Produce Deft [J 730 ECE] Faxed to
Comm: ig

 

 

 

_ appointed

SC-3400 [Rev. Feb. 1, 2010]

by C1] Defense. 1] People
if

._ [J Dismissed on Motion of DA/Couit in-Intérest of Justice: -

~*~ [) Deft to répart to
__-"« months/years, order :

’ EJ As to Cts)

SCASE ORDERED CONTINUED T

LJ Probation Granted. for mosj/yrs, imposition of sentence suspended

-[] Probation Granted for ~~" mos/yrs, Deft sentenced to days/mos
. Santa Barbara. County. Jaii;:suspended-for...._. -

a _. days/mos/yts

[1] See Probation Order incorporated herein for all Terms and Conditions

(1 Probation Revoked [1] To Retain Juris. [] To Impose/Execute Sentence
(] Probation Terminated [1] Prob to term. upon conipletion of CJ Jail 1] Fine
[1] Probation Reinstated [1] and Modified: ] Existing terms and-conditions

‘(1 Probatiori Modified, order incorporated ‘herein [Term stricken.
~: 2) -Extended-for:. ie
. . E] Formal modified to Court 7]. Court modified to-Formal oo

Prob unsupervised upon completion. [7] Jail:] scram [] Rest [J Fine.

__.. months/yrs, terminate on...

As to Ct(s)_- ss  Defttoserve =. Days
in Santa: Barbara County Jail [] Credit for time served []-Deft granted credit
for . +. actual days time served plus _. __good/work

time credits for a totalof_......_.. days. Jail Calc. L]-1/2 LE] 1/3 per 4019PC

(1 Deft to‘report to jail'on or before noon/ati-.

on.
(1 SB L1SM [1] tom [4 May be served in any penal institution —

‘E)-Jail previously stayed; permanently stayed [| Others 2

C1 Jail stayed/Suspended on condition complete: “=: AA migs _

‘E) New remand, Vacate: previous Jail réport date of __-

["] Sentence tobe served’ [] Consecutive: E}Concurrent to.

oase(s) re oo

(] Recommend: [] Electronic monitoring [] Work Furlough [] SWAP

C1 Apply by Wat - mo -

__for booking ‘and release within
= [7] Booking fees waived

‘+ F-] See Probation Order

 

. days

   
   

    

 

E}: Pay booking fee of:
PUAN eeo Me TMK © 2 .
[_] License suspended [] License restricted for days/mos/yrs
[J Tetm(s) of restriction" License Revoked
‘E) Petition for Restrict E}:Granted [] Denied” END required

Deft to. attend L] 1° Offend-3 mo [] 1* Offend-9 mo L] 42hr prog [1] Multi-Off
MADD [7] Complete by (] Re-referred, enroll by

Payments: ( See Probation Order

[] As to all Counts, Fine ordered of $ __._ by

____Fine ordered of $_ | sy :

E] As to Ct(s). .__Fine ordered of $ by _

Victim Rest. Fund fine L] Diversion Rest. Fee$ by
[]1$__._ SC of Fine is suspended [] by Jail
[_] May be paid by Comm Service [] << “hrs Comm Serv by
(1 Modifyfinetermsto$_ due by
C) Pay CCA CUFTP LJ] FIAOF$ 2 by

C1 Pay$ | per month, starting : CI See Financial Officer
()Pay$__ today -[] Next payment due.
(] Pay PD/CDA/Atty costs of $07 _ by

 

     
      

   

       

 

 

CO Vacate date of — Eider must be personally present
(] Estimated [J Trial [] Prelim C]-Héating Length.

[] Commenced ["] Concluded [J In Progress (_] Continued L] off calendar
1] Rescheduled by [] Court (J Party [1] Last Date for Trial

See [1] reverse side [] page two for supplemental minute order

ff ff :

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& ALLE

_Deputy Clerk

&
Case 2:10-cv-09173-AHM-JCG Document 1 Filed 11/29/10 Page ryt 120 Page ID #:72

Exhibit “G”
 

Case 2:10-qu.081.79-BHIMAICG. Da

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SUPERIOR COURT OF THE STATE OF CALIFORNIA
IN AND FOR THE COUNTY OF SANTA BARBARA
SANTA MARIA BRANCH; MILLER STREET DIVISION

DEPARTMENT SM-7 HONORABLE JED BEEBE, JUDGE

 

THE PEOPLE OF THE STATE OF )
CALIFORNIA, )
Plaintiff, )

-vs- ) No. 1350711
JEFFREY JACKSON LIND, )

Defendant. )

 

REPORTER'S TRANSCRIPT

 

OCTOBER 27, 2010
NOVEMBER 23, 2010

APPEARANCES OF COUNSEL:

 

For Plaintiff: ANGELINA BORRELLO
Deputy District Attorney
County of Santa Barbara
312-D East Cook Street
Santa Maria, CA 93454

For Defendant: JEFFREY JACKSON LIND
In Propria Persona

REPORTED SUSAN DAVISON, CSR #4221
BY: Official Court Reporter

 

 

 
"Case 2:10 pUbedZAHMAIOG -Dacument1—Fled 1W20lio Page 74sot 120—RageiD.t24

1 Santa Maria, California

2 Wednesday, October 27, 2010

3 Morning Session

4

5 THE COURT: Is Jeffrey Lind present? You can

6 come forward and have a seat at the table.

7 THE BAILIFF: Who are you, sir?

8 A VOICE: I'm a friend and legal counsel.

9 THE COURT: Are you an attorney?

10 A VOICE: Attorney in fact.

11 THE COURT: Well, I don't think that counts.

12 A VOICE: It doesn't?

13 THE BAILIFF: Have a seat back in the

14 audience.

15 — THE COURT: It counts for some purposes,

16 executing documents and so forth, but not for

17 appearing in court.

18 Mr. Lind, I see you are charged with driving

19 under the influence of alcohol in two counts, one

20 under 23152(a) which says that you were driving

21 under the influence, and Count 2 is that you had a

22 blood alcohol level of .08 or higher, which is an

23 alternative statement of the same charge.

24 You have a right to represent yourself if you

25 wish to, but you also have the right to have an

26 attorney appointed for you if you wish to have legal

27 counsel in the proceeding.

28 THE DEFENDANT: I wasn't here to discuss the
2

 

 

 
Case eee LORE EE ELT
1 facts of the case. I challenged the jurisdiction of
2 the court, and I would like to let the record show
3 that the Superior Court of record is entering a
4 judgment and order.

5 THE COURT: You can hand the document to the

6 bailiff.

7 I did receive in the file the judicial notice

8 and affidavit.

9 THE DEFENDANT: Yes, sir. Everything is in
10 the paperwork. —
11 | | THE COURT: If I understand your document
12 correctly, and perhaps we should make a copy for the
13 prosecutor, you're trying to do one of two things.
14 You're either asking this court to recognize the
15 lack of subject matter jurisdiction, or the way it's
16 written, it seems to actually render your own
17 judgment as an independent tribunal of your failure
18 to subject to this court. Is that what you intend?
19 THE DEFENDANT: Say that again?
20 THE COURT: Well, I can construe the
21 document in one of two ways. It reads in part as if
22 you were the judge in your own case and concluding
23 that the Superior Court has no jurisdiction to
24 adjudicate the offense here, which is interesting
25 but it wouldn't affect this court of its ability to
26 proceed.
27 On the other hand, if you're trying to raise
28 a subject matter jurisdiction objection to this

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court's proceeding, that's something that you can
do.

THE DEFENDANT: I believe, yes.

THE COURT: If you want to --

THE DEFENDANT: Yes. I just challenge the
jurisdiction and standing up for my constitutional
rights.

THE COURT: All right. I don't find a legal
basis in the citations that are contained in the
document that you filed for an objection to the
court's subject matter jurisdiction. There are
areas this court does not have subject matter
jurisdiction, but claims of drunk driving are
generally not one of them.

Do you have an argument you want to make on
that subject? -

THE DEFENDANT: No.

THE COURT: Then --

THE DEFENDANT: I wasn't here to argue the
fact. Just made a challenge of the jurisdiction.

THE COURT: All right. Well, this is the
time I'm open to hearing any subject matter
jurisdictional claim. Successful claims can be made
on the basis you were entitled to some form of
recognized diplomatic immunity, that the _- if it
were perhaps a probate claim or something that was
being property here, that would be something that

this department at least would not have subject

 

 

 
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matter jurisdiction over.

But the Superior Court is charged with
adjudication of cases in which people are alleged to
have driven on the public streets while intoxicated
or with a blood alcohol level higher than that
allowed.

So if you have an argument to make other
than this, otherwise I'm prepared to rule.

THE DEFENDANT: Just that the officer was
out of his jurisdiction, They unlawfully stopped
me. And once I challenged the jurisdiction, it's
unlawful to proceed forward until it's been proven.

| THE COURT: Well, there are a couple of
different kinds of jurisdiction. One is the general
jurisdiction which we refer to as subject matter
jurisdiction of the court, hearing the case at all,
and that's generally what we mean when we say
subject matter jurisdiction.

There are additional questions of
jurisdiction that arise, whether there's personal
jurisdiction acquired over you is a different
question, and also the issue of whether or not the
officer has proceeded within the law.

If you want to make a claim, for example,
that you were improperly detained and the blood
alcohol was found, whatever it might be, is not
evidence that the court can hear, that's a motion to

suppress, which is different than a subject matter

 

 
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Case 210 CO TERENCE Rene 1 Filed 11/29/10. Page 7s ef 420-—Page-+D-#:78

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jurisdiction claim.

These are concepts not familiar to most lay
persons except in a general way, and that's why we
offer at no cost to you an attorney to assist you if
you wish to have one.

THE DEFENDANT: No. Just as a sovereign I
was just challenging the jurisdiction to everything
-~- all the answers are provided in the paperwork.

THE COURT: All right. Then I find against
your claim of a lack of subject matter jurisdiction
on the basis of the argument and authorities
presented so far which means we will need to proceed
to adjudicate the case.

This is a misdemeanor offense. It carries
with it the right to a speedy trial within 45 days
of the date that your plea was entered, which was
the 20th of October.

You can extend that date if you wish to, but
otherwise the court is required to try it within
that time. |

Beyond your challenge of jurisdiction, do you
know what you want to do? |

THE DEFENDANT: Say again? Do I want to
challenge the jurisdiction?

THE COURT: No. Beyond the challenge of
jurisdiction do you know what you want to do in the
case?

THE DEFENDANT: It's all in the paperwork.

 

 
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Case 2:10-

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THE COURT: Well, you are presently released
on your own recognizance and you have come back to
court. If we set a date for the trial, you will
need to come back for that. Do you understand that?

I don't mind if you want to consult for a
minute. You will need to do it out in the audience
area.

(Other matters taken.)

THE COURT: Mr. Lind, if you would like to
come forward again.

THE DEFENDANT: Pretty much the same thing.
Superior Court of record, challenge jurisdiction and
it's unlawful to move forward until jurisdiction is
proved. I am no longer the surety for the
defendant. . .

THE COURT: All right. As I indicated, I
found against the subject matter jurisdictional
claim. If you have others, you are at liberty to
present them by appropriate motion. |

In the meantime perhaps the people could let
you know what the offer would be on the case if
you're interested in resolving it just so you have
that information at least. |

MS. BORRELLO: If you plead to the (b) count
it's 23152(b), driving while having an alcohol level
of .08 or above, and we would offer three years
probation, three month program and a fine. That

would be our offer.

 

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THE DEFENDANT: No, thank you.

MS. BORRELLO: Your Honor, I would ask that
we set a trial date.

THE COURT: All right. Last day for trial?

THE CLERK: The 3rd.

THE COURT: All right. Well, I think the
date within the time period that's allowed by law
would be the 30th of November.

MS. BORRELLO: We do have another trial
scheduled that day, but --

THE COURT: Beyond the David Martinez case?

MS. BORRELLO: I have the Nevarez trial. I
could be wrong.

THE COURT: Well, we are running against a

time deadline in this case. We are going to have to
set it -- we will set a TCC on the matter on the
23rd.

If you would like a further opportunity to
discuss the case at all before we come back to
confirm the trial date on the 23rd of November, we
can set a date. But if your intention is just to
stand by the jurisdictional argument, there may be
no point in that. It's up to you.

THE DEFENDANT: No. I'm challenging the
jurisdiction.

THE COURT: All right. We will just leave
the TCC on then for the 23rd. By TCC, what we mean

is trial confirmation conference. So you would be

 

 
 

Case 2 20-q091.78- ARM SIGE Document] Eten Len eage pict 120. Page ID. #34
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1 required to appear here on Tuesday, November 23rd,
2 in order to discuss the mechanics of the trial.
3° You have a continuing opportunity to have
4 counsel appointed for you if you wish to to see if
5 there's any more effective way of advancing concerns
6 you might have. But otherwise you are ordered to
7 return on that day.
8 MS. BORRELLO: Your Honor, I have initial
9 discovery for Mr. Lind.
10 THE COURT: Yes.
11 And then the 30th for trial.
12 MS. BORRELLO: If you can sign for the
13 discovery.
14 THE DEFENDANT: I prefer to not sign
15 anything.
16 THE COURT: The court record will reflect
17 it's been handed to him.
18 And I do see that you have brought Mr.
19 Murphy, I presume, to court with you. You are
20 entitled to discuss the case with anybody you want
21 to because you are acting as your own attorney at
22 this point. We can't recognize Mr. Murphy as an
23 attorney of the state of California because he is
24 not licensed that we are aware of and he hasn't
25 represented that he is. So he can assist you with
26 papers if that's what you want to have happen.
27 You can face potentially serious
28 consequences, including loss of driver's license, if
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you have one, jail time and monetary fines as a

result of a conviction in a case such as this if it
would occur.

So I don't want to discourage you from
talking to Mr. Murphy, but you might want to
consider a range of opinions on the subject as you
decide in your own best interest what you want to do
on the case when you come back.

With that, you are ordered to return on the
23rd at 8:30 and we will see you then.

THE DEFENDANT: 23rd at 8:30.

THE BAILIFF: He wants this one stamped, his
copy.

THE COURT: Sure.

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Santa Maria, California
Tuesday, November 23, 2010

Morning Session

MS. BORRELLO: Your Honor, can I call a case?

THE COURT: Yes.

MS. BORRELLO: Mr. Lind.

THE COURT: Yes. Mr. Lind.

THE DEFENDANT: How is it going?

THE COURT: Very well. Thank you. Good
morning.

THE DEFENDANT: Good morning.

THE COURT: There was an issue or a concern
about possible unauthorized recording in the
courtroom. |

THE DEFENDANT: No. We don't have a
recorder. . | .

THE COURT: All right. It can be permitted
You just have to make a request of the court. But
in the absence of that, it's not allowed.

THE DEFENDANT: sure.

THE COURT: I did receive the writ of error
filed November 19th. Have the people received a
copy?

MS. BORRELLO: No, Your Honor. ©

THE DEFENDANT: Here, I have one.

I also have something else I would like to

file. It's an entry of default judgment with an

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order to show cause. I filed a counter claim and
the defendants listed here have failed to respond in
the matter of the jurisdiction that I challenged
which all the laws that support that were case laws.
I have a couple here if you wish me to read it.

But I want to maintain a court of record and
keep it to the paperwork. Everything that I filed
is in the paperwork which this is right here the
entry of default in judgment.

THE COURT: Well, you can hand that up and
we will examine it.

THE DEFENDANT: Thank you.

I brought a copy for her as well.

THE COURT: Well, I have a couple of
concerns with this procedure. One is that the only
case number shown on it is the one for the current
case, and it -- I see we did file a counter claim
for trespass on October 20th, 2010.

THE DEFENDANT: Correct.

. THE COURT: By what authority do you suggest
default would be taken sooner than --

THE DEFENDANT: That's all noted in the
paperwork, case laws for it, because I challenged
the jurisdiction of this court. And even if you
look in that judgment on page 11, footnote 53 where
-- I will read it if you like.
| | THE COURT: I gather the basic thrust of

your legal theory is that you are the tribunal and

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deciding the case.

THE DEFENDANT: Proceeding in the course of
common law because the case defaulted, yes.

THE COURT: Well, we are I think unable to
recognize that as the theory on the principle if
nothing else that no man can be judging his own
cause.

THE DEFENDANT: All the law backs it up
which is all in the paperwork as well. I've been
doing a lot of homework on it to basically explain
why I was pulled over unlawfully, and all the
paperwork says that from the counter claim on which
they defaulted on, the defendants, and all this case
law supports and backs everything up, which is why I
want to object to the jury trial that you have set
up for the 30th.

THE COURT: Well, I'm afraid it's not a
legal procedure I recognize, even -- assuming it
were possible to file the counter claim in this
action, it remains necessary to decide the.
underlying case itself which charges you with
driving under the influence or with a blood alcohol
of .08 or higher.

THE DEFENDANT: But that's why I object to
that because they didn't have jurisdiction to pull
me over to begin with. It's all case law. I'm just
exercising my constitutional rights to stand up for

that, which it's all in the paperwork.

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It's not that I'm trying to be difficult or

anything. I assume you're probably getting as much

of an education on this as I am. But I was

unlawfully pulled over. All the laws back that up.
It's case law.

THE COURT: Well, there is a procedure for
having the question of the lawfulness of being
pulled over reviewed by the court. That's a motion
pursuant to Penal Code Section 1538.5, a motion to
suppress the evidence.

THE DEFENDANT: Correct. But I'm not
subject to the Penal Code. I'm going according to
the common law. That's why I object to the Penal
Codes and the statutes, which all the case law backs

THE COURT: There we have a difficulty.

THE DEFENDANT: All the case law backs that
up. It's all in the law which is all provided in
the paperwork, which is why I'm objecting to all of
this. |

There is no grounds to move forward for lack
of jurisdiction. As you read in that footnote, a
court cannot assume jurisdiction once that's been
challenged. And it's not me saying that, it's the
law. .

THE COURT: T'm not quite sure what to do
with you, Mr. Lind. We have a trial that's

scheduled to go on --

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THE DEFENDANT: Which I'm objecting to that.
I would be more than willing to give you time if you
cancel out that trial which I'm objecting to for the
record for lack of jurisdiction.

If you would like to review the paperwork
yourself. I've done most of the homework and put
all of the footnotes and the law in there so you

don't have to go searching for it.

THE COURT: It would be more convenient to
hold the trial a different time than the 30th when
we scheduled it. The last day for trial under the
law at present is December 3rd. So that can be
extended with your consent, but --~

THE DEFENDANT: That's the thing. Since
they've defaulted on this counter claim, I was
turned into a plaintiff as soon as I filed this
counter claim for them having lack of jurisdiction
against the defendants. So l don't even see the
point of having a trial. I don't see how the court
can proceed forward unlawfully if they have lack of
jurisdiction. All case law backs that up.

Again I know it's a different approach than
probably what you've been faced with, same as me.
But he pulled me over unlawfully. I'm not subject
to the Penal Code that is operated by this private
corporation. I'm going according to the course of
the common law, and all the case law backs that up.

It's all law. And it's my constitutional right to

 

 

 
 

 

 

Case 2:10-cy-091,73-AHM-JCG.. i / o£120 Page ID #33
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1 exercise that.
2 THE COURT: Well, your constitutional right
3 is to have a trial on November 30th unless you want
4 to postpone that date.
5 THE DEFENDANT: Yes. I'm objecting to that
6 trial because there's no reason to have it. There's
7 technically no case if there's no jurisdiction.
8 Once that is raised, it must be proven and it hasn't
9 been proven. I haven't received anything in writing
10 or on paper that says this court has jurisdiction
11 over me according to the law.
12 THE COURT: You're a resident of the state
13 of California?
14 THE DEFENDANT: No. I'm a people of
15 California.
16 MS. BORRELLO: Your Honor, the people are
17 ready for trial on the 30th.
18 THE COURT: If you want to continue the
19 trial for the purpose of litigating the lawfulness
20 of the stop, I'm willing to do that. But if your
21 challenge is to the fundamental jurisdiction of the
22 court, I'm obliged to rule against that and to order
23 that the trial proceed on the 30th.
24 | THE DEFENDANT: Even though it's case law
25 when there's lack of jurisdiction there's no case?
26 THE COURT: If there were a lack of
27 jurisdiction there would be no case. But there is
28 jurisdiction here is my finding.
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THE DEFENDANT: The law says that there
isn't.

THE COURT: I don't read the law that way.
And I think we have a fundamental difference of
opinion on the nature of the court's jurisdiction
here.

THE DEFENDANT: Well, we may agree to
disagree, but it doesn't mean the law is wrong.

THE COURT: My point exactly.

THE DEFENDANT: It's a constitutional right
that he have no jurisdiction. Which is all --

THE COURT: As often as you say that's the
law, I find it's not.

THE DEFENDANT: Have you gone through all of
the paperwork provided?

THE COURT: Well, I haven't had time to go
through the entry of default that you have just
offered, but I have read the writ of error, and l
don't find a logical basis in there for denial of
jurisdiction, nor do I understand how you can assume
the roll of tribunal. |

THE DEFENDANT: Because the law says I can.

THE COURT: Well, no law that I'm familiar
with says that. | | | |

| THE DEFENDANT: Correct. I understand that
-- like I said, we are all getting an education here
about that. Let me look for my -- one second.

See, originally when I was before Judge

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Bullard and I raised the jurisdiction challenge, I
convened a court of record, which is according to
the common law, and -- | |

THE COURT: Well, who do you think is the
court of record? |

THE DEFENDANT: I'm the court of record.

THE COURT: Well, I think I'm the court of

record.

THE DEFENDANT: Correct. I understand that
that's --

THE COURT: That's the point of the
disagreement. Here is my seal. Where is yours?

THE DEFENDANT: My signature.

THE COURT: All right. That's another point
on which we disagree.

THE DEFENDANT: To be a court of record, it
doesn't require a seal. It's kind of optional.

THE COURT: I read that in your papers.

THE DEFENDANT: It generally possesses a
seal. It has all the case law. But generally
doesn't mean mandatory.

And since I've got all this law which I have
looked: through in all the law books, printed this
up. The court is the person in suit of the
sovereign, the place where the sovereign sojourns
with his legal retinue, whatever that may be.
Black's law dictionary, fifth edition.

So I've got all the case laws that back all

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Case 2:10-c

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of this stuff up. I'm not just in here to try to be
crazy or create waves. I just want the right thing
done.

And like I mentioned in all of this, it's all
in the paperwork. I have laid it all out, why
there's no jurisdiction and --

THE COURT: All right. Here is the simple
choice you have today. We either confirm the trial
that we have for the 30th or at your request we will
schedule a further hearing to have -- entertain any
legal objection you have to the lawfulness of the
stop.

THE DEFENDANT: I would go that route then.
I object to the 30th -- I object to the trial
altogether, but I'm more than willing to let you go
through all the paperwork and see if it all checks
out, which I know that it does because it's the law.

So yes, I don't think it's unreasonable to
postpone it so all the paperwork can be taken into
consideration. And she just had this ~-- Miss
Borrello had this given to her today as well. So
she will be able to properly review it.

. THE COURT: Let me be clear. If what you're
thinking I'm saying is I'm going to entertain a
further hearing on the issue of the court's
jurisdiction, it's not my intention to do that.

If you want to have a hearing which would

raise issues which I'm permitted to consider

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pursuant to the Penal Code with regard to the

lawfulness of the stop, I would permit you to do
that. Otherwise I don't see any point in postponing
the trial. a |

. THE DEFENDANT: Let me have one moment with
counsel then, please.

Yes, Your Honor, I'm just going to go ahead
and object to the trial and not go forward because
there's like I said lack of jurisdiction. All the
law backs that up.

. And if I could read one more thing here.
"Whenever a judge --" the footnote here. "Whenever
a judge acts where he or she does not have
jurisdiction to act, the judge is engaging in acts
of treason.” |

THE COURT: Well, again we will have to
agree to disagree on that point.

THE DEFENDANT: All right. Just for the
record, I object. I'm going to stand on my
constitutional rights. The law backs it up.

And I will do what I need to do to take that
where I need to do to make sure that this is
recognized.

THE COURT: All right. Then it sounds like
what we need to do is confirm the trial scheduled
for the 30th of November.

MS. BORRELLO: Your Honor, the people are

ready and I do have the people's motion in limine,

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requested jury instructions, statement of facts,

witness list to file.
THE COURT: All right. You have a copy for

Mr. Lind?

MS. BORRELLO: Yes. I will ask Kelley if it

can be conformed first.

THE DEFENDANT: If I may, too, may I get
this stamped saying I filed this, please, that you
received it?

THE COURT: The entry of default?

THE DEFENDANT: Yes.

THE COURT: It may be lodged. It may not be

filed.

THE DEFENDANT: Can I at least get it

stamped saying you received it, that I delivered it,

please?

THE COURT: Yes. Do you have a received
stamp here?

THE CLERK: No. But I will get one.

THE COURT: All right. We will have that
stamped and delivered and give you a copy of that.

In the meantime then the trial is confirmed
for the 30th. It's to begin at 9:30.

THE DEFENDANT: Would you let the record
show I did object to that, though.

THE COURT: Yes. It will show that quite
clearly.

MS. BORRELLO: Thank you, Your Honor.

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THE DEFENDANT: Thank you.

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REPORTER'S CERTIFICATE

 

I, SUSAN DAVISON, CSR #4221, Official Court
Reporter of the Superior Court of the County of
Santa Barbara, State of California, do hereby
certify:

That the foregoing 22 pages contain a true
and correct transcript of the proceedings had in the
within-entitled matter, recorded by me by stenotype
on the dates and at the hours herein written, and
thereafter reduced to typewriting by computer-aided
transcription under my direction.

In compliance with Section 8016 of the
Business & Professions Code, I certify under penalty
of perjury that I am a Certified Shorthand Reporter
with License No. 4221 in full force and effect.

DATED: Santa Maria, California, November 25,

2010.

SUSAN DAVISON, CSR #4221

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Case 2 B0-ev 091 73- AMIGOS Document 1 Filed 11/29/10 Page ®6.01 120 Page ID #:96

Exhibit “H”
Case 2:10-cv-09173-AHM-JCG. Document 1 Filed 11/29/10 Page of 120 Page ID #:97
Jeffery Jackson Lind C. Case N..-

LAW OF THE CASE

The law of the case is decreed as follows:

It is the public policy of this state that public agencies exist
to aid in the conduct of the people's business....The people of
this state do not yield their sovereignty to the agencies which
serve then. [California Government Code, Section 11120.]

In enacting this chapter, the Legislature finds and declares that
the public commissions, boards and councils and the other public
agencies in this State exist to aid in the conduct of the
people's business....The people of this State do not yield their
sovereignty to the agencies which serve them. [California
Government Code Section 54950.]

Laws, whether organic or ordinary, are either written or
unwritten. [California Code of Civil Procedure, Section 1895.]

A written law is that which is promulgated in writing, and of
which a record is in existence. [California Code of Civil
Procedure, Section 1896]

The organic law is the Constitution of Government, and is
altogether written. Other written laws are denominated statutes.
The written law of this State is therefore contained in its
Constitution and statutes, and in the Constitution and statutes
of the United States. [California Code of Civil Procedure,

Section 1897]

Any judicial record may be impeached by evidence of a want of
jurisdiction in the Court or judicial officer, of collusion
between the parties, or of fraud in the party offering the
record, in respect to the proceedings. [California Code of Civil

Procedure, Section 1916]

JUDICIAL COGNIZANCE. Judicial notice or knowledge upon which a
judge is bound to act without having it proved in evidence.
[Black's Law Dictionary, 5th Edition, page 760.]

When it clearly appears that the court lacks jurisdiction, the
court has no authority to reach the merits. In such a situation
the action should be dismissed for want of jurisdiction. [Melo
v. US, 505 F2d 1026, 1030]

In re W. D. CAVITT on Habeas Corpus, Crim. No. 3508

COURT OF APPEAL OF CALIFORNIA, SECOND APPELLATE DISTRICT,
DIVISION ONE (1941) 47 Cal. App. 2d 698; 118 P.2d 846; 1941 Cal.
App. LEXIS 1225

(2) Courts--Jurisdiction--Necessity--Jurisdiction Divested
Pending Proceeding. --When by operation of law a court is
divested of jurisdiction, it is without power to inflict a
punishment or enforce a penalty for violations of law committed
while it had jurisdiction. A court under such circumstances is
equally without power to proceed in a matter of which it had

EXHIBIT “H” Page 1 of 24
Case 2:10-cv-09173-AHM-JCG. Document 1 Filed 11/29/10 Page98 of 120 Page ID #:98
Jeffery Jackson Lind C. Case Nu)

jurisdiction at the time the action was commenced, unless some
special provision be made for that purpose by statute.

(3) Id.--Jurisdiction--Necessity--Time When Necessary. -~-
Jurisdiction is fundamental and must be continuing in the court
throughout the proceeding, because it is jurisdiction alone that
gives the court power to hear, determine and pronounce judgment
upon the issues before it.

(4) Judgments--Void Judgments--Want of Jurisdiction-—
Jurisdiction Divested. --When a court that is divested of
jurisdiction undertakes to pronounce a judgment in a cause which
the court did not have jurisdiction to hear or try, such
judgment is void ab initio, even though affirmed on appeal.*

“The only inherent difference ordinarily recognized between
superior and inferior courts is that there is a presumption in
favor of the validity of the judgments of the former, none in
favor of those of the latter, and that a superior court may be
shown not to have had power to render a particular judgment by
reference to its record. Ex parte Kearny, 55 Cal. 212. Note,
however, that in California ‘superior court’ is the name of a
particular court. But when a court acts by virtue of a special
statute conferring jurisdiction in a certain class of cases, it
is a court of inferior or limited jurisdiction for the time
being, no matter what its ordinary status may be. Heydenfeldt v.
Superior Court, 117 Cal. 348, 49 Pac. 210; Cohen v. Barrett, 5
Cal.195” 7 Cal. Jur. 579

“Inferior courts” are those whose jurisdiction is limited and
special and whose proceedings are not according to the course of
the common law.” Ex Parte Kearny, 55 Cal. 212; Smith v. Andrews,

6 Cal. 652

“However late this objection has been made, or may be made in
any cause, in an inferior or appellate court of the United
States, it must be considered and decided, before any court can
move one further step in the cause; as any movement is
necessarily the exercise of jurisdiction.” Rhode Island v.
Massachussetts, 37 U.S. 657, 718, 9 L.Ed. 1233 (1838)

Once defense has raised jurisdiction defense, plaintiff must
provide proof of jurisdiction. Modern vs. Johnson 844 Fed.

Supp. 940

Every court has a jurisdiction to determine in personam and in
rem jurisdiction. When personal jurisdiction is challenged
plaintiff has burden to prove jurisdiction is proper. James vs.
HRP, 852 Fed. Supp. 620

Once defense has raised jurisdiction defense, plaintiff must
provide proof of jurisdiction. Modern vs. Johnson 844 Fed. Supp.

940 *

"The burden shifts to the court to prove jurisdiction." Rosemond
v. Lambert, 469 F2d 416.*

EXHIBIT “H” Page 2 of 24
Case 2:10-cv-09 473, AHM-JES Document 1 Filed 11/29/10, Page 9p of 120 Page ID #:99
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Jeffery Jackson Lind Ca

"Court must prove on the record, all jurisdiction facts related
to the jurisdiction asserted." Lantana v. Hopper, 102 F2d 188;
Chicago v. New York, 37 F Supp 150.*

"A universal principle as old as the law is that a proceedings
of a court without jurisdiction are a nullity and its judgment
therein without effect either on person or property." Norwood v.
Renfield, 34 C 329; Ex parte Giambonini, 49 P. 732.*

"Jurisdiction is fundamental. It is the primary question for
determination by a court in any case for jurisdiction is the
power to hear and determine. If a judgment is rendered by a
court which did not have jurisdiction to hear a cause, such
judgment is void ab initio." In Re Application of Wyatt, 300 P.
132 *

"Thus, where a judicial tribunal has no jurisdiction of the
subject matter on which it assumes to act, its proceedings are
absolutely void in the fullest sense of the term." Dillion v.
Dillon, 187 P 27.*

"A court has no jurisdiction to determine its own jurisdiction,
for a basic issue in any case before a tribunal is its power to
act, and a court must have the authority to decide that question
in the first instance." Rescue Army v. Municipal Court of Los
Angeles, 171 P2d 8; 331 US 549, 91 L. ed. 1666, 67 S.Ct. 1409.*

"RA departure by a court from those recognized and established

requirements of law, however close apparent adherence to mere

form in method of procedure, which has the effect of depriving
one of a constitutional right, is an excess of jurisdiction."

Wuest v. Wuest, 127 P2d 934, 937.*

"Where a court failed to observe safeguards, it amounts to
denial of due process of law, court is deprived of juris."
Merritt v. Hunter, C.A. Kansas 170 F2d 739.*

"the fact that the petitioner was released on a promise to
appear before a magistrate for an arraignment, that fact is
circumstance to be considered in determining whether in first
instance there was a probable cause for the arrest." Monroe v.
Papa, DC, I1l. 1963, 221 F Supp 685.*

"Agency, or party sitting for the agency, (which would be the
magistrate of a municipal court) has no authority to enforce as
to any licensee unless he is acting for compensation. Such an
act is highly penal in nature, and should not be construed to
include anything which is not embraced within its terms. (Where)
there is no charge within a complaint that the accused was
employed for compensation to do the act complained of, or that
the act constituted part of a contract." Schomig v. Kaiser, 189
Cal 596.*

"When acting to enforce a statute and its subsequent amendments
to the present date, the judge of the municipal court is acting

EXHIBIT “H” Page 3 of 24
Case 2:10-cv-09173-AHM-JCG-~Document 1 Filed 11/29/10 Page OQ of 120 Page ID #:100
Jeffery Jackson Lind te Case N.... j

as an administrative officer and not in a judicial capacity;
courts in administering or enforcing statutes do not act
judicially, but merely ministerially". Thompson v. Smith, 154 SE
583.*

"A judge ceases to sit as a judicial officer because the
governing principle of administrative law provides that courts
are prohibited from substituting their evidence, testimony,
record, arguments, and rationale for that of the agency.
Additionally, courts are prohibited from substituting their
judgment for that of the agency. Courts in administrative issues
are prohibited from even listening to or hearing arguments,
presentation, or rational." ASIS v. US, 568 F2d 284.*

"Ministerial officers are incompetent to receive grants of
judicial power from the legislature, their acts in attempting to
exercise such powers are necessarily nullities." Burns v. Sup.
Ct., SF, 140 Cal. 1.*

"The elementary doctrine that the constitutionality of a
legislative act is open to attack only by persons whose rights
are affected thereby, applies to statute relating to
administrative agencies, the validity of which may not be called
into question in the absence of a showing of substantial harm,
actual or impending, to a legally protected interest directly
resulting from the enforcement of the statute." Board of Trade
v. Olson, 262 US 1; 29 ALR 2d 1051.*

“It is most true that this Court will not take jurisdiction if
it should not: but it is equally true, that it must take
jurisdiction if it should. The judiciary cannot, as the
legislature may, avoid a measure because it approaches the
confines of the constitution. We cannot pass it by because it is
doubtful. With whatever doubts, with whatever difficulties, a
case may be attended, we must decide it, if it be brought before
us. We have no more right to decline the exercise of
jurisdiction which is given, than to usurp that which is not
given. The one or the other would be treason to the
constitution. Questions may occur which we would gladly avoid;
but we cannot avoid them. All we can do is, to exercise our best
judgment, and conscientiously to perform our duty. In doing
this, on the present occasion, we find this tribunal invested
with appellate jurisdiction in all cases arising under the
constitution and laws of the United States. We find no exception
to this grant, and we cannot insert one.” Cohens v. Virginia, 19
U.S. 264, 404, 5 L.Ed. 257, 6 Wheat. 264 (1821)

“Whenever a judge acts where he/she does not have jurisdiction
to act, the judge is engaged in an act or acts of treason.” U.S.
v. Will, 449 U.S. 200, 216, 101 S.Ct. A471, 66 L.Ed.2d 392, 406
(1980); Cohens v. Virginia, 19 U.S. (6 Wheat) 264, 404, 5 L.Ed
257 (1821)

EXHIBIT “H” Page 4 of 24
Case 2:10-cv-09173-AHM-JCG\Document 1 Filed 11/29/10 Page £04
i 404 of 120 Pa
Jeffery Jackson Lind C) Case No ge ID #:101 .

Where there is no jurisdiction over the subject matter, there
is, as well, no discretion to ignore that lack of jurisdiction.
[John J. Joyce v. United States of America, 474 F.2d 215, 219]
Joyce v. U.S., 474 F.2d 215, 219 (C.A.3 (Pa.), 1973)

A judicial tribunal having attributes and exercising functions
independently of the person of the magistrate designated
generally to hold it [Jones v. Jones, 188 Mo.App. 220, 175 S.W.
227, 229; Ex parte Gladhill, 8 Metc. Mass., 171, per Shaw, C.J.
See, also, Ledwith v. Rosalsky, 244 N.Y. 406, 155 N.E. 688,
689] [Black's Law Dictionary, 4th Ed., 425, 426]

...at the Revolution, the sovereignty devolved on the people; and
they are truly the sovereigns of the country, but they are
sovereigns without subjects...with none to govern but
themselves..... [CHISHOLM v. GEORGIA (US) 2 Dall 419, 454, 1L Ed
440, 455 @DALL (1793) pp471-472.]

WWhereas, this being the liberty of the Anglicans has been
recognized from time in memorial by. them as civil or natural
liberties, not to be confused in any manner with the civil
rights issue whatsoever.” Van Valkenburg v. Brown, 43 Cal. 43

(1872) *

“One sovereign does not need to tell another sovereign that

he/she is sovereign. The sovereign is merely sovereign by his
very existence.” The People are sovereign, not the governmental
bodies that serve them. Kemper v. State, 138 Southwest 1025
(1911), page 1043, section 33.

“The officers of the law, in the execution of process, are
obligated to know the requirements of the law, and if they
mistake them, whether through ignorance or design, and anyone is
harmed by their error, they must respond in damages.” —Rogers
vs. Marshal (United States use of Rogers vs. Conklin) 1 Wall.
(US) 644, 17 L ed 714.

The people are the recognized source of all authority, state or
municipal, and to this authority it must come at last, whether
immediately or by circuitous route. Barnes v. District of
Columbia, 91 U.S. 540, 545 [23: 440, 441]. p 234.

“the government is but an agency to the state,” -- the state
being the sovereign people. State v. Chase, 175 Minn, 259, 220

N.W. 951, 953.

"The sovereignty of a state does not reside in the persons who
fill the different departments of its government, but in the
People, from whom the government emanated; and they may change
it at their discretion. Sovereignty, then in this country,
abides with the constituency, and not with the agent; and this

EXHIBIT “H” | | Page 5 of 24
Case 2:10-cv-09173-AHM- ER pocument 1 Filed 11/29/10 Page 10: of 120 Page ID #:102
Jeffery Jackson Lind — Case N.-

remark is true, both in reference to the federal and state
government." Spooner v. McConnell, 22 F 939, 943

1 "Like any other government official, government lawyers are
responsible for the foreseeable consequences of their conduct,"
Padilla vs. Yoo, June 18, 2009, S.F. CA.

“In this country, written constitutions were deemed essential to
protect the rights and liberties of the people against the
encroachments of power delegated to their governments, and the
provisions of Magna Charta were incorporated into Bills of [110
U.S. 532] Rights. They were limitations upon all the powers of
government, legislative as well as executive and judicial.”
Hurtado v. California, 110 US 516.

",.. Our government is founded upon compact. Sovereignty was,
and is, in the people" 1794 US Supreme Court case Glass v.

Sloop Betsey

"People of a state are entitled to all rights which formerly
belong to the King, by his prerogative." 1829 US Supreme Court
case Lansing v. Smith

"The United States, as a whole, emanates from the people .
The people, in their capacity as sovereigns, made and adopted
the Constitution ..." US Supreme Court in 4 Wheat 402

",.. The governments are but trustees acting under derived
authority and have no power to delegate what is not delegated to
them. But the people, as the original fountain might take away
what they have delegated and intrust to whom they please. ...
The sovereignty in every state resides in the people of the
state and they may alter and change their form of government at
their own pleasure. They had the whole title, and as absolute
proprietors, had the right of using or abusing,--jus utendi et
abutendi.” US Supreme Court in Luther v. Borden, 48 US 1, 12
LEd 581:

"Powers denied are not to be implied; they are to be obtained,
if at all, from and in the same manner provided by, those who
originally granted the enumerated powers, but who at the same
time denied powers." US Supreme Court in Fairbanks v. U.S. 181

US 283:
"While sovereign powers are delegated to ... the government,
sovereignty itself remains with the people ..." US Supreme

Court in Yick Wo v. Hopkins, 118 US 356, page 370:

People are supreme, not the state. Waring vs. the Mayor of
Savannah, 60 Georgia at 93. The people of the State do not yield
their sovereignty to the agencies which serve them. The people,
in delegating authority, do not give their public servants the
right to decide what is good for the people to know and what is

EXHIBIT “H” Page 6 of 24
Cas

e 2:10-cv-09173-AHM-JC@ Document 1 Filed 11/29/10 Pa 10’ .
Jeffery Jackson Lind ep cag : "3 of 120 Page ID #:103

not good for them to know. The people insist on remaining
informed so that they may retain control over the instruments
they have created. (Added Stats. 1953, c. 1588, p.3270, sec.

“A Sovereign is exempt from suit, not because of any formal
conception or obsolete theory, but on the logical and practical
ground that there can be no legal Right as against the authority
that makes the law on which the Right depends.” Kawananakoa V.
Polybank, 205 U.S. 349, 353, 27 S.Ct.526, 527, 51 L.Ed. 834
(1907).

“The individual may stand upon his constitutional Rights as a
citizen. He is entitled to carry on his private business in his
own way. His power to contract is unlimited. He owes no such
duty [to submit his books and papers for an examination] to the
STATE, since he receives nothing therefrom, beyond the
protection of his life and property. His Rights are such as
existed by the law of the land [Common Law] long antecedent to
the organization of the STATE, and can only be taken from him by
due process of law, and in accordance with the Constitution.
Among his Rights are a refusal to incriminate himself, and the
immunity of himself and his property from arrest or seizure
except under a warrant of the law. He owes nothing to the
public so long as he does not trespass upon their Rights.” Hale
v. Henkel, 201 U.S. 43 at 47 (1905).

The very meaning of ‘sovereignty’ is that the decree of the
sovereign makes law. [American Banana Co. v. United Fruit Co., 29
§.Ct. 511, 513, 213 U.S. 347, 53 L.Ed. 826, 19 Ann.Cas. 1047.]

The people of this State, as the successors of its former
sovereign, are entitled to all the rights which formerly belonged
to the King by his prerogative. [Lansing v. Smith, 4 Wend. 9
(N.¥.) (1829), 21 Am.Dec. 89 10C Const. Law Sec. 298; 18 C
Em.Dom. Sec. 3, 228; 37 C Nav.Wat. Sec. 219; Nuls Sec. 167; 48 C

Wharves Sec. 3, 7.]

A consequence of this prerogative is the legal ubiquity of the
king. His majesty in the eye of the law is always present in all
his courts, though he cannot personally distribute justice.
(Fortesc.c.8. 2Inst.186) His judges are the mirror by which the
king's image is reflected. 1 Blackstone's Commentaries, 270,
Chapter 7, Section 379.

"[Judge] Maloney was one of many dishonest judges exposed and
convicted through 'Operation Greylord', a labyrinthine federal
investigation of judicial corruption in Chicago". Bracey v.
Gramley, 519 U.S. 1074, 117 S.Ct. 726 (1997) .*

The Seventh Circuit Court of Appeals held that the Circuit Court

of Cook County is a criminal enterprise. U.S. v. Murphy, 768
F.2da.1518, 1531 (7th Cir. 1985).

EXHIBIT “H” Page 7 of 24
Case Co OS ATOM ICG Bocument 1 Filed 11/29/10 Page Lparol 120 Page ID #:104
Jeffery Jackson Lind Le Case Ni_-/

Principals: (a) Whoever commits an offense against the United

States or aids, abets, counsels, commands, induces or procures

its commission, is punishable as a principal.

(b) Whoever willfully causes an act to be done which if directly

performed by him or another would be an offense against the

United States, is punishable as a principal. [18 USC 2]

Accessory after the fact: Whoever, knowing that an offense
against the United States has been committed, receives,
relieves, comforts or assists the offender in order to hinder or
prevent his apprehension, trial or punishment, is an accessory
after the fact. Except as otherwise expressly provided by any
Act of Congress, an accessory after the fact shall be imprisoned
not more than one-half the maximum term of imprisonment or
(notwithstanding section 3571) fined not more than one-half the
maximum fine prescribed for the punishment of the principal, or
both; or if the principal is punishable by life imprisonment or
death, the accessory shall be imprisoned not more than 15 years.
[18 usc 3]

Misprision of felony: Whoever, having knowledge of the actual
commission of a felony cognizable by a court of the United
States, conceals and does not as soon as possible make known the
same to some judge or other person in civil or military
authority under the United States, shall be fined under this
title or imprisoned not more than three years, or both. [18 USC

4]

".,.i1£ the magistrate has not such jurisdiction, then he and
those who advise and act with him, or execute his process, are
trespassers." Von Kettler et.al. v. Johnson, 57 T1l. 109 (1870)

"[TUnder Federal law which is applicable to all states, the U.S.
Supreme Court stated that if a court is] without authority, its
judgments and orders are regarded as nullities. They are not
voidable, but simply void; and form no bar to a recovery sought,
even prior to a reversal in opposition to them. They constitute
no justification; and all persons concerned in executing such
judgments or sentences, are considered, in law, as trespassers."
Elliot v. Piersol, 1 Pet. 328, 340, 26 U.S. 328, 340 (1828)

"[if a court] could not hear the matter upon the jurisdictional
paper presented, its finding that it had the power can add
nothing to its authority, - it had no authority to make that
finding." The People v. Brewer, 128 Ill. 472, 483 (1928). “They
acted without any jurisdiction.”

When judges act when they do not have jurisdiction to act, or
they enforce a void order (an order issued by a judge without
jurisdiction), they become trespassers of the law,and are
engaged in treason (see below).

EXHIBIT “H” Page 8 of 24
Case 2-10. cw-09173-AHIM-JCG~Pocument 1 Filed 11/29/10 Page 1650f 120 Page ID #:105
Jeffery Jackson Lind Le Case N

",...not every action by a judge is in exercise of his judicial
function. ... it is not a judicial function for a judge to
commit an intentional tort even though the tort occurs in the
courthouse." Yates v. Village of Hoffman Estates, Illinois, 209
F.Supp. 757 (N.D. Ill. 1962) “When a judge acts as a trespasser
of the law, when a judge does not follow the law, the judge
loses subject-matter jurisdiction and the judges orders are
void, of no legal force or effect.”*

"when a state officer acts under a state law in a manner
violative of the Federal Constitution, he "comes into conflict
with the superior authority of that Constitution, and he is in
that case stripped of his official or representative character
and is subjected in his person to the consequences of his
individual conduct. The State has no power to impart to him any
immunity from responsibility to the supreme authority of the
United States." Scheuer v. Rhodes, 416 U.S. 232, 94 S.Ct. 1683,
1687 (1974) [Emphasis supplied in original].

....This declaration of rights may not be construed to impair or
deny others retained by the people." [California Constitution,
Article 1, Declaration Of Rights Sec. 24.]

The state cannot diminish rights of the people. [Hertado v.
California, 100 US 516.]

The assertion of federal rights, when plainly and reasonably
made, is not to be defeated under the name of local practice.
[Davis v. Wechsler, 263 US 22, 24.]

Where rights secured by the Constitution are involved, there can
be no rule making or legislation which would abrogate them.
[Miranda v. Arizona, 384 US 436, 491.]

There can be no sanction or penalty imposed upon one because of
this exercise of constitutional rights. [Sherer v. Cullen, 481 F

946.)

Whereas, the people of California have presented a constitution
...-and which, on due examination, is found to be republican in

its form of government.... [Act [of Congress] for the Admission
of California Into the Union, Volume 9, Statutes at Large, Page
452.]

Republican government. One in which the powers of sovereignty are
vested in the people and are exercised by the people, either
directly, or through representatives chosen by the people, to
whom those powers are specially delegated. [In re Duncan, 139
U.S. 449, 11 S.Ct. 573, 35 L.Ed. 219; Minor v. Happersett, 88
U.S. (21 Wall.) 162, 22 L.Ed. 627." Black's Law Dictionary, Fifth
Edition, p. 626.]

The State of California is an inseparable part of the United
States of America, and the United States Constitution is the

EXHIBIT “H” Page 9 of 24
JUILULY JAUDOULL LLU ; UCase INO:
Case 2:10-cv-09173-AHM-JCG~bocument 1 Filed 11/29/10 Page Po! 120 Page ID #:106

supreme law of the “ind. [California Constitution, “Article 3,

Sec. 1.]

This Constitution, and the Laws of the United States which shall
be made in Pursuance thereof; and all Treaties made, or which
shall be made, under the Authority of the United States, shall be
the supreme Law of the Land; and the Judges in every State shall
be bound thereby; any Thing in the Constitution or Laws of any
State to the Contrary notwithstanding. [Constitution for the
United States of America, Article VI, Clause 2.]

"The use of the highway for the purpose of travel and
transportation is not a mere privilege, but a common fundamental
right of which the public and individuals cannot rightfully be
deprived." Chicago Motor Coach v. Chicago, 169 NE 221.

"The right of the citizen to travel upon the public highways and
to transport his property thereon, either by carriage or by
automobile, is not a mere privilege which a city may prohibit or
permit at will, but a common law right which he has under the
right to life, liberty, and the pursuit of happiness." Thompson
v. Smith, 154 SE 579.

"The right to travel is a part of the liberty of which the
citizen cannot be deprived without due process of law under the
Fifth Amendment." Kent v. Dulles, 357 US 116, 125.

"Ihe right to travel is a well-established common right that
does not owe its existence to the federal government. It is
recognized by the courts as a natural right." Schactman v.
Dulles 96 App DC 287, 225 F2d 938, at 941.

The powers not delegated to the United States by the
Constitution, nor prohibited by it to the States, are reserved to
the States respectively, or to the people. [Constitution for the
United States of America, Amendment 10 -— Powers of the States and

People]

"For the purposes of this case, we need not identify the source
of [the right to travel] in the text of the Constitution. The
right of free ingress and regress to and from' neighboring states
which was expressly mentioned in the text of the Article of
Confederation, may simply have been conceived from the beginning
to be a necessary concomitant of the stronger Union the
Constitution created."' Id. at 501 (citations omitted). Saenz v.

Roe, 526 U.S. 489 (1999).

("without some provision . ... removing from citizens of each
State the disabilities of alienage in other States, and giving
them equality of privilege with citizens of those States, the
Republic would have constituted little more than a league of

EXHIBIT “H” ~ Page 10 of 24
Case 2:10-cv-09173-AHM-JCG\Document 1 Filed 11/29/10 Pa Xl f 1 :
Jeffery Jackson Lind C) Case NK OF oF 220 Page P mor

States; it would not have constituted the Union which now
exists."). Paul v. Virginia, 75 U.S. (8 Wall.) 168, 180 (1868)

Conspiracy against rights: If two or more persons conspire to
injure, oppress, threaten, or intimidate any person in any State,
Territory, Commonwealth, Possession, or District in the free
exercise or enjoyment of any right or privilege secured to him by
the Constitution or laws of the United States, or because of his
having so exercised the same; or If two or more persons go in
disguise on the highway, or on the premises of another, with
intent to prevent or hinder his free exercise or enjoyment of any
right or privilege so secured - They shall be fined under this
title or imprisoned not more than ten years, or both; and if

- death results from the acts committed in violation of this
section or if such acts include kidnapping or an attempt to
kidnap, aggravated sexual abuse or an attempt to commit
aggravated sexual abuse, or an attempt to kill, they shall be
fined under this title or imprisoned for any term of years or for
life, or both, or may be sentenced to death. {18, usc 241]

Deprivation of rights under color of law: Whoever, under color
of any law, statute, ordinance, regulation, or custom, willfully
subjects any person in any State, Territory, Commonwealth,
Possession, or District to the deprivation of any rights,
privileges, or immunities secured or protected by the
Constitution or laws of the United States, or to different
punishments, pains, or penalties, on account of such person being
an alien, or by reason of his color, or race, than are prescribed
for the punishment of citizens, shall be fined under this title
or imprisoned not more than one year, or both; and if bodily
injury results from the acts committed in violation of this
section or if such acts include the use, attempted use, or
threatened use of a dangerous weapon, explosives, or fire, shall
be fined under this title or imprisoned not more than ten years,
or both; and if death results from the acts committed in
violation of this section or if such acts include kidnapping or
an attempt to kidnap, aggravated sexual abuse, or an attempt to
commit aggravated sexual abuse, or an attempt to kill, shall be
fined under this title, or imprisoned for any term of years or
for life, or both, or may be sentenced to death. [18, USC 242]

Property rights of citizens: All citizens of the United States
shall have the same right, in every State and Territory, as is
enjoyed by white citizens thereof to inherit, purchase, lease,
sell, hold, and convey real and personal property. [42 usc
1982]

Civil action for deprivation of rights: Every person who, under
color of any statute, ordinance, regulation, custom, or usage,
of any State or Territory or the District of Columbia, subjects,
or causes to be subjected, any citizen of the United States or
other person within the jurisdiction thereof to the deprivation
of any rights, privileges, or immunities secured by the
Constitution and laws, shall be liable to the party injured in
an action at law, suit in equity, or other proper proceeding for

EXHIBIT “H” Page 11 of 24
Case 224. 0-cv- 00173 ALIM-JCG™ocument 1 Filed 11/29/10 Page 168,01 120 Page ID #:108
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Jeffery Jackson Lind _ Case Nu)

redress, except that in any action brought against a judicial
officer for an act or omission taken in such officer's judicial
capacity, injunctive relief shall not be granted unless a
declaratory decree was violated or declaratory relief was
unavailable. For the purposes of this section, any Act of
Congress applicable exclusively to the District of Columbia
shall be considered to be a statute of the District of Columbia.
[42 usc 1983]

Conspiracy to interfere with civil rights: Depriving persons of
rights or privileges: If two or more persons in any State or
Territory conspire or go in disguise on the highway or on the
premises of another, for the purpose of depriving, either
directly or indirectly, any person or class of persons of the
equal protection of the laws, or of equal privileges and
immunities under the laws; or for the purpose of preventing or
hindering the constituted authorities of any State or Territory
from giving or securing to all persons within such State or
Territory the equal protection of the laws; or if two or more
persons conspire to prevent by force, intimidation, or threat,
any citizen who is lawfully entitled to vote, from giving his |
support or advocacy in a legal manner, toward or in favor of the
election of any lawfully qualified person as an elector for
President or Vice President, or as a Member of Congress of the
United States; or to injure any citizen in person or property on
account of such support or advocacy; in any case of conspiracy
set forth in this section, if one or more persons engaged therein
do, or cause to be done, any act in furtherance of the object of
such conspiracy, whereby another is injured in his person or
property, or deprived of having and exercising any right or
privilege of a citizen of the United States, the party so injured
or deprived may have an action for the recovery of damages
occasioned by such injury or deprivation, against any one or more
of the conspirators. [42 usc 1985(3)]j

Action for neglect to prevent: Every person who, having
knowledge that any of the wrongs conspired to be done, and
mentioned in section 1985 of this title, are about to be
committed, and having power to prevent or aid in preventing the
commission of the same, neglects or refuses so to do, if such
wrongful act be committed, shall be liable to the party injured,
or his legal representatives, for all damages caused by such
wrongful act, which such person by reasonable diligence could
have prevented; and such damages may be recovered in an action
on the case; and any number of persons guilty of such wrongful
neglect or refusal may be joined as defendants in the action;
and if the death of any party be caused by any such wrongful act
and neglect, the legal representatives of the deceased shall
have such action therefor, and may recover not exceeding $5,000
damages therein, for the benefit of the widow of the deceased,
if there be one, and if there be no widow, then for the benefit
of the next of kin of the deceased. But no action under the
provisions of this section shall be sustained which is not
commenced within one year after the cause of action has accrued.
[42 USC 1986]

EXHIBIT “H” Page 12 of 24
Case Fe eon Pint ICE pocument 1 Filed 11/29/10 Page 109,0f 120 Page ID #:109
Jeffery Jackson Lind XL Case Nu_/

COURT. The person and suit of the sovereign; the place where the
sovereign sojourns with his regal retinue, wherever that may be.
[Black's Law Dictionary, 5th Edition, page 318.]

COURT. An agency of the sovereign created by it directly or
indirectly under its authority, consisting of one or more
officers, established and maintained for the purpose of hearing
and determining issues of law and fact regarding legal rights
and alleged violations thereof, and of applying the sanctions of
the law, authorized to exercise its powers in the course of law
at times and places previously determined by lawful authority.
[Isbill v. Stovall, Tex.Civ.App., 92 S.W.2d 1067, 1070; Black's
Law Dictionary, 4th Edition, page 425]

A “court of record” is a judicial tribunal having attributes and
exercising functions independently of the person of the
magistrate designated generally to hold it, and preceding
according to the course of common law, its acts and proceedings
being enrolled for a perpetual memorial. Jones v Jones 188 Mo.
App. 220, 175 S.W. 227,229: Ex parte Gladhill, 8 Metc. , Mass. ,
171, per Shaw, C.J. See, also, Ledwith v. Rosalsky, 244 N.Y.
406,155 N.E. 688, 689 - Blacks 4th pg426

"It is difficult to see how the courts of this State are to ignore
the common law as a rule of decision, when it is made so by
statute, and adopt the civil law, even though it have the merit of
superior equity." Diamond v. Harris, (1830) 33 Tex 634, 638.

COURT OF RECORD. To be a court of record a court must have four
characteristics, and may have a fifth. They are:

A. A judicial tribunal having attributes and
exercising functions independently of the person of
the magistrate designated generally to hold it [Jones
v. Jones, 188 Mo.App. 220, 175 S.W. 227, 229; Ex parte
Gladhill, 8 Metc. Mass., 171, per Shaw, C.J. See,
also, Ledwith v. Rosalsky, 244 N.Y. 406, 155 N.E. 688,
689] [Black's Law Dictionary, 4th Ed., 425, 426]

B. Proceeding according to the course of common law
[Jones v. Jones, 188 Mo.App. 220, 175 S.W. 227, 229;
Ex parte Gladhill, 8 Metc. Mass., 171, per Shaw, C.J.
See, also, Ledwith v. Rosalsky, 244 N.¥. 406, 155 N.E.
688, 689] [Black's Law Dictionary, 4th Ed., 425, 426]

Cc. Its acts and judicial proceedings are enrolled, or
recorded, for a perpetual memory and testimony. [3 Bl.
Comm. 24; 3 Steph. Comm. 383; The Thomas Fletcher, |
C.C.Ga., 24 F. 481; Ex parte Thistleton, 52 Cal 225;

Erwin v. U.S., D.C.Ga., 37 F. 488, 2 L.R.A. 229;

Heininger v. Davis, 96 Ohio St. 205, 117 N.E. 229,

231]

EXHIBIT “H” . Page 13 of 24
Case 240-001 73-ALIM-JC@™Pocument 1 Filed 11/29/10 Page 146,0f 120 Page ID #:110
Jeffery Jackson Lind Case N.

D. Has power to fine or imprison for contempt. [3 Bl.
Comm. 24; 3 Steph. Comm. 383; The Thomas Fletcher,
C.C.Ga., 24 F. 481; Ex parte Thistleton, 52 Cal 225;
Erwin v. U.S., D.C.Ga., 37 F. 488, 2 L.R.A. 229;
Heininger v. Davis, 96 Ohio St. 205, 117 N.E. 229,
231.) [Black's Law Dictionary, 4th Ed., 425, 426]

E. Generally possesses a seal. [3 Bl. Comm. 24; 3
Steph. Comm. 383; The Thomas Fletcher, C.C.Ga., 24 F.
481; Ex parte Thistleton, 52 Cal 225; Erwin v. U.S.,
D.C.Ga., 37 F. 488, 2 L.R.A. 229; Heininger v. Davis,
96 Ohio St. 205, 117 N.E. 229, 231.] [Black's Law
Dictionary, 4th Ed., 425, 426]

The following persons are magistrates: ...The judges of the
superior courts.... [California Penal Code, Sec. 808.]

...,our justices, sheriffs, mayors, and other ministers, which
under us have the laws of our land to guide, shall allow the said
charters pleaded before them in judgement in all their points,
that is to wit, the Great Charter as the common law....
[Confirmatio Cartarum, November 5, 1297, Sources of Our Liberties
Edited by Richard L. Perry, American Bar Foundation]

Henceforth the writ which is called Praecipe shall not be served
on any one for any holding so as to cause a free man to lose his
court. [Magna Carta, Article 34].

“Where Rights secured by the Constitution are involved there can
be no rule-making or legislation, which would abrogate them”
Miranda v. Arizona (1966) 384 U.S. 436, 86 S. Ct. 1602, 16 L. Ed.
2d 694, 10 ALR 3rd 974 and 59 other ALR treatises.

“The claim and exercise of a constitutional right can not be
converted into a crime.” Miller v. U.S., 230 F 2d 486, 489.

“There can be no sanction or penalty imposed upon one because of
his exercise of constitutional Rights.” Sherar v. Cullen, 481 F.

945.

“No state shall convert a liberty into a privilege, license it,
and attach a fee to it.” Murdock v. Pennsylvania 319 U.S. 262.

“If the state converts a liberty into a privilege the citizen can
engage in the right with impunity.” Shuttlesworth v. Birmingham
373 U.S. 262.

"A right or an immunity, whether created by the Constitution or
only guaranteed by it, even without an express delegation of
power, may be protected by Congress." Strauder v. West Virginia,
(1879) 100 US 303, 310, 25 L.Ed. 664 reversing State v.Strauder,
(1877) 11 W.Va. 745.

EXHIBIT “H” Page 14 of 24
Case 2:10-cv-09173-AHM-JCG™ “Pocument 1 Filed 11/29/10 Rage wht of 120 Page ID #:111
Jeffery Jackson Lind \ Cas

“If you’ ve relied on prior decisions of the Supreme Court you
have a perfect defense for willfulness.” U.S. v. Bishop, 412 U.S.
346.

. beyond that reasonable deadline, your silence will activate
estoppel... [Carmine v. Bowen]

Clearfield Doctrine

It is well settled that an officer must be either elected,
appointed or commissioned. Employees cannot be made officers
“by virtue of their employment.” Even if they could, I.C. 59-
703 (9) states,

“"Public office" means any position in which the normal and
usual duties are conducted on behalf of a governmental

entity.”

The Clearfield Doctrine is explicit. The corporation registered
and known as THE CITY OF BOISE CITY is listed as a “CORPORATION”
in the IDAHO SECRETARY OF STATE’S BUSINESS ENTITY database and
is, therefore, “an entity entirely separate from government.”
Notwithstanding any other Idaho Code section that is also
superseded by Federal law, the alleged officers are NOT even
employees of a “governmental entity.” .

“os. . . the government descended to the level of a mere
private corporation and takes on the character of a mere

private citizen . . . For the purposes of suit, such
corporations and individuals are regarded as an entity
entirely separate from government.” Bank of U.S. v.

 

Planters Bank, 9 Wheat. 22 U.S. 904, U.S. v. Erie Ry Co.,
106 U.S. 327; Clearfield Trust Co. v. U.S. 318 U.S. 363

(1943).

“When governments enter the world of commerce, they are
subject to the same burdens as any private firm or
corporation.” U.S. v. Burr. 309 U.S. 22; See 22 U.S.C.A.
286e. Bank of U.S. v. Planters Bank of Georgia. 6 L. Ed. (9
Wheat) 244; 22 U.S.C.A. 286 et. Seq., C.R.S. 11-60-103.

An officer is defined as
“a person appointed or elected to a position of responsibility

or authority in government or a private organization.” Random
House Webster’s Dictionary of the Law, p. 307.

EXHIBIT “H” Page 15 of 24
Case 2,10 cv. 001 72 AHM-JCG Pocument 1 Filed 11/29/10 Page wa 120 Page ID #:112
Jeffery Jackson Lind ML. ‘Cas

TREZEVANT CASE DAMAGE AWARD STANDARD

"Evidence that motorist cited for traffic violation was
incarcerated for 23 minutes during booking process, even though
he had never been arrested and at all times had sufficient cash
on hand to post bond pending court disposition of citation, was
sufficient to support finding that municipality employing
officer who cited motorist and county board of criminal justice,
which operated facility in which motorist was incarcerated, had
unconstitutionally deprived motorist of his right to liberty. 42
U.S.C.A. Sec. 1983." Trezevant v. City of Tampa (1984) 741 F.2d

336, hn. 1

"Jury verdict of $25,000 in favor of motorist who was
unconstitutionally deprived of his liberty when incarcerated
during booking process following citation for traffic violation
was not excessive in view of evidence of motorist's back pain
during period of incarceration and jailor's refusal to provide
medical treatment, as well as fact that motorist was clearly
entitled to compensation for incarceration itself and for mental
anguish that he had suffered from entire episode. 42 U.S.C.A.
Sec. 1983." Trezevant v. City of Tampa (1984) 741 F.2d 336, hn.

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“We cannot say with assurance that under the allegations of the
pro se complaint, which we hold to less stringent standards than
formal pleadings drafted by lawyers,..” Haines vs. Kerner 404

~ U.S. 519 [1971]

",.. By the original constitution, citizenship in the United
States was a consequence of citizenship in a state. By this
clause [Am 14, Sec 1] this order of things is reversed.
Citizenship in the United States is defined; it is made
independent of citizenship in a state, and citizenship in a
state is a result of citizenship in the United States. So that a
person born or naturalized in the United States, and subject to
its jurisdiction, is, without reference to state constitutions
or laws, entitled to all privileges and immunities secured by
the Constitution of the United States to citizens thereof."
U.S. v. Hall, (1871) 26 Fed. Case 79, 81.

"Prior to the adoption of this amendment, strictly speaking,
there were no citizens of the United States, but only some one
of them. Congress had the power to establish an uniform rule of
naturalization," but not the power to make a naturalized alien a
citizen of any state. But the states generally provided that
such persons might, on sufficient residence therein, become
citizens thereof, and then the courts held, ab convenienti,

EXHIBIT “H” Page 16 of 24
Case 2:10-cv-09173-AHM- IEG Bocument 1 Filed 11/29/10 Page nee y 120 Page ID #:113
Jeffery Jackson Lind Case Ni

rather than otherwise, that they became ipso facto citizens of
the United States." Sharon v. Hill, (1885) 26 F 337, 343.

“...in order to become a citizen one must be a free white
person” [United States Statutes at Large, Vol. 2, Chap. XXVIII
(28), published on pages 153, 154 and 155 approved on April 14,
1802]

"Agency, or party sitting for the agency, (which would be the
magistrate of a municipal court) has no authority to enforce as
to any licensee unless he is acting for compensation. Such an
act is highly penal in nature, and should not be construed to
include anything which is not embraced within its terms. (Where)
there is no charge within a complaint that the accused was
employed for compensation to do the act complained of, or that
the act constituted part of a contract." Schomig v. Kaiser, 189

Cal 596.

Duty of Care: n. a requirement that a person act toward others
and the public with the watchfulness, attention, caution and
prudence that a reasonable person in the circumstances would use.
If a person's actions do not meet this standard of care, then the
acts are considered negligent, and any damages resulting may be
claimed in a lawsuit for negligence.

",.. it shall be the duty of the heads of the several
departments to cause to be administered to each and every
officer, clerk, or employee, now in their respective
departments, or in any way connected therewith, or who shall
hereafter in any way become connected therewith, to following
oath, viz.: "I do solemnly swear (or affirm, as the case may be)
that I will support, protect, and defend the Constitution and
Government of the United States against all enemies, whether
domestic or foreign, and that I will bear true faith,
allegiance, and loyalty to the same, any ordinance, resolution,
or law of any State Convention or Legislature to the contrary
notwithstanding; and, further, that I do this with a full
determination, pledge, and purpose, without any mental
reservation or evasion whatsoever; and, further, that I will
well and faithfully perform all the duties which may be required
of me by law. So help me God.

And that each and every such civil officer and employee, in the
departments aforesaid, or in any way connected therewith, in the
service or employment of the United States, who shall refuse to
take the oath or affirmation herein provided, shall be
immediately dismissed and discharged from such service or

employment.

An Act requiring an Oath of Allegiance, and to support the
Constitution of the United States, to be administered to certain
Persons in the Civil Service of the United States ." Approved
August 6, 1861, Ch. 64, Section 1, 12 Stat. 326.

EXHIBIT “H” Page 17 of 24
Case Siiory lackeon Lind 9C@ ocument 1 Filed 11/29/10 Page 1440f 120 Page ID #:114
Jeffery Jackson Lind \ Case N.._/

No compensation nor reimbursement for expenses incurred shall be
paid to any officer by any public agency unless he has taken and
subscribed to the oath or affirmation required by this chapter.
[California Government Code Section 1367]

"No state legislator or executive or judicial officer can war
against the Constitution without violating his undertaking to
support it." Cooper v. Aaron, 358 U.S. 1, 78 S.Ct. 1401 (1958).

"An action by Department of Motor Vehicles, whether directly or
through a court sitting administratively as the hearing officer,
must be clearly defined in the statute before it has subject
matter jurisdiction, without such jurisdiction of the licensee,
all acts of the agency, by its employees, agents, hearing
officers, are null and void." Doolan v. Carr, 125 US 618; City v
Pearson, 181 Cal. 640.*

CASE CITES RE CORPORATE DESCENSION

Bank of U.S. v. Planters Bank 9 Wheaton (22 US) 904; 6 L. Ed.
24, (1824), the Court stated, in part: "The government, by
becoming a corporator, lays down its sovereignty.. exercises no
power or privilege which is not derived from the charter.”

"Governments lose their immunity and descend to level of private
corporations when involved in commercial activity enforcing
negotiable instruments, as in fines, penalties, assessments,
bails, taxes, the remedy lies in the hand of the state and its
municipalities seeking remedy." Rio Grande v. Darke, 167 P. 241.

other cases:

kkEK* Lost Immunity.

"The rule of governmental immunity as to all political
subdivisions of government is hereby abrogated as it has
heretofore been abrogated as to municipal corporations, i.e. ,
cities. No longer is the defense of governmental immunity for
tort liability available, irrespective of whether the involved
political subdivision is functioning 'governmentally' or
'proprietarily'." Myers v. Genessee County , 375 Mich 1, 1965.

"The principal of sovereign immunity is not one which allows the
sovereign to continue to inflict injury.... [sovereign
immunity] does not give the sovereign the right to totally
disregard the effect of it's actions upon the public."? Shaw v.
Salt Lake County , 224 P2d 1037.

EXHIBIT “H” Page 18 of 24
Case _2:10-cv-09173-AHM-JC ocument 1 Filed 11/29/10 Page 145\0f 120 Page ID #:115
Vetfery Mokvon Lind X 5 Case Noy d

"Sovereign immunity does not apply where (as here) government is
a lawbreaker or jurisdiction is the issue." Arthur v. Fry, 300
F.Supp. 622 (1960).

"The general rule is that a qualified immunity defense fails
once a plaintiff has alleged that defendants have violated the
plaintiff's clearly established rights. Occasionally, however,
objectively "extraordinary circumstances" are present which
combine to justify a grant of immunity nonetheless." Harlow v.
Fitzgerald, 457 U.S. 800, 819 (1982). .

*On Our Adversarial System; Mack vs. City of Detroit, Chief
Justice Cavanagh, No. 118468, 2002.

"The adversarial system ensures the best presentation of
arguments and theories because each party is motivated to
succeed. Moreover, the adversarial system attempts to ensure
that an active judge refrain from allowing a preliminary
understanding of the issues to improperly influence the final
decision. This allows the judiciary to keep an open mind until
the proofs and arguments have been adequately submitted. In
spite of these underlying concerns, the majority today claims
that the benefits of full briefing are simply a formality that
can be discarded without care. The majority fails to comprehend
how the skilled advocates in this case could have added anything
insightful in the debate over the proper interpretation of a
century's worth of precedent. Whatever its motivation, the
majority undermines the foundations of our adversarial system."

When a judge knows that he lacks jurisdiction, or acts in the
face of clearly valid statutes expressly depriving him of
jurisdiction, judicial immunity is lost. Rankin v. Howard,
(1980) 633 F.2d 844, cert den.Zeller v. Rankin, 101 S.Ct. 2020,
451 U.S. 939, 68 L.Ed 2d 326.

In Rankin v. Howard, 633 F.2d 844 (1980) the Ninth Circuit Court
of Appeals reversed an Arizona District Court dismissal based
upon absolute judicial immunity, finding that both necessary
immunity prongs were absent; later, in Ashelman v. Pope, 793
F.2d 1072 (1986), the Ninth Circuit, en banc, criticized the
"Judicial nature" analysis it had published in Rankin as
unnecessarily restrictive. But Rankin's ultimate result was not
changed, because Judge Howard had been independently divested of
absolute judicial immunity by his complete lack of jurisdiction.

Some Defendants urge that any act "of a judicial nature"

entitles the Judge to absolute judicial immunity. But in a
jurisdictional vacuum, (that is, absence of all jurisdiction)

EXHIBIT “H” Page 19 of 24
-10-cy- -AHM- ~ ment 1 Filed 11/29/10 Page.14@of 120 Page ID #:116
Case ee Mean ting MICE Pocu ! Cage N°) d

the second prong necessary to absolute judicial immunity is
missing. Stump v. Sparkman, id., 435 U.S. 349.

"Where there is no jurisdiction, there can be no discretion, for

discretion is incident to jurisdiction." Piper v. Pearson, 2
Gray 120, cited in Bradley v. Fisher, 13 Wall. 335, 20 L.Ed. 646
(1872)

A judge must be acting within his jurisdiction as to subject
matter and person, to be entitled to immunity from civil action
for his acts. Davisv. Burris, 51 Ariz. 220, 75 P.2d 689 (1938)

Generally, judges are immune from suit for judicial acts within
or in excess of their jurisdiction even if those acts have been
done maliciously or corruptly; the only exception being for acts
done in the clear absence of all jurisdiction. Gregory v.
Thompson, 500 F2d 59 (C.A.Ariz. 1974)

There is a general rule that a ministerial officer who acts
wrongfully, although in good faith, is nevertheless liable in a
civil action and cannot claim the immunity of the sovereign.
Cooper v. O'Conner,99 F.2d 133

When a judicial officer acts entirely without jurisdiction or
without compliance with jurisdiction requisites he may be held
civilly liable for abuse of process even though his act involved
a decision made in good faith, that he had jurisdiction. State
use of Little v. U.S. Fidelity & Guaranty Co., 217 Miss. 576, 64
So. 2d 697.

"... the particular phraseology of the constitution of the
United States confirms and strengthens the principle, supposed
to be essential to all written constitutions, that a law
repugnant to the constitution is void, and that courts, as well
as other departments, are bound by that instrument." Marbury v.
Madison, 1 Cranch 137 (1803).

"No judicial process, whatever form it may assume, can have any
lawful authority outside of the limits of the jurisdiction of
the court or judge by whom it is issued; and an attempt to
enforce it beyond these boundaries is nothing less than lawless
violence." Ableman v. Booth, 21Howard 506 (1859).

"The courts are not bound by an officer's interpretation of the
law under which he presumes to act." Hoffsomer v. Hayes, 92 Okla

32, 227F 417.

‘The constitution of the Union constitutes a contract with the

EXHIBIT “H” Page 20 of 24
L0-cy- -AHM-JCG Document 1 Filed 11/29/10 Page 1470f 120 Page ID #:117
Case eAoy Yackson Lind J \ y oo cs ne’ g

members and is the measure of the authority conferred upon the
organization to expel or otherwise discipline them. [Citing
cases]; Accord: Leo v. Local Union No. 612 of International
Union of Operating Engineers, 26 Wn.2d 498, 174 P.2d 523 (1946).

"IT IS THE DUTY OF THE COURT TO DECLARE THE MEANING OF WHAT IS
WRITTEN, AND NOT WHAT WAS INTENDED TO BE WRITTEN. J.W. Seavey
Hop Corp. v. Pollock, 20 Wn.2d 337, 348-49, 147 P.2d 310 (1944),
cited with approval in Berg v. Hudesman, 115 Wn.2d at 669.

"It being impossible to obtain the remedy sought, the state and
their agencies/municipalities being impotent to enforce their
judgments/decrees and thus should not even exercise their

otherwise ‘general’ jurisdictions." Louisiana v. NAL, 106 La.
621. And;
"Mere equity is impotent to correct the defect." McGraw v.

Gortner, 96 Md 489.; "A law which restricts their power to
render and enforce a judgment is therefore a limitation upon the
exercise of jurisdiction; and a law which destroys or impairs
the effect which their judgments without such law would have, is
equally so." Fordyce v. Beecher, 2 Tex. Civ. App. 29, 31.

CALIFORNIA CODES
VEHICLE CODE
SECTION 15210

15210. Notwithstanding any other provision of this code, as used
in this chapter:

(a) "Commercial driver's license" means a driver's license
issued by a state or other jurisdiction, in accordance with the
standards contained in Part 383 of Title 49 of the Code of
Federal Regulations, which authorizes the licenseholder to
operate a class or type of commercial motor vehicle.

 

(b) (1) "Commercial motor vehicle" means any vehicle or
combination of vehicles which requires a class A or class B
license, or a class C license with an endorsement issued pursuant
to paragraph (4) of subdivision (a) of Section 15278.

 

(2) "Commercial motor vehicle" does not include any of the
following:

(A) A recreational vehicle, as defined in Section 799.24 of
the Civil Code.

(B) Military equipment operated by noncivilian personnel,
which is owned or operated by the United States Department of
Defense, including the National Guard, as provided in Parts 383
and 391 of Title 49 of the Code of Federal Regulations.

EXHIBIT “H” Page 21 of 24
Case ton Yao Ai -AHM-JICG Document 1 Filed 11/29/10 Fage xi8pi 120 Page ID #:118

(C) An implement of husbandry operated by a person who is not
required to obtain a driver's license under this code.

(D) Vehicles operated by persons exempted pursuant to Section
25163 of the Health and Safety Code or a vehicle operated in an
emergency situation at the direction of a peace officer pursuant
to Section 2800.

(c) "Controlled substance" has the same meaning as defined by
the federal Controlled Substances Act (21 U.S.C. Sec. 802).

(d) "Disqualification" means a prohibition against driving a
commercial motor vehicle.

(e) "Employer" means any person, including the United States,
a state, or political subdivision of a state, who owns or leases
a commercial motor vehicle or assigns drivers to operate such a
vehicle. A person who employs himself or herself as a commercial
vehicle driver is considered to be both an employer and a driver
for purposes of this chapter.

(£) "Felony" means an offense under state or federal law that
is punishable by death or imprisonment for a term exceeding one
year.

(g) "Gross combination weight rating" means the value
specified by the manufacturer as the maximum loaded weight of a
combination or articulated vehicle. In the absence of a value
specified by the manufacturer, gross vehicle weight rating will
be determined by adding the gross vehicle weight rating of the
power unit and the total weight of the towed units and any load
thereon.

(h) "Gross vehicle weight rating" means the value specified by
the manufacturer as the maximum loaded weight of a single
vehicle, as defined in Section 390.

(i) "Serious traffic violation" includes either of the.
following:

(1) Excessive speeding, as defined pursuant to the federal
Commercial Motor Vehicle Safety Act (P.L. 99-570).

(2) Reckless driving, as defined pursuant to the federal
Commercial Motor Vehicle Safety Act (P.L. 99-570).

(3) A violation of any state or local law involving the safe
operation of a motor vehicle, arising in connection with a fatal
traffic accident.

(4) Any other similar violation of a state or local law
involving the safe operation of a motor vehicle, as defined
pursuant to the Commercial Motor Vehicle Safety Act (Title XII of

EXHIBIT“ ” . Page 22 of 24
- : i Qf 120 Page ID #:119
Case 2: O-cy-0 917 3-AFIM JC Pocument 1 Filed 11/29/10 Fage 9p age

P.L. 99-570).

In the absence of a federal definition, existing definitions
under this code shall apply.

(3) "State" means a state of the United States or the District
of Columbia.

(k) "Tank vehicle" means any commercial motor vehicle that is
designed to transport any liquid or gaseous material within a
tank that is permanently or temporarily attached to the vehicle
or the chassis, including, but not limited to, cargo tanks and
portable tanks, as defined in Part 171 of Title 49 of the Code of
Federal Regulations. This definition does not include portable
tanks having a rated capacity under 1,000 gallons.

18 USC § 31. Definitions

(6) Motor vehicle.— The term “motor vehicle” means every
description of carriage or other contrivance propelled or drawn
by mechanical power and used for commercial purposes on the
highways in the transportation of passengers, passengers and
property, or property or cargo.

(10) Used for commercial purposes.— The term “used for
commercial purposes” means the carriage of persons or property
for any fare, fee, rate, charge or other consideration, or
directly or indirectly in connection with any business, or other
undertaking intended for profit.

FRCP> Rule 9.> Pleading Special Matters
(a) Capacity or Authority to Sue; Legal Existence.

(1) In General. Except when required to show that the

court has jurisdiction, a pleading need not allege:

(A) a party’s capacity to sue or be sued;

(B) a party’s authority to sue or be sued ina
representative capacity; or

(C) the legal existence of an organized association of
persons that is made a party.

(2) Raising Those Issues. To raise any of those issues, a
party must do so by a specific denial, which must
state any supporting facts that are peculiarly within
the party’s knowledge.

[sovereign common law freeman - reason enough - no injured

party]

If any claim, statement, fact, or portion in this action is held
inapplicable or not valid, such decision does not affect the
validity of any other portion of this action.

The singular includes the plural and the plural the singular.

The present tense includes the past and future tenses; and the
future the present, and the past the present.

EXHIBIT“ ” Page 23 of 24
Case 2, LO-cy- Gol T AHIM-ICG ocument 1 Filed 11/29/10 age X20 01 120 Page ID #:120

The masculine gender includes the feminine and neuter.

* From reliable sources, but not checked personally.

EXHIBIT“ ” Page 24 of 24
